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    9
   10                         UNITED STATES DISTRICT COURT

   11                       SOUTHERN DISTRICT OF CALIFORNIA

   12   KATHRYN KAILIKOLE, an                 Case No: 3:18-CV-02877-AJB-MSB
   13
        individual,
                                              [Previously San Diego Superior Court
   14                        Plaintiff,       Case No. 37-2018-00058754-CU-WT-NC
                                              before the Honorable Ronald F. Frazier]
   15          v.
                                             DECLARATION OF LISA NORMAN
   16   PALOMAR COMMUNITY COLLEGE IN SUPPORT OF DEFENDANT
   17   DISTRICT, a governmental entity; and PALOMAR COMMUNITY
        DOES 1 through 25, inclusive,        COLLEGE DISTRICT’S MOTION
   18                                        TO DISMISS PURSUANT TO
                        Defendants.          F.R.C.P. RULES 12(B) AND 12(B)(6)
   19
   20
                                              Date: April 4, 2019
                                              Time: 2:00 p.m.
   21
                                              State Complaint: November 20, 2018
   22                                         Removal Date: December 26, 2018
   23

   24

   25

   26

   27

   28                                 1
            LISA NORMAN IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS
                                               PLAINTIFF’S COMPLAINT
                                         Case No. 3:18-CV-02877-AJB-MSB
        FPDOCS 34896160.1
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        Exhibit B: Governing Board Regular Meeting Agenda for June 12, 2018
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    6   Exhibit C: June 11, 2018 24-Hour Notice Pursuant to Government Code section
        54957
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    8   Exhibit D: Governing Board Minutes for the June 12, 2018 Meeting of the
        Governing Board
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              PALOMAR COMMUNITY
               COLLEGE DISTRICT


                      IN THE MATTER OF
                     KATHYRN KAILIKOLE
                   AND DANIEL FINKENTHAL




                                        JEFFREY B. LOVE, P.C., ESQ.
                             JEFFREY B. LOVE AND ASSOCIATES, LLC
                                                       Attorney at Law
                                       30025 Alicia Parkway, Suite 327
                                            Laguna Niguel, CA 92677
                                              LOVEJB@GMAIL.COM
                                                       (949) 282-8181


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     Dr. Kailikole’s Employment Contract with the District                         5

     *Video attachments to e-mails are on file in Human Resource Services.




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     April 25, 2018



     TO:              SHAWNA COHEN
                      Manager, Equal Employment Opportunity and Compliance
                      and Deputy Title IX Coordinator
                      Palomar Community College District

     FROM:            JEFFREY B. LOVE
                      Attorney at Law
                      Jeffrey B. Love and Associates, A.P.C.

     SUBJECT:         ADMINISTRATIVE INVESTIGATION – Kailikole/Finkenthal Matter


     I.     EXECUTIVE SUMMARY:

             This matter related to an administrative investigation concerning various
     allegations centered around Kathryn Kailikole, Ed. D. (Dr. Kailikole), the Interim Dean of
     the Mathematics and the Natural and Health Sciences Division at Palomar Community
     College (District). Concerning Dr. Kailikole, it was alleged that she breached employee
     confidentiality concerning her communications with Daniel Finkenthal, Ph.D.
     (Dr. Finkenthal), the Chair of the Physics and Engineering Department. Likewise,
     Dr. Finkenthal was accused of breaching employee confidentiality concerning his
     communication with others, including his wife, Stacy Carlson (Ms. Carlson). The facts
     indicate that Dr. Kailikole forwarded e-mails to Dr. Finkenthal who in turn forwarded those
     e-mails to Ms. Carlson, and potentially others. Additionally, Dr. Finkenthal provided a
     confidential administrative investigation summary to a member of the District Governing
     Board.

             A second aspect of this investigation was to determine whether Dr. Kailikole had
     failed to reasonably and prudently take action concerning two professors in the Physics and
     Engineering Department. These professors, Takashi Nakajima (Mr. Nakajima) and Arthur
     Gerwig (Mr. Gerwig), had been said to have engaged in behavior that, if true, would tend
     to violate the rules of the District, as well as direction given to them previously by
     Dr. Kailikole.

             The facts in this matter demonstrate that Dr. Kailikole was retained as the Dean of
     Mathematics and the Natural and Health Sciences on or about July 1, 2017. Prior to serving
     in that role, the District employed Dr. Kailikole as the Interim Dean of Mathematics and
     the Natural and Health Sciences beginning on or about January 13, 2016. During the course
     of her employment, Dr. Kailikole became aware that Mr. Nakajima and Mr. Gerwig had
     engaged in negative and sanctionable behavior concerning their employment as professors
     in the Physics and Engineering Department. In addition to this, Dr. Kailikole received
     information from students, as well as Dr. Finkenthal, concerning specific allegations of



     	
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     misconduct. These issues concerned an instance where Mr. Nakajima had used an Airsoft
     pistol in his class in an unsafe and unsupervised fashion. In addition to this, Dr. Kailikole
     learned that Mr. Nakajima was using a storage room known as NS-249 as a
     laboratory/classroom even though she (Kailikole) had directed him not to do so previously.
     Finally, Dr. Kailikole had heard from students and others that Mr. Nakajima was holding
     classes outside the regular scheduled times and additionally allowed unauthorized changes
     in examination schedules.

            The facts in this matter further demonstrate that Dr. Finkenthal and Dr. Kailikole
     were both frustrated and somewhat angered by the fact that Mr. Nakajima and Mr. Gerwig
     had not been dismissed from their employment concerning a complaint that Dr. Finkenthal
     made that had previously been investigated by this fact finder in 2017. This complaint
     concerned the display of objectionable material and words in the Physics and Engineering
     Department that would tend to violate the discrimination rules of the District. The facts
     demonstrate that Dr. Finkenthal had attempted to lobby a member of the District Governing
     Board to impose or seek more stringent disciplinary measures against Mr. Nakajima and
     Mr. Gerwig and had provided this member of the District Governing Board a copy of a
     confidential document detailing the fact-finding investigation into Mr. Nakajima,
     Mr. Gerwig and another professor, Hector Garcia-Villa (Mr. Garcia-Villa).

              Circumstantial evidence developed in this matter demonstrated that Dr. Finkenthal
     and Dr. Kailikole had seemingly worked together to leak information in relationship to
     Mr. Nakajima and Mr. Gerwig with a goal of it potentially influencing the disciplinary
     process concerning these employees. The facts demonstrate that on December 8, 2017,
     Dr. Finkenthal asked Dr. Kailikole to call him at his office extension on campus. Even
     though both Dr. Kailikole and Dr. Finkenthal deny recollection of this particular phone
     call, the credible circumstantial evidence demonstrates that mere moments after this phone
     call, Dr. Kailikole forwarded to Dr. Finkenthal numerous documents containing
     confidential and/or sensitive information concerning Mr. Nakajima to Dr. Finkenthal who
     thereafter forwarded this information to his wife, Ms. Carlson. This activity, coupled with
     Dr. Finkenthal's admitted and observed activity in coordinating information with a member
     of the District's Governing Board tends to demonstrate a degree of collusion and leaking
     of confidential information.

            The greater weight of the credible evidence here demonstrates that both
     Dr. Finkenthal and Dr. Kailikole engaged in leaking and/or disclosing confidential
     information without a legitimate business purpose. Additionally, the greater weight of the
     credible evidence demonstrates that Dr. Kailikole failed to reasonably and prudently take
     meaningful and competent action concerning what appeared to be misconduct occurring in
     the Physics and Engineering Department, which was under her dominion and control.
     These allegations are therefore, sustained.

            Dr. Kailikole reported that she had been the subject of retaliation both by the action
     of Mr. Nakajima and Mr. Gerwig and her attempts to supervise them, and by the District
     by placing her on administrative leave with pay and electing to discontinue her renew for


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     her employment contract with the District. The evidence demonstrated that neither Mr.
     Nakajima nor Mr. Gerwig were in positions of authority over Dr. Kailikole, nor did they
     engage in any discernable or direct unlawful action against her in reaction to her attempts
     to manage them in the workplace. Furthermore, the District had a legitimate business
     purpose in placing Dr. Kailikole on administrative leave when they suspected that she had
     leaked and/or participated in leaking and/or breaching confidential employee information.

             Finally, Dr. Kailikole enjoyed no expectation of continued employment with the
     District by virtue of a renewal of her employment contract. There was no credible evidence
     to show that any inappropriate or unlawful motives were brought to bear on the decision to
     not renew her employment contract with the District or to sever that contract under the “for
     cause” provisions. The allegation that Dr. Kailikole was subject to retaliation in her
     employment at the District is therefore, unfounded.

     II.       SCOPE OF THE INVESTIGATION:

     The scope of this investigation is to determine:

            A. Did Dr. Kathryn Kailikole breach employee confidentiality concerning her
               communications with Dr. Daniel Finkenthal?
            B. Did Dr. Kathryn Kailikole fail to reasonably take action concerning Takashi
               Nakajima’s use of an Airsoft pistol in his classroom?
            C. Did Dr. Kathryn Kailikole fail to reasonably take action concerning Takashi
               Nakajima’s use of storage room NS-249 as a laboratory?
            D. Did Dr. Kathryn Kailikole fail to reasonably take action concerning Takashi
               Nakajima’s holding of classes outside their regularly scheduled times?
            E. Did Dr. Daniel Finkenthal breach employee confidentiality concerning his
               communications with others including his wife, Stacy Carlson?
            F. Was Dr. Kathryn Kailokole subject to retaliation by Mr. Nakajima, Mr.
               Gerwig and/or others concerning her role as the Dean of the Department, her
               administrative leave status and/or her employment contract?

     III.      METHODOLOGY:

             This investigation involved the review of documents, as well as conducting
     interviews of District employees. Once factual evidence was developed, the various
     statements of the witnesses were compared and contrasted with one another as well as other
     evidence and determinations of credibility were established. Once credibility was
     established along with a factual framework of the alleged events, conclusions were formed
     based on the greater weight of the credible evidence. For the purpose of findings, direct
     and circumstantial evidence may be given equal weight. The investigation also involved:

               A.     Reviewing applicable District rules and regulations and;




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           B.     Reviewing applicable personnel documents, including relevant personnel
                  file(s) and any related investigation records;

              C.     Interviewing co-workers, supervisors and witnesses;

              D.     Following-up on other evidentiary leads; and

              E.     Providing additional services as may be requested by the District.

     IV.      SOURCE OF THE COMPLAINT:

     This complaint was internally generated at the direction of Human Resources.

     V.       ACCUSED/FOCUS EMPLOYEE:

           A. Kathryn Kailikole, Ed. D.
              Dean
              Mathematics and the Natural and Health Sciences Division
              Palomar Community College

           B. Daniel Finkenthal, Ph.D.
              Professor and Department Chair
              Physics and Engineering Department
              Palomar Community College

     VI.      RULES:

     This matter related to fact-finding.

     VII:     WITNESSES:

           A. Kathryn Kailikole, Ed. D.
              Dean
              Mathematics and the Natural and Health Sciences Division
              Palomar Community College

           B. Daniel Finkenthal, Ph.D.
              Professor and Department Chair
              Physics and Engineering Department
              Palomar Community College

     VIII: CREDIBILITY OF THE WITNESSES:

            The analysis of the credibility of the witnesses is an important aspect of a fact-
     finding investigation. As an accepted rule of evidence, a fact finder can disregard the


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     statements of a witness who has been found to have provided false or unreliable
     information during their testimony in a matter. Those witnesses' statements can be
     disregarded in their entirety and not believed unless there is compelling evidence to
     conclude that individual statements otherwise are true.1 Concerning the witnesses’
     statements, this fact finder considered:

            (a) The witness’ demeanor while providing a statement and the manner in which
            he/she provided the statement.

            (b) The character of the witness’ statement.

            (c) The extent of the witness’ capacity to perceive, to recollect, or to communicate
            any matter about which he gave a statement.

            (d) The extent of the witness’ opportunity to perceive any matter about which he
            gave a statement.

            (e) The witness’ character for honesty or veracity or their opposites.

            (f) The existence or nonexistence of a bias, interest, or other motive.

            (g) A statement previously made by the witness that is consistent with his statement
            during the fact-finding investigation.

            (h) A statement made by the witness that is inconsistent with any part of his
            statement during the fact-finding investigation.

            (i) The existence or nonexistence of any fact given in statement by the witness.

            (j) The witness’ attitude toward the fact-finding investigation in which he gave a
            statement or toward the giving of a statement.

                                              Discussion

        A. Witness Kathryn Kailikole, Ed. D.

            Dr. Kailikole appeared to lack a degree of credibility in this matter. It was apparent
     that Dr. Kailikole was frustrated with the disciplinary process and what, in her opinion,
     																																																								
     1	See	California	Civil	Jury	Instruction	Section	5003.	



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     appeared to be interference by the labor union in regard to her ability to supervise and
     manage Mr. Nakajima. Even so, Dr. Kailikole's indication that she did not somehow agree
     with or conspire with Dr. Finkenthal regarding leaking or disclosing confidential
     information did not seem plausible.

             As discussed in this investigation, the circumstantial evidence demonstrates that
     after a phone communication on December 8, 2017, this fact finder observed a flurry of e-
     mails being sent from Dr. Kailikole to Dr. Finkenthal who thereafter provided this
     information to his wife, who is a member of a local school board. Additionally,
     Dr. Finkenthal, around the same time had provided a confidential summary of an
     investigation concerning Mr. Nakajima and Mr. Gerwig to a member of the District
     Governing Board. All of this had the distinct appearance of Dr. Finkenthal and
     Dr. Kailikole working together in order to shape a more stringent disciplinary action to be
     taken against Mr. Nakajima.

           B. Witness Daniel Finkenthal, Ph.D

              Dr. Finkenthal appeared to be a credible witness in certain aspects of his statements
     to this fact finder. Dr. Finkenthal was forthright concerning his sharing of the confidential
     administrative report summary that had been sent to him by Shawna Cohen (Ms. Cohen),
     the Manager, Equal Employment Opportunity and Compliance in Human Resources.
     Dr. Finkenthal offered that he felt it proper for him to provide this information to Nina
     Deerfield (Ms. Deerfield), a member of the District's Governing Board. However, what
     did not seem plausible about Dr. Finkenthal's statements to this fact finder was his denial
     that he and Dr. Kailikole had somehow conspired or agreed to share information
     concerning Mr. Nakajima, and perhaps Mr. Gerwig, with others.

             Dr. Finkenthal's denial that such an agreement had been reached does not seem
     plausible considering e-mail evidence where it was demonstrated that Dr. Finkenthal and
     Dr. Kailikole had spoken together late in the afternoon on December 8, 2017 and thereafter,
     Dr. Kailikole sent numerous e-mails to Dr. Finkenthal, all of which concerned issues
     related to Mr. Nakajima and his behavior in the Department. This information coupled
     with Dr. Finkenthal's obvious intent on providing information to Ms. Deerfield with an aim
     at causing more severe and stringent disciplinary measures to be taken against
     Mr. Nakajima, tends to demonstrate that Dr. Kailikole and Dr. Finkenthal were working
     together in order to seek greater and more harsh discipline against Mr. Nakajima.

     IX.      INVESTIGATION:

           A. Summary of Interview with Kathryn Kailikole, Ed. D.

             On February 28, 2018, this fact finder conducted an audio-recorded interview of
     Dr. Kailikole, the Interim Dean of the Mathematics and Natural Health Sciences Division
     for the District. She has been with the District for two years. Dr. Kailikole was advised of
     the nature of the investigation as it relates to a previous investigation undertaken by this


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     fact finder concerning two professors in the District’s Physics and Engineering
     Department, Mr. Nakajima and Mr. Gerwig. Dr. Kailikole was placed on administrative
     leave on December 14, 2017. She was represented at her interview by her legal counsel,
     Evan Dwin. She was admonished to answer all questions directed to her truthfully and to
     the fullest extent of her knowledge.

             Dr. Kailikole stated that prior to being placed on administrative leave on December
     14, 2017, no one had ever indicated to her any dissatisfaction with her employment or
     behavior. Her direct supervisor is Jack Kahn (Dr. Kahn), the Vice President of Instruction
     for the District. Her most recent evaluation was done by the previous, Interim Vice
     President of Instruction, Daniel Sourbeer (Mr. Sourbeer) in May of 2011. She indicated
     that her evaluation was good.

             Dr. Kailikole stated that on December 14, 2017, she was summoned to Dr. Kahn’s
     office to discuss the outcome of the previous investigation report prepared by this fact
     finder regarding the Physics and Engineering Department investigation. She said that
     during this meeting, she was read a letter stating that she was being placed on
     administrative leave due to allegations that she had breached confidentiality. She told this
     fact finder that at that time, she was at a loss, as she had no idea what confidence she had
     breached, and no specific information was provided to her concerning the allegations. She
     was provided with a copy of the letter concerning her administrative leave, but it did not
     shed any light on what she had allegedly done.

             Dr. Kailikole said that she was then escorted by Ms. Cohen to her (Dr. Kailikole’s)
     office to get her personal belongings, and then Ms. Cohen walked with her to the faculty
     parking area to obtain her parking pass. Ms. Cohen thanked her for “not yelling at her”
     over the situation, and Dr. Kailikole told her that she felt it was unfair that two people (Mr.
     Nakajima and Mr. Gerwig) who had violated Titles 5 and IX had never been put on leave.
     She said Ms. Cohen told her, “I can’t answer that.” She indicated that Ms. Cohen, at that
     time, directed her to maintain confidentiality and not to speak to anyone associated with
     the District, which gave her the impression she was not to speak to anyone at the District
     except Ms. Cohen regarding this investigation.

             Dr. Kailikole stated that on December 14, 2017, she was also informed that the
     District would be engaging an investigator, and that she would be contacted concerning the
     matter by mid-January 2018. She said the next time she had any communication with any
     one from the District was on February 15, 2018, via e-mail, wherein she was asked to come
     in on February 22, 2018 for an interview. She indicated that in the interim, she sought
     legal counsel. She said that she continued to receive her salary while on leave, but she was
     fearful that she may not continue to be paid, as she had not received reimbursement for
     travel expenses she had requested in November 2017. She stated that as of the date of her
     interview she has not received a reimbursement check for those travel expenses.

             Dr. Kailikole said that prior to being placed on administrative leave, she had looked
     into the outcome of the prior investigation concerning Mr. Nakajima and Mr. Gerwig, as


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     she was receiving complaints from students in their classes. She indicated that she learned
     that Mr. Nakajima had altered the exam schedules and had been giving three-hour exams,
     which is in violation of the Education Code. She said that he changed the exam schedule
     by allowing the students to set and vote on the exam schedule. She also learned that Mr.
     Nakajima had devised a grading scheme that penalized students if they did not complete
     lab projects within a certain amount of time. After learning this, Dr. Kailikole directed Mr.
     Nakajima to stop using the negative grading scheme. She said that in response, he revised
     the scheme such that students would receive extra credit if the completed their lab projects
     early—positive reinforcement vs. negative reinforcement.

             Dr. Kailikole stated that after these issues came to light, and based upon their
     previous history, she and Dr. Finkenthal requested that Mr. Nakajima and Mr. Gerwig not
     be allowed to teach for the 2018 Spring semester. She said she made that request, via e-
     mail, to Dr. Kahn and Vice President, Dr. Lisa Norman (Dr. Norman), which she copied
     Dr. Finkenthal with, as he is the Department Chair. She noted that she did receive a
     response, although not in writing, from Dr. Norman that the District could not honor her
     request at that time, and she does not recall if Dr. Norman indicated to her why that was.
     However, Dr. Kailikole did tell this fact finder that she is under the impression that neither
     Mr. Nakajima, nor Mr. Gerwig, are currently teaching this semester (2018 Spring).

             Dr. Kailikole confirmed that she has previously indicated that she had experienced
     insubordination by Mr. Nakajima and Mr. Gerwig, as they did not comply with her
     directives concerning their class syllabi and signage. She stated that their problematic
     behavior, particularly Mr. Nakajima’s, has continued for the last 20 years, and everyone
     on campus is aware of it. She indicated that she has spoken with several of the previous
     deans to her division, including Mr. Sourbeer, who all experienced similar problems in
     managing Mr. Nakajima and Mr. Gerwig.

             Dr. Kailikole got the sense that Mr. Nakajima and Mr. Gerwig felt they were
     “untouchable” and could behave the way they did “with impunity”. She said that her
     observations of their behavior in the workplace reinforced that, not only in her mind, but
     also with others, such as the former deans. She said that she was informed by former deans
     and faculty that when they had “come up against” Mr. Nakajima and/or Mr. Gerwig, no
     one, including the administration, would back them up. She noted that, in fact, the
     Counseling Department told her that they advise their students to stay clear of Mr.
     Nakajima and Mr. Gerwig as instructors, suggesting that they enroll at Mira Costa College
     to avoid taking those courses at Palomar College. She indicated that the Counseling
     Department staff has told her that they believe that Mr. Nakajima and Mr. Gerwig are
     “mean” and that they “discriminate”.

             Dr. Kailikole stated that she has been advised that complaints made by students
     who are also military veterans concerning their treatment by Mr. Nakajima and Mr. Gerwig
     have gone without resolution, thereby further empowering them. She confirmed that it is
     her belief that because she tried to “touch the untouchables” she fell out of favor with the



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     District’s administration, and that the breach of confidentiality allegation is a pretext for
     placing her on administrative leave.

              Dr. Kailikole told this fact finder that she believes that the true reason she has been
     placed on administrative leave is that she has taken on and attempted to instill some form
     of discipline concerning Mr. Nakajima and Mr. Gerwig. She said that prior to her being
     placed on leave, she was told by others on campus, including her former supervisor, Mr.
     Sourbeer, they are concerned for her safety. She said that Mr. Sourbeer had himself,
     previously attempted to rein in Mr. Nakajima and Mr. Gerwig, but with negative results,
     in that, he received no support from the District’s administration. She indicated that Mr.
     Sourbeer was aware of her mission to bring Mr. Nakajima and Mr. Gerwig in line, and that
     Mr. Sourbeer was supportive of that effort, which heartened her resolve to do so. However,
     when Mr. Sourbeer left, she lost that support.

            Dr. Kailikole said she is cannot explain why Mr. Nakajima and Mr. Gerwig have
     been permitted to continue their “distasteful” conduct. She said the entire campus is aware
     of “what these two are about” yet, instead of addressing the problem, the behavior has
     continued without rebuke.

            Dr. Kailikole also told this fact finder that since she arrived two years ago, she has
     attempted to actively address the ongoing violations of policies and procedures by Mr.
     Nakajima and Mr. Gerwig, and each time she attempted, with Mr. Sourbeer’s support, to
     change something or provide a directive, Mr. Nakajima would do everything possible to
     thwart or rescind her efforts. She said Mr. Nakajima would undermine her by going to the
     Senate President and/or other faculty to undo her directives, even, at one point, going to
     the Dean for Career and Technical Education, Margie Fritch (Dean Fritch), during the 2018
     Spring semester, who informed her that Mr. Nakajima had come to her and how it appeared
     that Mr. Nakajima was attempting to turn Dean Fritch against her.

             Dr. Kailikole told this fact finder that she had sent an e-mail directive to Mr.
     Nakajima to refrain from doing certain things, but at that point, she did not know that Room
     NS-249 was being used as a classroom/lab. She said that Dr. Finkenthal contacted her in
     either late in the 2016 Fall semester or early 2017 Spring semester, inviting her to attend a
     Department meeting to discuss the directives she had made, and that this meeting took
     place in Room NS-249. She stated that during this Department meeting, she realized that
     the room was, in fact, being used as a classroom.

              Dr. Kailikole indicated that she learned that Mr. Nakajima and/or Mr. Gerwig had
     been teaching two classes at the same time and that Room NS-249 was being used for one
     of those classes. She confirmed that Room NS-249 was supposed to be used for storage
     only and not as a classroom, because she observed that the room was hazardous and not
     safe. She said she never gave any direction to either Mr. Nakajima or Mr. Gerwig to use
     it as a lab. She stated that she gave a directive not to use Room NS-249 as a lab to Mr.
     Nakajima and Mr. Gerwig in front of Dr. Finkenthal and a junior professor, Hector Garcia-
     Villa (Mr. Garcia-Villa).


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             Dr. Kailikole said that in addition to her concerns that Mr. Nakajima and Mr.
     Gerwig were secretly continuing to use Room NS-249 as a classroom, she came to believe
     that Mr. Nakajima and Mr. Gerwig had created a “Lord of the Flies environment” whereby
     the 1B students were acting as TAs and grading the 1A students. She said they had
     established such a hostile environment, that students who did not go along with the
     structure they created, were penalized. She said this led her to stop the practice of classes
     being scheduled concurrently, although she later learned that the practice had continued,
     when the Title 5 and IX violations were brought forward by Dr. Finkenthal in the 2017 Fall
     semester.

             Dr. Kailikole told this fact finder that between the time that the previous
     investigation started through the day she was placed on administrative leave, she never
     went down to the classroom and/or lab locations to monitor the situation, because she felt
     that was Dr. Finkenthal’s responsibility, as the Department Chair. She explained that as
     the Dean, as a matter of professional courtesy and in trying to build trust with your faculty,
     you don’t “check-up” on faculty without “fair notice”. She noted that this was the practice
     at the District, and also governed by the faculty’s union.

              Dr. Kailikole stated that as for Mr. Nakajima and Mr. Gerwig, if someone was to
     sit in on one of their classes for evaluation purposes, they would evaluate each other, which
     she found problematic. It is her understanding that tenured faculty can request who
     evaluates them.

             Dr. Kailikole told this fact finder that in April 2016, two students of Mr. Nakajima
     advised her that Mr. Nakajima had allowed the use of an air pistol firearm in one of his
     classes and, one of the women who is trained in the use of firearms, was appalled that no
     proper safety protocols were being observed. One of the students told her that she observed
     Mr. Nakajima load the gun, cock it and then hand it to another student, which caused the
     student who was familiar with firearms to become “outraged”. A student took a video of
     the incident. She said that after giving the firearm to the student, Mr. Nakajima walked to
     rear of the classroom, and joked around with Mr. Gerwig and the TAs, while allowing the
     students to fire the air pistol at a target positioned at the front entrance to the classroom—
     such that anyone who walked into the classroom could have been injured by a pellet.

             Dr. Kailikole said that after the firearm incident, the two women came to her
     assistant, Debbie McBrayer (Ms. McBrayer) and told her what occurred, as Dr. Kailikole
     was in a meeting at the time. She said that Ms. McBrayer called the campus police, and
     the police came to the location and talked to Mr. Nakajima and others, and who reported
     back to Ms. McBrayer that the incident had been blown out of proportion, and as such,
     dismissed Ms. McBrayer’s concern as an overreaction.

             Dr. Kailikole stated that after her meeting concluded, she saw Ms. McBrayer, who
     told her what happened and how the police “dismissed” her concerns, Dr. Kailikole called
     the police and told them to come back and further investigate the firearm issue, as Dr.


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     Kailikole knew how upset the two students who reported the incident were. She does not
     remember the names of the two female students. Upon further investigation and a review
     of the District’s policy regarding firearms, it was determined that the firearm, although not
     a real gun (based on the orange tip), should not have been used in a classroom setting
     without getting prior approval from the Chief of the District police. She said the Chief
     told her that he was shocked that something like this would be brought into a classroom
     setting and, was further concerned that it had not been kept under lock and key in the
     classroom. She does not believe the police generated a report concerning the matter, but
     she did give Mr. Nakajima and Mr. Gerwig a directive not to use the firearm without getting
     prior approval from the District Police Chief each semester.

             Dr. Kailikole indicated that sometime later, she contacted Dr. Finkenthal and asked
     him if he knew if the gun was still being used in the Physics class. She said he told her
     that there is not a gun used in the curriculum. She said she described the gun to him and
     he became extremely concerned, as he was uninformed of the gun incident or the District
     police’s investigation.

            Dr. Kailikole stated that Dr. Finkenthal asked her to provide him with whatever
     information she had regarding the matter, which she agreed to do as he is the Department
     Chair. She said she forwarded all the information she had concerning the incident to him
     via e-mail, because she felt he needed it to be fully informed of the matter. She said she
     was not told that she could not discuss the incident with the Department Chair, and to her
     knowledge, there was no administrative investigation concerning the Airsoft pistol
     incident. She said that there was no agreement between her and Dr. Finkenthal such that
     he would share information with his wife, Ms. Carlson, or any members of the District’s
     Governing Board. She said she did provided the information to Dr. Norman, pursuant to
     Dr. Norman’s request.

             Dr. Kailikole told this fact finder that after the two female students reported the
     firearm incident, she learned that one of them had experienced some difficulty with Mr.
     Nakajima after she had suffered a severe concussion as the result of an automobile accident.
     She indicated that the woman’s doctor had given medical orders that she was not to attend
     classes while she was recovering. When the woman contacted her instructors, Mr.
     Nakajima told her that if she did not attend class, she would be failed. She said that against
     medical orders, she went to class with her concussion. She later learned that the woman
     was not able to lift anything during her lab studies, and she had to rely upon the assistance
     of her classmates to help her get through the lab class. Dr. Kailikole cited this as an
     example of Mr. Nakajima refusing to make reasonable accommodations for a student with
     a disability.

             Dr. Kailikole reiterated how Mr. Nakajima and Mr. Gerwig never followed any of
     her directives and always worked to “squelch” her efforts to gain their compliance. She
     said she did try to follow-up the best way she could without violating their union rights.




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            Dr. Kailikole said that with regard to the previous confidential investigative report
     prepared by this fact finder, Dr. Finkenthal never told her that he had provided a copy of
     the confidential summary of that report to his wife, Ms. Carlson. She could not recall if
     Dr. Finkenthal ever told her that he had provided a copy of that confidential summary to
     Ms. Deerfield, one of the District’s Governing Board Trustees.

             Dr. Kailikole told this fact finder that her recollection is that Dr. Finkenthal told her
     that Ms. Deerfield and John Halcón (Mr. Halcón), another Board Trustee, had asked to
     meet with him concerning the previous investigation. Her recollection is that Dr.
     Finkenthal told her that he did, in fact, meet with them. She said she speculated that by
     that point, the District’s Governing Board had received the investigative report, as she does
     not attend their closed session meetings.

             When asked about an e-mail exchange of December 8, 2017, at 4:47 p.m., wherein
     Dr. Finkenthal asked her to call him, if she was still on campus, she said she did not recall
     if she spoke to him at that time. She said that she was aware that Dr. Finkenthal would talk
     to his wife, Ms. Carlson, concerning workplace issues, specifically complaining about how
     he was being treated at work and the hostilities he felt were directed toward him.

             Dr. Kailikole stated that in August or September 2017, Dr. Finkenthal came to her,
     as his supervisor, and advised her that he felt he was being “maligned” by Mr. Nakajima
     and Mr. Gerwig, in much the same way as they maligned her and some of their students.
     She said that from Dr. Finkenthal’s perspective, he was suffering mistreatment at the hands
     of Mr. Nakajima and Mr. Gerwig because he had brought forward the issues that this fact
     finder previously investigated. She indicated that Mr. Nakajima and Mr. Gerwig looked at
     Dr. Finkenthal as a “traitor” for notifying her, which resulted in her involving
     administration.

             Dr. Kailikole indicated that when Dr. Finkenthal realized that she was going to take
     a stance against Mr. Nakajima and Mr. Gerwig, he said he would be willing to become the
     Department Chair. She said that the previous Chair was Mr. Nakajima, who had served in
     that position for 15 years, which she later learned was in violation of the union rules. She
     stated that Mr. Nakajima was ousted as the Chair when, after reviewing the union rules, he
     had not ever held annual elections, as required by those rules. After she raised this issue
     with Ms. Cohen, and Dr. Kahn took the position that Mr. Nakajima could not run again for
     Department Chair, because he (Mr. Nakajima) had violated the union rules, which left only
     Dr. Finkenthal and Mr. Gerwig, wherein Dr. Finkenthal was duly elected and appointed
     the Department Chair.

              Dr. Kailikole did not recall that she ever gave or told Dr. Finkenthal anything that
     should have been kept confidential. She said she never asked Dr. Finkenthal or anyone
     else to share any Department information. She stated she was not aware that Dr. Finkenthal
     ever shared any school-related confidential information or documentation with anyone
     else, including his wife or Ms. Deerfield.



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             Dr. Kailikole was asked about the claims that Mr. Nakajima and Mr. Gerwig had
     discriminated against students, she told this fact finder that after she learned about the
     issues the veteran students had, she asked the admissions office for data on students in their
     classes by ethnicity, gender, and veteran status. She wanted to review when students
     enrolled in the classes, if they withdrew from the class and/or the grade they received. She
     said she discovered that 80% of the students enrolled in their classes either failed, withdrew
     or dropped the class, and that the majority of those students were veterans, women and
     “underrepresented minorities” (i.e., African American and Hispanic). She said she
     reviewed data for the 2015 Fall and/or 2016 Spring semesters.

            Dr. Kailikole indicated that when she shared her concerns over the data she had
     obtained from the 2015 Fall and/or 2016 Spring semesters with Mr. Nakajima and Mr.
     Gerwig, they responded that she did not know what she was talking about and told her that
     she was lying. She said she shared this information with Mr. Sourbeer, who told her he
     was not surprised by the revelation. She does not know if Mr. Sourbeer took any action
     regarding that information.

             Dr. Kailikole recalled that there had been a previous finding by the Office of Civil
     Rights concerning a disabled student who had been denied accommodations in Mr.
     Nakajima’s class. This resulted in sensitivity training for Mr. Nakajima and Mr. Gerwig
     as a form of remedy for that violation. She said that after the report was issued by the
     Office of Civil Rights, the problematic “warning letter” which was part of the previous
     investigation began to be circulated.

             After her initial interview concluded, Dr. Kailikole wanted to go back on the record
     to share additional information concerning comments that some students made on their
     instructor’s evaluations. She noted that some students made comments along the lines of
     “the dean needed to keep her nose out of the business of the Physics and Engineering
     Department”. She said that in May 2017 she reported this to Mr. Sourbeer, and further told
     Ms. Cohen that she had concerns for her safety. She told Ms. Cohen she wanted
     administrative action, but no one seemed to take her concerns seriously, as she does not
     believe any action has been taken.

        B. Summary of Interview with Daniel Finkenthal, Ph.D

            On February 28, 2018, this fact finder conducted an audio-recorded interview of
     Dr. Finkenthal, a professor of Physics and Engineering and Department Chair. He has been
     with the District for 21 years. He is the subject of this investigation and was admonished
     to answer all questions truthfully and to the fullest extent of his knowledge. He elected not
     to have representation at his interview and was advised that if he felt it necessary to obtain
     representation during his interview, it could be stopped and rescheduled to allow him to do
     so.

             Dr. Finkenthal indicated that he became the Department Chair in Spring 2017, and
     that the prior Department Chair was Mr. Nakajima. He stated that Dr. Kailikole is the Dean


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     of his Division and his direct supervisor. He confirmed that he is aware that Dr. Kailikole
     is currently on indefinite administrative leave. He stated that Ms. Carlson is his wife and
     that Ms. Deerfield is a member the District’s Governing Board of Trustees.

             In addressing the allegation that Dr. Finkenthal provided confidential information
     to others outside of the organization (i.e., Ms. Deerfield and Ms. Carlson) he told this fact
     finder that he believes he has “an absolute right, responsibility and duty” to share
     information he feels may compromise the safety and wellbeing of his students. He
     considers the District’s Governing Board as his “boss” and that he has a responsibility to
     inform the board of what he witnesses and experiences on campus. He further stated that
     he shares everything with his wife, Ms. Carlson, who is also an educator, and who insisted
     that he work through the proper channels in bringing the civil rights violations to light as
     he did in the previous investigation conducted by this fact finder.

            Dr. Finkenthal made a point of telling this fact finder that he is “tired and exhausted
     from the District’s inaction on following through” with what he feels were clear routes for
     proper disciplinary action for Mr. Nakajima and Mr. Gerwig concerning the matters he
     brought forward in the previous investigation.

            Dr. Finkenthal was shown an e-mail communication from Dr. Kailikole to him
     dated December 8, 2017 at 5:22 p.m., that relates to information Dr. Kailikole had received
     from a representative of the District’s police department, Christopher Moore, concerning
     Mr. Nakajima’s classroom using an Airsoft pellet gun without proper supervision. He said
     on that issue, he could only recall having a discussion with Dr. Kailikole by telephone
     about her concerns that a pellet gun had been used in a classroom setting. He recalled
     responding via e-mail to Dr. Kailikole’s call, essentially dismissing those concerns, as he
     was fairly certain that use of a pellet gun is not part of the curriculum, and that he had no
     knowledge that such was being used.

             Dr. Finkenthal said that while the curriculum does include some study on ballistics,
     as far as he knew, the Department did not own a pellet gun. He said since the District has
     deemed Mr. Nakajima and Mr. Gerwig fit to be Physics professors, and either deems it
     appropriate to engage in a ballistics experiment, then it is their decision to do that. He
     stated that while he is the Department Chair, he is not Mr. Nakajima’s nor Mr. Gerwig’s
     boss or supervisor and it is not his job to “report” on members of the faculty.

            When asked if Dr. Kailikole had asked him to observe Mr. Nakajima and Mr.
     Gerwig and report back to her, he said Dr. Kailikole was “extremely upset that the District
     did not follow her recommendation and my recommendation that these guys be put on
     administrative leave until the investigation was completed.”

            Dr. Finkenthal said Dr. Kailikole had concerns that based upon previous
     experiences with Mr. Nakajima and Mr. Gerwig, their behavior would continue and that
     they were a “direct threat to the safety of students.” He further noted that while it is clear
     to him that Mr. Nakajima and Mr. Gerwig should not be teaching in the classroom, it was


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     the District’s decision to allow them to continue teaching, but he does not want to be put
     in a position where he is “policing” people.

             Dr. Finkenthal told this fact finder that Dr. Kailikole was upset that Mr. Nakajima
     and Mr. Gerwig were still teaching. He said that they seemed to be “flaunting the fact that
     they were still here . . . to the point where it was insubordinate.” He said he was reluctant
     to challenge either Mr. Nakajima or Mr. Gerwig because he was completely unaware that
     any pellet gun was being used in the classroom. However, after Dr. Kailikole provided
     him with the video taken by a student in Mr. Nakajima’s class of a pellet gun being used
     in the classroom, he realized it was “pretty serious”.

             Dr. Finkenthal indicated that his wife, Ms. Carlson, is on the school board for the
     San Marcos Unified School District, and that he shared the pellet gun video with her to get
     her “perspective” and opinion as to whether she found the video disconcerting. He said
     that after viewing the video, Ms. Carlson “flew off the rails” over the idea that something
     like that would be allowed in a classroom. She told him what she saw in the video was “a
     direct threat to student safety” and that the way the gun was being handled, could have
     easily been mistaken for an active shooter situation. He stated that he did not realize that
     the video was confidential information, nor why it would be. He said he did not ask Ms.
     Carlson to forward the video to anyone else.

            Dr. Finkenthal told this fact finder that he came into possession of a copy of the
     confidential summary of the investigative report previously prepared by this fact finder
     when it was mailed directly from the District to him at his home. He recalled that it was
     handed to him by his wife, Ms. Carlson, as she opened it when it came in the mail to their
     home. He said he shared it with a number of people, including his attorney, members of
     the District’s Governing Board and Trustees, such as Ms. Deerfield. He did not direct his
     wife, Ms. Carlson, to send the materials to anyone else.

             Dr. Finkenthal claimed that although the summary is marked “confidential”, and
     not knowing the legal definition of “confidential” he did not feel he was obligated to keep
     the document “secret”. He said he assumed that the District’s Board would have seen the
     report before he was sent a copy, although he was never told by Ms. Deerfield that she had
     received information from the previous investigation.

              Dr. Finkenthal noted that he is aware that Mr. Nakajima and Mr. Gerwig also
     received copies of the report and that they have reacted negatively toward him for his part
     in the previous investigation. He said the entire matter has made it difficult for him to
     serve as the Department Chair and build any consensus. He stated that he has suffered
     retaliation in the form of anonymous letters sent to his colleagues and collaborators
     accusing him of misusing government grant funds and exploiting students. He said these
     actions have made it awkward for him in his dealings with collaborators at other
     institutions. He said he has only seen one of these letters but has been told by other
     colleagues that they also received similar communications.



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                                                                            Exhibit A - page 73
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             Dr. Finkenthal said that he did have discussions with Ms. Deerfield concerning his
     desire for the District’s Governing Board to intervene and press for harsher discipline for
     Mr. Nakajima and Mr. Gerwig. He said that he and Ms. Deerfield are both civil rights
     activists and that he knows, from having served on her election campaigns, that she wants
     the District to “become better at serving minority communities” so he knew that sending
     her the report would “be of particular interest to her and her desire to . . . fulfill that
     mission.”

             Dr. Finkenthal said that from his perspective, Dr. Kailikole was monitoring Mr.
     Nakajima and Mr. Gerwig, however, even at the Dean’s level, there was little she could do
     other than “write them up” and document their behavior. He indicated that Mr. Nakajima
     and Mr. Gerwig remained insubordinate to Dr. Kailikole’s direction, and that he was
     “mystified as to why and how these guys got away with” openly challenging and/or
     refusing to follow direction.

            Dr. Finkenthal told this fact finder that Room NS-249 continues to be used as a
     classroom/lab, and that he received a student complaint over being failed a class for being
     asked to do something outside of regulations, such as being required to sit for three to four
     hours for an examination.

             Dr. Finkenthal said that he ran for Department Chair only after being urged to do
     so by Dr. Kahn, the current Vice President of Instruction, and Dr. Kailikole. He said Dr.
     Kailikole had been pushing for reform within their Department and she had a “fresh
     perspective on what were good practices and bad practices”. He felt it was a good time to
     take that step, in addition to the fact that Mr. Nakajima, as the previous Department Chair,
     had failed to have regular elections for that position, which came to light during the same
     meeting in which Human Resources revealed the discovery of the discriminatory materials
     that resulted in the previous investigation. He said a week after that meeting, elections
     were held wherein he was elected the new Department Chair.

            Dr. Finkenthal offered that Dr. Kailikole in no way orchestrated any plan by which
     he was to share information or materials through any back channels to Dr. Kailikole’s
     supervisors and/or the District’s Governing Board, as he absolutely did that on his own.
     He said he believes he had an “absolute right to share this information with the Governing
     Board.”

             Dr. Finkenthal indicated that it appears that the District does not have a
     successful/effective approach to progressive discipline, and that it would be almost unfair,
     after all the years of allowing issues to progress, to all at once come down with an “iron
     fist” on Mr. Nakajima and Mr. Gerwig without any progressive discipline. He noted that
     after discussing the matter with the union, he feels that the District has not done its job over
     the years documenting and providing progressive discipline. He suggested that had the
     District intervened sooner, perhaps Mr. Nakajima and Mr. Gerwig could have been
     “reformed”.



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                                                                              Exhibit A - page 74
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     X.    FINDINGS:

           A. Did Dr. Kathryn Kailikole breach employee confidentiality concerning her
              communications with Dr. Daniel Finkenthal?

                  Short Answer: YES

                                                                Discussion

             The issue presented here is to determine whether Dr. Kailikole breached employee
     confidentiality concerning her communications with Dr. Finkenthal. Dr. Kailikole was the
     Dean of the Mathematics and the Natural and Health Sciences Division and Dr. Finkenthal
     is the Department Chair of the Physics and Engineering Department which is within the
     aforementioned Division. This fact finder requested and received various e-mail
     exchanges involving Dr. Kailikole and Dr. Finkenthal where there were issues of
     discussion concerning personnel matters and professors' behavior such as Mr. Nakajima
     and Mr. Gerwig, both professors working in the Physics and Engineering Department.

            It was apparent, based on interviews with Dr. Kailikole and Dr. Finkenthal that
     there was a high level of frustration related to discipline that had been handed down
     concerning a previous investigation into misconduct by Mr. Nakajima and Mr. Gerwig.
     That matter related to various posters and other items that had discriminatory messages
     that Dr. Finkenthal had pointed out and which was subsequently investigated. Both
     Dr. Kailikole and Dr. Finkenthal expressed their frustration to this fact finder that
     Mr. Nakajima and Mr. Gerwig were not sufficiently punished and/or disciplined
     concerning this and other forms of misconduct.

             The facts in this matter demonstrate that the previous investigation concerning
     Mr. Nakajima and Mr. Gerwig was concluded in late October 2017. The facts demonstrate
     that a "Confidential Summary of Investigation" was provided to Dr. Finkenthal because he
     was a complainant in the matter. The providing of this confidential document was
     consistent with District rules and regulations.

             The facts in this matter further demonstrate that Dr. Finkenthal provided a copy of
     this investigation by e-mail to Ms. Deerfield, a member of the District’s Governing Board.
     In this e-mail Dr. Finkenthal writes, "the findings show that there have been no ongoing
     practices of unlawful discrimination in the physics and engineering department here at
     Palomar. It is time for a change, especially given the recent public outcry regarding sexual
     and workplace harassment discrimination. Please help me by making this a Board
     priority." Additionally, in this e-mail, Dr. Finkenthal writes "please do not share with
     anyone outside the Palomar College governing board." Clearly, Dr. Finkenthal understood
     this document to be confidential and sensitive.2
     																																																								
     2		See Section E below concerning Dr. Finkenthal's breach of employee confidentiality concerning
     this communication and others.


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                                                                              Exhibit A - page 75
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            The facts demonstrate that on December 11, 2017, Dr. Finkenthal sent this e-mail
     which also included his e-mail to Ms. Deerfield that also contained the aforementioned
     “Confidential Summary of Investigation Report" in regard to Dr. Finkenthal's complaint of
     unlawful discrimination against Mr. Gerwig, Mr. Nakajima and Mr. Garcia-Villa to an
     individual identified as Stacy Carlson. Dr. Finkenthal indicated and acknowledged that
     Ms. Carlson is, in fact, his wife.

             Concerning Dr. Kailikole's involvement in releasing any confidential information,
     this fact finder reviewed the circumstantial evidence concerning the timing of various e-
     mail exchanges between Dr. Kailikole and Dr. Finkenthal. Specifically, an e-mail was
     identified from Dr. Kailikole to Dr. Finkenthal that was sent on Friday, December 8, 2017
     at 4:46 p.m. This e-mail titled "Internship" was followed up almost immediately by a
     response from Dr. Finkenthal asking Dr. Kailikole to call him at his office number of 2974.
     This e-mail chain was sent on December 8, 2017 at 4:47 p.m. and only included
     Dr. Kailikole and did not include the other individuals in the previous e-mail
     correspondence from Dr. Kailikole to Dr. Finkenthal, Mireya Gutierrez-Aguero and Quan
     Nguyen.3
             This December 8, 2017 e-mail is important as this fact finder observed a flurry of
     other e-mails that were sent immediately thereafter from Dr. Kailikole to Dr. Finkenthal.
     Even though neither Dr. Finkenthal nor Dr. Kailikole acknowledged that there were any
     nefarious discussions during the requested phone call that Dr. Finkenthal made of
     Dr. Kailikole, the facts in this matter, as established by the circumstantial evidence, tends
     to show otherwise. Not long after the December 8th communication between Dr. Kailikole
     and Dr. Finkenthal, Dr. Finkenthal is observed sending e-mails to his wife, Ms. Carlson.
     Item No. 1, as attached to this fact-finding investigation, shows Dr. Finkenthal sending
     Ms. Carlson a forwarded e-mail from Dr. Kailikole that was sent only moments after the
     requested phone call on December 8, 2017.

             This e-mail information related to details from the District Police Department
     concerning an Airsoft pistol that had been used in Mr. Nakajima's class and has been the
     subject of police review. This fact finder found that it was somewhat suspicious that
     Dr. Kailikole sent this e-mail moments after the phone call that was requested on
     December 8, 2017. The e-mail chain shows that Dr. Kailikole had initially received this e-
     mail from Dr. Norman on November 21, 2017.

            Additionally, on December 8, 2017, only moments after the requested call from
     Dr. Finkenthal to Dr. Kailikole, Dr. Kailikole sent Dr. Finkenthal an e-mail identified
     herein as Item No. 4. This e-mail indicated a discussion between Dr. Kailikole and
     Mr. Nakajima in relationship to 2016 Fall semester class cancellations and adjustments.
     This fact finder also found that this sudden forwarding of this e-mail to Dr. Finkenthal
     																																																								
     	
     3		   See attached e-mail titled FW: Internship dated December 8, 2017.
     	

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                                                                               Exhibit A - page 76
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     immediately after the proposed phone call on December 8th was suspicious. Dr. Kailikole
     had initially received this e-mail from Ms. Norman on November 20, 2017, and then
     suddenly sent the e-mail by forwarding to Dr. Finkenthal on December 8, 2017 at 5:27 p.m.
     Further suspicious is the fact that Dr. Finkenthal forwarded this e-mail to his wife,
     Ms. Carlson, on December 10, 2017 at 2:19 p.m. along with many other similar e-mails,
     all relating to issues within the Department.

            On December 8, 2017 at 5:26 p.m., Dr. Kailikole forwarded to Dr. Finkenthal an e-
     mail exchange concerning issues relating to the use of an Airsoft pistol in Mr. Nakajima's
     classroom. This information contained statements by witnesses who had observed what
     they concluded was unsafe usage of an Airsoft pistol during a class presentation. In
     addition to the fact that Dr. Kailikole sent this e-mail moments after the purported phone
     call between her and Dr. Finkenthal, this fact finder found it further suspicious that
     Dr. Finkenthal, like other e-mails, forwarded in this matter to his wife, Ms. Carlson, on
     December 10, 2017. This e-mail exchange and forwarding from Dr. Kailikole to
     Dr. Finkenthal and thereafter to Dr. Finkenthal's wife, Ms. Carlson, also included video
     evidence and other details concerning the Airsoft pistol matter.

            In addition to the aforementioned e-mails concerning the Airsoft pistol matter,
     additional e-mails that had been initially forwarded to Dr. Kailikole on April 20, 2016
     regarding the Airsoft pistol were ultimately forwarded to Dr. Finkenthal on December 8,
     2017 at 5:24 p.m., again moments after the purported phone call between Dr. Finkenthal
     and Dr. Kailikole. Like the other e-mails, this information concerning confidential
     personnel issues and complaints was thereafter forwarded by Dr. Finkenthal to his wife,
     Ms. Carlson, on December 10, 2017.

            This fact finder also observed an e-mail, identified as Item No. 14, that
     Dr. Kailikole received on November 20, 2017, concerning a meeting proposed to have
     taken place on September 1, 2016. This meeting involved Dr. Finkenthal and
     Mr. Nakajima. This e-mail chain was forwarded by Dr. Kailikole to Dr. Finkenthal on
     December 8, 2017 at 5:28 p.m., again, mere moments after the purported phone
     conversation between Dr. Finkenthal and Dr. Kailikole that same afternoon.

             It appeared to this fact finder that some sort of discussion concerning Dr. Finkenthal
     and Dr. Kailikole's frustration and concern about Dr. Nakajima had occurred in the late
     afternoon on December 8, 2017. It was established by e-mail that Dr. Finkenthal requested
     a phone call from Dr. Kailikole. However, the topic of the call was not indicated in the e-
     mail exchange, and neither witness seemed to recall the nature of the phone call. However,
     the circumstantial evidence here tends to demonstrate that the call related to the two's
     concern about Mr. Nakajima and Mr. Gerwig as established by a flurry of e-mails that were
     quickly and contemporaneously sent by Dr. Kailikole to Dr. Finkenthal moments after this
     phone conversation likely occurred.

            Further solidifying that the issues concerned their frustrations and unhappiness
     regarding Mr. Nakajima's behavior and lack of discipline, e-mail evidence establishes that


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                                                                            Exhibit A - page 77
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     Dr. Finkenthal thereafter forwarded these messages to his wife, Ms. Carlson.
     Dr. Finkenthal indicated that his wife, Ms. Carlson, is on the school board for the San
     Marcos Unified School District and that he had shared various information to her in order
     to gain her perspective and opinion about various issues that were occurring in his
     Department. Mr. Finkenthal claimed that he did not ask nor was he aware if his wife had
     forwarded the videos, e-mails or the confidential investigative report to any other
     individuals. This statement by Dr. Finkenthal seemed to lack credibility to this fact finder.

            The facts here demonstrate that Dr. Finkenthal had openly provided information to
     Ms. Deerfield, a member of the District’s Governing Board and discussed his opinion that
     Mr. Nakajima and Mr. Gerwig deserved harsher discipline than they had been given
     concerning his complaint. The facts tend to demonstrate here that Dr. Kailikole forwarded
     information that could be considered derogatory relating to Mr. Nakajima's employment to
     Dr. Finkenthal for the purposes of Dr. Finkenthal to forward that information to his wife,
     and perhaps others, such that the information could reach the Governing Board members
     in order to attempt to perfect some form of greater or more harsher discipline or
     administrative difficulties for Mr. Nakajima.

             Essentially, instead of dealing more directly with Mr. Nakajima and Mr. Gerwig as
     an effective Dean, Dr. Kailikole appears to have used Dr. Finkenthal as a “go between” to
     leak details and employment information about these two District employees. Even though
     Dr. Kailikole's frustrations and lack of regard for Mr. Nakajima may be well placed, using
     others such as Dr. Finkenthal or other third parties to convey and leak confidential
     information to others is inappropriate and inconsistent with Dr. Kailikole's duties as the
     Dean of the Division.

             Here, the greater weight of the credible evidence establishes that Dr. Kailikole
     forwarded what she knew to be confidential and even derogatory information concerning
     Mr. Nakajima to Dr. Finkenthal for the purposes of Dr. Finkenthal to thereafter forward
     that information to others in order to promote a more negative viewpoint on Mr. Nakajima
     and/or to encourage or cause more stringent disciplinary measures to be taken against
     Mr. Nakajima. Although Dr. Finkenthal, as the Chair of the Department, would have some
     need and/or right to know this information about a professor working in that Department,
     it was clear that the information was shared with Dr. Finkenthal solely for his ability to
     forward it to his wife, and perhaps others for nefarious and inappropriate reasons. The
     allegation that Dr. Kailikole violated confidences in this behavior, is therefore, sustained.

        B. Did Dr. Kathryn Kailikole fail to reasonably take action concerning Takashi
           Nakajima’s use of an Airsoft pistol in his classroom?

            Short Answer: YES

        C. Did Dr. Kathryn Kailikole fail to reasonably take action concerning Takashi
           Nakajima’s use of storage room NS-249 as a laboratory?



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                                                                            Exhibit A - page 78
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           Short Answer: YES

        D. Did Dr. Kathryn Kailikole fail to reasonably take action concerning Takashi
           Nakajima’s holding of classes outside their regularly scheduled times?

            Short Answer: YES

                                             Discussion

            This matter relating to allegations B, C and D are being discussed together as these
     issues touch on and concern Dr. Kailikole's actions and/or inactions concerning
     Dr. Nakajima in her role as the Dean of the Mathematics and the Natural and Health
     Sciences Division. The facts demonstrate that Mr. Nakajima is a professor in the Physics
     and Engineering Department and has worked for the District for a number of years. In the
     more recent past, Dr. Finkenthal had been elected and installed as the Department Chair of
     the Physics and Engineering Department.

              The issue in question presented here is whether Dr. Kailikole failed to take action
     in a reasonable and prudent fashion consistent with her office concerning issues that arose
     in relationship to Mr. Nakajima's behavior as a professor in the Department. Specifically,
     Mr. Nakajima was accused of using an Airsoft pistol as a sanctioned activity in one of his
     classes. Furthermore, Mr. Nakajima continued to utilize a storage room known as NS-249
     as a classroom laboratory, when it was not designed as such, and after Dr. Kailikole had
     specifically told him to not do so. Finally, Mr. Nakajima apparently had been holding
     classes outside their regular scheduled times causing concerns and conflicts from various
     students. As the Dean of the Division, Dr. Kailikole had a duty to take reasonable and
     prudent action concerning these and other potential transgressions by Mr. Nakajima, or
     others who work under Dr. Kailikole's sphere of responsibility.

             The facts in this matter demonstrate that on April 19, 2016, Dr. Kailikole was
     contacted by a student by the name of Dallas Brown (Ms. Brown), as well as another
     student identified as "Shelby." The facts demonstrate that Ms. Brown and Shelby had
     contacted Dr. Kailikole after they had sat through Mr. Nakajima's class where an Airsoft
     pistol had been used ostensibly as some form of experiment and part of the curriculum.
     The students were concerned that the Airsoft pistol had been used in an unsafe manner,
     that students had not been protected from the hazard of using the pistol and the pellets that
     are fired from it, and the fact that Mr. Nakajima was not engaged in the activity and was
     not properly supervising the use of this device. In addition to this contact, the student,
     Ms. Brown, provided e-mail documentation of the discussion on the following day on
     April 20, 2016. Student Shelby Friends (Ms. Friends) also provided copies of a video taken
     with her cell phone showing the use of the pistol as described in their communication with
     Dr. Kailikole two days earlier.

            Even though this information was provided to Dr. Kailikole on April 21, 2016 she
     only provided information concerning this issue to Dr. Norman on November 21, 2017. In


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                                                                            Exhibit A - page 79
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     the interim, however, Dr. Kailikole had been present and spoke with campus police after
     Ms. Friends had made a complaint and Officer Magauli So'Oto had responded to take a
     report.4

             Based on the report it appeared that Officer So'Oto had met with the complainants
     at Office NS-147, and had spoken with Ms. Brown and Ms. Friends. Officer So'Oto points
     out that Dr. Kailikole was also present during his interview with both Ms. Brown and
     Ms. Friends. Officer So'Oto points out that Ms. Brown and Mr. Friends had been
     somewhat concerned about how the Airsoft gun had been handled unsafely during class.
     Their specific concerns were that there were no protective goggles, nor were there any
     safety instructions given out prior to the handling of the weapon. Prior to speaking with
     these two complainants, Officer So'Oto had spoken with Mr. Nakajima. Mr. Nakajima had
     told Officer So'Oto that the Airsoft gun was part of his curriculum and he had used it for
     his semester examinations. After Officer So'Oto told Dr. Kailikole this information she
     assured Officer So'Oto that she would look into this issue and respond back to him if use
     of such a weapon for an exam was within acceptable policies for the Department.

             Later, on April 21, 2016, Officer So'Oto responded back to NS-147 and met with
     Dr. Kailikole. Dr. Kailikole handed Officer So'Oto a copy of the Palomar Community
     College District Procedure Manual and under Section AP 3530, titled "Weapons on
     Campus", Dr. Kailikole pointed out that any activities involving educational pursuits
     involving firearms or other weapons was to be authorized by the Chief of police before the
     activity took place. Officer So'Oto points out that the Airsoft gun utilized in
     Mr. Nakajima's class was never approved for usage by the Chief of police.

             Dr. Kailikole indicated that she thereafter admonished Mr. Nakajima and
     Mr. Gerwig not to use the weapon during class and further instructed them concerning
     obtaining the Chief of police's permission before using any such device. Dr. Kailikole
     acknowledged that there was no administrative investigation done to the matter by her or
     others to her knowledge. She also acknowledged that she was unaware as to whether the
     police had crafted a police report about their investigation and/or findings.

            Dr. Kailikole merely reiterated how Mr. Nakajima and Mr. Gerwig never seem to
     follow any of her directions and always worked to "squelch" her efforts to gain their
     compliance.

            Dr. Kailikole also indicated that she had received complaints from students in
     Mr. Nakajima’s and Mr. Gerwig's classes indicating that Mr. Nakajima had altered exam
     schedules and gave lengthy exams that were inconsistent with those exam schedules which
     Dr. Kailikole claims are in violation of the Education Code. Dr. Kailikole said that it was
     reported to her that Mr. Nakajima had changed the exam schedule by allowing students to
     vote on and set the exam schedule. Dr. Kailikole also learned that Mr. Nakajima had
     																																																								
     4	   See attached Palomar College Police Report 2016-00138.
     	

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                                                                          Exhibit A - page 80
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     devised a grading scheme that penalized students if they did not complete lab projects
     within a certain amount of time. Dr. Kailikole said after learning of this, she directed
     Mr. Nakajima to cease using this negative grading scheme however, in response she
     learned that he merely revised this same scheme such students would receive extra credits
     if they completed their lab projects early.

             Dr. Kailikole said that after all these issues had come to light, and based upon their
     previous history, she and Dr. Finkenthal requested that Mr. Nakajima and Mr. Gerwig not
     be allowed to teach for the 2018 Spring semester. Dr. Kailikole said that Vice President
     Dr. Norman spoke to her and indicated that the District could not honor that request.
     Dr. Kailikole said she is not certain as to what reasons Dr. Norman had offered as to why
     this request could not be honored, however, she was under the impression that neither
     Mr. Nakajima nor Mr. Gerwig are currently teaching this semester (2018 Spring).

             Dr. Kailikole also noted that she had previously experienced an insubordinate tone
     by both Mr. Nakajima and Mr. Gerwig, as they did not comply with the directions
     concerning their class syllabi and signage. Dr. Kailikole went on to say that there had been
     a nearly 20-year history of negative behavior, particularly by Mr. Nakajima, and that no
     previous administrators had been effective in dealing with his negative behavior.
     Dr. Kailikole even cited examples where she concluded that Mr. Nakajima and Mr. Gerwig
     were potentially discriminating against individuals based on protected characteristics.
     Dr. Kailikole stated that she had been advised that complaints made by students who were
     military veterans concerning their treatment by Mr. Nakajima and Mr. Gerwig had gone
     without resolution. It was noted that Dr. Kailikole did not take any action or report this
     sort of behavior to Ms. Cohen or others at the District.

             Dr. Kailikole remarked that since she arrived as the Interim Dean nearly two years
     earlier, she has attempted to actively address the ongoing violations of policy and
     procedures by Mr. Nakajima and Mr. Gerwig, and that each time she has attempted with
     her previous supervisor, Mr. Sourbeer's support, Mr. Nakajima would do everything
     possible to thwart or rescind her efforts. Dr. Kailikole reported that Mr. Nakajima would
     attempt to undermine her by going to the Senate President or other faculty members to
     undermine or demean Dr. Kailikole's directives. Another issue Dr. Kailikole indicated that
     she was attempting to resolve was Mr. Nakajima's use of Room NS-249. Dr. Kailikole
     said that she was aware that this room had been designed as a storage room however it was
     improperly being used by Mr. Nakajima as a classroom/laboratory. Dr. Kailikole said that
     Dr. Finkenthal had contacted her in the 2016 Fall semester or early in the 2017 Spring
     semester and had invited her to attend a Department meeting when she became aware that
     this room was being used improperly.

             Dr. Kailikole learned that Mr. Nakajima and Mr. Gerwig had been teaching two
     classes at the same time and that Room NS-249 was being used for one of those classes.
     Dr. Kailikole said that when she made this discovery she gave a directive to Mr. Nakajima,
     Mr. Gerwig and Mr. Garcia-Villa to not use Room NS-249 as a laboratory or classroom.



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                                                                            Exhibit A - page 81
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             Although Dr. Kailikole seems to conclude that Mr. Nakajima and Mr. Gerwig were
     seemingly "untouchable" and that she was powerless to affect any positive change or to
     bring them into compliance, it was interesting to note that Dr. Kailikole never paid
     unannounced visits to the Department to check on these professors' behavior, activity
     and/or potential violations of rules or directives given previously. Dr. Kailikole seemed to
     conclude that it would be inappropriate or unprofessional for her to "check-up" on these
     faculty members without "fair notice."

             Dr. Kailikole went on to explain that as the Dean, as a matter of professional
     courtesy and trying to build trust with her faculty, she was not supposed to merely "check-
     up" on faculty without giving them prior notice. Dr. Kailikole claims that this was a
     practice at the District and was also governed by the faculty's union. Ironically,
     Dr. Kailikole stated that Mr. Nakajima and Mr. Gerwig, even though suspected of violating
     various rules and regulations, as well as being insubordinate to Dr. Kailikole's directions,
     would evaluate each other concerning their evaluation processes. Again, Dr. Kailikole said
     she seemed to believe that tenured faculty can request who evaluates them in their
     evaluation processes.

             Here, the greater weight of the credible evidence demonstrates that Dr. Kailikole
     failed to reasonably and prudently supervise Mr. Nakajima and Mr. Gerwig.
     Dr. Finkenthal, as a Department Chair, was not empowered to supervise and/or discipline
     these two individuals. It was clear to Dr. Kailikole that Mr. Nakajima and Mr. Gerwig
     were engaged in various forms of insubordination and misconduct, including the issue
     related to the Airsoft pistol, use of classroom facilities in an inappropriate manner and
     potentially changing exam schedules and class structures inconsistent with the Education
     Code or rules of the District, yet Dr. Kailikole seemed bashful about directly contacting or
     engaging these individuals.

            It seemed to this fact finder that Dr. Kailikole, as a Dean of the Division was duty
     bound to go to the Physics and Engineering Department and further investigate her
     suspicions and to take affirmative action even when she concluded that prior actions had
     been unfruitful. Here, the facts demonstrate that Dr. Kailikole took no such steps but
     merely acted as a passive manager seemingly hiding behind what she concluded were union
     protocols in relationship to actively and assertively supervising Mr. Nakajima and
     Mr. Gerwig. Dr. Kailikole knew, or should have known, that Mr. Nakajima and
     Mr. Gerwig required assertive supervision and management and that a "hands off"
     approach would be inappropriate and ineffective.

             The greater weight of the credible evidence here tends to show that Dr. Kailikole
     failed to take reasonable and prudent steps concerning various activities occurring in the
     Physics and Engineering Department, and specifically relating to Mr. Nakajima and
     Mr. Gerwig. The allegation that Dr. Kailikole failed to take reasonable steps or action
     concerning Mr. Nakajima's use of an Airsoft pistol in his classroom, his continued use of
     a storage room known as NS-249 as a classroom and laboratory and the idea that he may
     be holding classes outside of their regularly scheduled times is, therefore, sustained.


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                                                                           Exhibit A - page 82
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        E. Did Dr. Daniel Finkenthal breach employee confidentiality concerning his
           communications with others including his wife, Stacy Carlson?

            Short Answer: YES

                                             Discussion

             This issue concerns the allegation that Dr. Finkenthal had breached employee
     confidentiality concerning his communications with others, including his wife, about
     District employees' confidential matters. Here, it was uncontroverted by the evidence
     including e-mail documentation, as well as Dr. Finkenthal's own admissions, that he
     provided information directly to Ms. Deerfield and to his wife, Ms. Carlson, relating to
     District business including the confidential findings of the Nakajima/Gerwig/Garcia-Villa
     investigation conducted previously by this fact finder. The facts in this matter tend to
     demonstrate that Dr. Kailikole had used Dr. Finkenthal as a "go between" to leak
     information that would be seen as derogatory toward Mr. Nakajima particularly.

             The facts further demonstrated that Dr. Finkenthal was dissatisfied with the
     discipline given out to Mr. Nakajima and Mr. Gerwig and had leaked information and had
     had discussions concerning confidential personnel issues with Ms. Deerfield, a member of
     the District's Governing Board. Dr. Finkenthal said that these discussions with
     Ms. Deerfield concerned his desire for the District Board to intervene and to press for
     harder discipline for Mr. Nakajima and Mr. Gerwig after Dr. Finkenthal was dissatisfied
     with the level of discipline meted out to these two District employees, after Dr. Finkenthal
     had complained about their behavior and other issues in or about the Department offices.

             It was further obvious that Dr. Finkenthal was somehow frustrated with
     Dr. Kailikole's lack of efficiency in administratively dealing with Mr. Nakajima and
     Mr. Gerwig. Dr. Finkenthal indicated that he was "mystified as to why and how these guys
     got away with" openly challenging Dr. Kailikole and even refusing to follow her directions.
     Dr. Finkenthal told this fact finder that Room NS-249 continued to be used as a
     classroom/laboratory even after Dr. Kailikole had instructed Mr. Nakajima and
     Mr. Gerwig to not use this storage room for such a purpose. Dr. Finkenthal was also
     frustrated over the fact that both Dr. Nakajima and Mr. Gerwig tended to operate classes
     and activities outside of normal schedules. Dr. Finkenthal had even sided his
     communication with a student who had complained of her being failed in one of Mr.
     Nakajima’s and/or Mr. Gerwig's classes for being required to sit for an examination period
     outside of what was required in the initial class syllabus.

            Even though Dr. Finkenthal claimed that Dr. Kailikole in no way orchestrated or
     suggested any plan by which he was to share information or materials through any back
     channels either to Dr. Kailikole's superiors and/or the District’s Governing Board and that
     he did so on his own, the circumstantial evidence in this matter demonstrates otherwise.
     As indicated above, on December 8, 2017, in the afternoon, Dr. Finkenthal sent Dr.


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                                                                           Exhibit A - page 83
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     Kailikole an e-mail requesting that she call him at his office extension. Even though
     Dr. Finkenthal and Dr. Kailikole deny any recollection of this conversation and both deny
     that there was any sort of nefarious plan or conspiracy of sorts, a review of various e-mail
     correspondence occurring nearly immediately thereafter shows Dr. Kailikole sending
     Dr. Finkenthal a number of e-mails relating to issues concerning Mr. Nakajima and
     concerns in the District that Dr. Finkenthal soon thereafter, forwarded to his wife,
     Ms. Carlson.

              It was noted that Ms. Carlson is an educator and a board member of a local school
     district. It seemed unusual to this fact finder that Dr. Finkenthal would send his wife these
     materials without some other purpose in mind. Dr. Finkenthal's statement that he was
     merely sharing this information with his wife to get her input and opinion about various
     conditions in the Department seemed to lack credibility and/or believability to this fact
     finder. The more reasoned excuse for sending these materials, in the opinion of this fact
     finder, was to enlist his wife's assistance in an attempt to color the disciplinary charges that
     had been proffered for Mr. Nakajima and Mr. Gerwig after Dr. Finkenthal's previous
     complaint led to disciplinary actions that were unsatisfactory in Dr. Finkenthal's opinion.

             Here, the greater weight of the credible evidence tends to demonstrate that
     Dr. Finkenthal had, in fact, breached employee confidentiality in his various shared
     communications with others including his wife, Ms. Carlson. Indeed, Dr. Finkenthal had
     shared a confidential summary of an investigation report concerning his complaint of
     unlawful discrimination leveled against Mr. Gerwig, Mr. Nakajima and Mr. Garcia-Villa.
     This report contained confidential personnel information and had been prepared by
     Ms. Cohen, the Manager of Equal Employment Opportunity and Compliance in response
     to Dr. Finkenthal's initial complaint against these individuals.

             Dr. Finkenthal acknowledged that he had shared this information in discussions
     with Ms. Deerfield, a member of the District’s Governing Board and e-mail evidence
     demonstrates that Dr. Finkenthal had sent this information by e-mail to Ms. Deerfield on
     November 13, 2017, and then to his wife on December 11, 2017. Dr. Finkenthal was aware
     that this matter was confidential as it was marked as such both in the title of the document
     as well as how Dr. Finkenthal titled his own e-mail to Ms. Deerfield as a "Confidential
     Summary of Investigation." Additionally, Dr. Finkenthal also admonishes Ms. Deerfield
     to "please do not share with anyone outside the Palomar College governing board."

             Even though Dr. Finkenthal was reasonably discouraged and frustrated with the
     lack of disciplinary action taken against Mr. Nakajima and Mr. Gerwig, his release of this
     Confidential Summary of Investigation to both Ms. Deerfield and to his wife, Ms. Carlson,
     was wrongful, as it had the effect of improperly releasing confidential personnel
     information about both Mr. Gerwig, Mr. Nakajima and Mr. Garcia-Villa. Dr. Finkenthal
     had no legitimate business purpose in providing this Confidential Summary of
     Investigation or the other e-mailed information sent to either his wife, Ms. Carlson or to
     District Governing Board member, Ms. Deerfield. By doing so, Dr. Finkenthal breached



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     the employee confidentiality concerning these materials and information and the allegation
     is therefore, sustained.

        F. Was Dr. Kathryn Kailokole subject to retaliation by Mr. Nakajima, Mr.
           Gerwig and/or others concerning her role as the Dean of the Department, her
           administrative leave status and/or her employment contract?

            Short Answer: NO

                                             Discussion

             During her interview with this fact finder, Dr. Kailikole claimed that she was the
     victim of retaliation concerning her attempts and activities related to supervising Mr.
     Nakajima and Mr. Gerwig, as well as her claim that she had been placed on administrative
     leave without just cause, and that her employment contract was not going to be renewed
     and to be severed for cause.

                1. Concerning retaliation from Mr. Nakajima and/or Mr. Gerwig

              Dr. Kailikole pointed out that both Mr. Nakajima and Mr. Gerwig were difficult to
     supervise, and she further claimed there had been a history lackadaisical oversight of their
     activities in their Division. The facts demonstrate that Dr. Kailikole was the Dean of the
     Department and that both Mr. Nakajima and Mr. Gerwig worked under her command. It
     was further clear that neither Mr. Nakajima nor Mr. Gerwig could discipline, reprimand or
     otherwise negatively affect Dr. Kailikole’s employment at the District.

             Retaliation rules generally protect an employee from loss of wages or negative job
     actions as a result of a failure to hire, demotion, suspension, or discharge from employment
     because the employee engaged in lawful conduct. Here, Dr. Kailikole asserts that she was
     subject to retaliation by Ms. Nakajima and Mr. Gerwig for engaging in the lawful conduct
     of oversight and supervision. However, there appears to be no nexus concerning either
     Ms. Nakajima and/or Mr. Gerwig engaging in any inappropriate or unlawful activities that
     may have caused such a negative job action against Dr. Kailikole.

            Mr. Nakajima and Mr. Gerwig may well have been difficult employees and further
     may have, in the past, freely engaged in inappropriate activities while on-duty.
     Additionally, these activities may have been ignored in the past by Dr. Kailikole’s
     predecessors. Indeed, there was some evidence to show that this was, in fact, the case.
     None the less, Dr. Kailikole was hired as Dean to manage her Division and this Department,
     and to bring to bear her skill and acumen as a manager to correct inappropriate behaviors
     of which she learned. Further, Dr. Kailikole was required to act within the framework of
     the law and the various rules and procedures instituted in the District. As discussed above,
     Dr. Kailikole seemed to have failed in this mission.




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              Furthermore, Dr. Kailikole cited no instances of any negative job action occasioned
     directly by these two subordinate employees. Dr. Kailikole’s complaints about labor union
     activities and/or rules seemed and attempt by her to sidestep her responsibilities as a
     manager. Indeed, the activities that Mr. Nakajima and Mr. Gerwig undertook related to
     their reliance on members of their union was protected activity and cannot be seen as
     retaliatory, albeit aggressive and confounding to Dr. Kailikole.

             Dr. Kailikole in her interview with this fact finder claimed that somehow her safety
     was in jeopardy due to the fact that it appeared to her that Mr. Nakajima had perhaps
     disclosed her lack of support and her oversight to students who thereafter wrote unflattering
     remarks in their class critiques that seemed to hold Dr. Kailikole out to contempt and
     ridicule. Although these remarks were discouraging and perhaps hurtful, and it was
     possible that Mr. Nakajima had been somewhat disparaging in his comments about Dr.
     Kailikole to his students, there was no indication that any student would somehow visit
     violence upon Dr. Kailikole due to any unflattering comments made by Mr. Nakajima to
     these students.

             There was additionally no evidence that Mr. Nakajima or anyone else had suggested
     or encouraged any form of violence against Dr. Kailikole. The idea that Dr. Kailikole was
     somehow in fear for her life in this regard was unreasonable and hyperbolic. In summary,
     there was no credible evidence that Dr. Kailikole was somehow the subject and/or victim
     of retaliation or mistreatment by Mr. Nakajima or Mr. Gerwig.

                2. Concerning retaliation from the District related to her administrative
                   leave status and/or failure to renew her employment contract and/or
                   severing the contract for cause

             Concerning Dr. Kailikole being placed on administrative leave by District officials
     on December 14, 2017, she concludes that act was a form of retaliation, however, the record
     demonstrates that there was a legitimate business interest in placing Dr. Kailikole on
     administrative leave for the purposes that attended this fact-finding investigation
     concerning suspicious communications between Dr. Kailikole and Dr. Finkenthal, wherein
     materials and confidential information was inappropriately leaked to those outside of the
     District organization that had neither a right nor a need to know of such matters.

             The record was clear that after, what appeared to be, a phone conversation between
     Dr. Kailikole and Dr. Finkenthal on December 8, 2017, that seemed to have set into motion
     a flow of information consisting of at least several e-mails from Dr. Kailikole to Dr.
     Finkenthal, which were in turn were forwarded to Dr. Finkenthal’s wife. It was clear to
     District administrative staff that there was probable cause to believe that Dr. Kailikole was
     involved in the inappropriate sharing of confidential information to Dr. Finkenthal who
     shared this information with others.

           Indeed, a review of Dr. Kailikole’s e-mails and this fact-finding investigation
     demonstrated just such activity. When this suspicion arose, the District was duty bound to


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     protect evidence and to safeguard the integrity of this investigation by removing Dr.
     Kailikole from the workplace to be certain that additional leaking of sensitive and/or
     confidential information did not occur. As such, her administrative leave status beginning
     on December 14, 2017, mere days after the December 8, 2017 suspicious sharing of e-
     mailed information with Dr. Finkenthal, was undertaken for the legitimate business
     purpose of preserving evidence and protecting the confidential personnel information of
     the District and not as a form of retaliation.

             Concerning Dr. Kailikole’s claim that the District’s refusal to renew her
     employment contract is a form of retaliation, her assertion here is based on her misguided
     belief that she was entitled to continued employment at the District. Dr. Kailikole claimed
     that the District had informed her that her contract would not be renewed. The relevant
     law concerning Dr. Kailikole’s contract is detailed in relevant part at California Education
     Code Section 72411, which states:

            “(a) Every educational administrator shall be employed, and all other
            administrators may be employed, by the governing board of the district by an
            appointment or contract of up to four years in duration. The governing board of a
            community college district, with the consent of the administrator concerned, may
            at any time terminate, effective on the next succeeding first day of July, the term of
            employment of, and any contract of employment with, the administrator of the
            district, and reemploy the administrator, on any terms and conditions as may be
            mutually agreed upon by the board and the administrator, for a new term to
            commence on the effective date of the termination of the existing term of
            employment.
            (b) If the governing board of a district determines that an administrator is not to be
            reemployed by appointment or contract in his or her administrative position upon
            the expiration of his or her appointment or contract, the administrator shall be
            given written notice of this determination by the governing board. For an
            administrator employed by appointment or contract, the term of which is longer
            than one year, the notice shall be given at least six months in advance of the
            expiration of the appointment or contract unless the contract or appointment
            provides otherwise. For every other administrator, notice that the administrator
            may not be reemployed by appointment or contract in his or her administrative
            position for the following college year shall be given on or before March 15.”

             Here, the District Governing Board apparently gave written notice to Dr. Kailikole
     on or before March 15 that her employment would not be continued with the District. This
     notice is in keeping with both the law and Dr. Kailikole’s contract with the District. Dr.
     Kailikole’s contract states, in relevant part:5



     																																																								
     5	See attached employment contract between the District and Dr. Kailikole.



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                   “…this Agreement will automatically renew upon its expiration, and
           Employee will automatically be reemployed for one (1) additional year upon the
           expiration of this Agreement, unless the Governing Board provides written notice
           to Employee on or before March 15, 2018, of its intention not to reemploy
           Employee in Position for one additional academic year.” [Emphasis added]

              Dr. Kailikole acknowledged to this fact finder that she had been given timely notice
     by the Governing Board that her contract would not be renewed. Additionally, in keeping
     with her contract, her employment continued while she was on paid administrative leave.
     The District (Ms. Cohen) advised this fact finder that Dr. Kailikole’s employment contract
     is to be severed under Section 14 of the contract concerning “termination of this agreement
     during its term with cause.” Dr. Kailikole’s contract defines “cause” for terminations as:

            “…those actions, omissions, or behaviors which are detrimental to the operations
            of the District and/or its major instructional, student and administrative divisions,
            or which impair the District’s mission, purpose, or objectives. Conduct which
            constitutes a breach of contract and cause for discharge, includes, but is not limited
            to: unsatisfactory work performance, dishonesty, misconduct, unprofessional
            conduct, or insubordination.”

             This investigation revealed that Dr. Kailikole engaged in misconduct, as described
     above, that would lead a reasonable and prudent District employer to not desire to renew
     an employment contract with someone who had engaged in such behavior and who could
     further reasonably sever the employment contract “for cause.” Indeed, Dr. Kailikole’s
     behavior related to the inappropriate sharing of confidential employee information, and a
     demonstrated lack of proper managerial oversite, all of which together and separately
     formed the basis of “unsatisfactory work performance, dishonesty, misconduct,
     unprofessional conduct, or insubordination.” Such misconduct would, under the terms of
     the employment contract, constitute a breach of contract and cause for discharge.

             Dr. Kailikole had no expectation of continued service with the District and she
     engaged in misconduct that formed the basis of a breach of contract and cause for discharge
     under the terms of her employment contract. There is no credible evidence to show that
     there were any inappropriate motivations for either not renewing her contract and/or
     discharging her for cause other than legitimate business reasons and purposes. The
     allegation that Dr. Kailikole was subject to any form of retaliation is therefore, unfounded.




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                                                                            Exhibit A - page 88
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                        2. Interview Transcript:
                         Dr. Kathryn Kailikole




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        Transcript of Interview of Kathryn Kailikole – February 28, 2018

  Jeff Love: Okay, I've, uh, turned on the tape recorder and the date is, uh,
  February 28th, 2018. My name is Jeff Love, L-O-V-E. I'm an attorney. I've been
  hired as a neutral factfinder for Palomar Community College. It's about 11:45
  right now in the morning. I'm here with, uh, Kathryn Kailikole and that's K-A-I-L-
  I-K-O-L-E, and, uh, she is represented here in this meeting by her attorney, Evan
  Dwin, that's D-W-I-N. And, uh, Kathryn, you, you realize we're recording this,
  correct?

  Kathryn Kailikole: Yes.

  Jeff Love: And you understand that you've been, uh, directed to be here to
  answer my questions truthfully and to the fullest extent of your knowledge.

  Kathryn Kailikole: Yes.

  Jeff Love:   You intend to do so.

  Kathryn Kailikole: Yes.

  Jeff Love: Thank you. Now, um, the purpose of this interview is, uh, almost
  five-fold. First and foremost, I wanna hear about, uh, your complaint of potential
  retaliation, these sort of things –

  Kathryn Kailikole: Mm hmm.

  Jeff Love: – that have led to apparently an administrative leave that you were
  placed on, uh, on or about December 14th. Um, and your attorney, before we
  turned on the record, had gone through, um, and given me some context, uh, timing
  and issues that sort of stem back from an investigation that I had done earlier, uh,
  last year, uh, regarding, um, a couple of, uh, professors in the department, the
  physics and engineering department that, of which you're the dean of that had, uh,
  engaged in, uh, potential misconduct, and, and I had interviewed you at the time.
  We spoke on the phone and I conducted, so you were a witness in that
  investigation and, and, and essentially, I think, had kind of brought the whole thing
  forward, uh, when you had ob, observed a number of inflammatory postings and
  all sorts of other things of that nature. Does that sound familiar?

  Kathryn Kailikole: Yes.




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                                                                 Exhibit A - page 90
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        Transcript of Interview of Kathryn Kailikole – February 28, 2018

  Jeff Love: Okay. Good. Okay. Uh, apart from that, after we hear from that, I
  wanna talk to you a little bit about, um, this business about the use of the, uh, uh,
  the ubiquitous, uh, office and that's 249, which, um, is nothing more than a storage
  room I understand, but it's been continually, uh, used as a laboratory, um, even
  against, uh, direction and so forth, so I wanna hear about that. And then apparently
  there was some business where an Airsoft type gun that looks like a real gun but
  shoots, like, pellets, uh, was used in one of the classes. I believe a student had
  brought it forward. There was some videos and things of that nature. I wanna,
  'cause I'm investigating that whole thing as well, why that gun was there, gun, well,
  Airsoft pistol was there and was it used properly and did people use prudential
  judgment in the way they were allowing students to use it. So, I wanna, uh, talk a
  little about that as well. So, um, how long have you been with the college here?

  Kathryn Kailikole: I've been with the college since January 13, 2015.

  Jeff Love:   And you were hired here as the dean, were you?

  Kathryn Kailikole: The interim dean.

  Jeff Love:   Interim dean, and, um, tell me the technical name of the department.

  Kathryn Kailikole: It's Mathematics and the Natural and Health Sciences.

  Jeff Love:   Okay. And –

  Kathryn Kailikole: And it's a division.

  Jeff Love: – a division. Thank you. That's, was my next question 'cause there's
  divisions and departments, and the division, uh, concerning that part, that
  complaint that I investigated last year involving Nakajima, Gerwig and, and so
  forth, that's considered a department, is it not?

  Kathryn Kailikole: Yes, the Physics and Engineering Department.

  Jeff Love: Okay. And, um, okay. So, um, I conducted that investigation. Um, I
  had made some findings. I had published a report. I believe, uh, some of that
  report, uh, perhaps you'd been given a copy of it?

  Kathryn Kailikole: Yes.



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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

  Jeff Love: Okay. Um, and as part of that investigation, you were interviewed as
  a witness, um, and, uh, provided me information as you, as I recall, correct?

  Kathryn Kailikole: Yes.

  Jeff Love: Okay, and the information you provided to me, uh, was, uh, not
  entirely flattering concerning Mr. Nakajima and Mr. Gerwig, correct?

  Kathryn Kailikole: Yes.

  Jeff Love: Okay. So, you get place on administrative leave on December 14th.
  At that time, did anybody, had, just say, let's go prior to December 14th. Had
  anybody, uh, indicated to you, uh, any dissatisfaction with your employment, your
  behavior, uh, anything of the sort?

  Kathryn Kailikole: No.

  Jeff Love:   Okay. Who is your direct supervisor there?

  Kathryn Kailikole: Jack Kahn.

  Jeff Love:   Kahn? That's K-A-H-N?

  Kathryn Kailikole: Yes.

  Jeff Love:   Okay, and who is he?

  Kathryn Kailikole: He's a vice president at, president of instruction.

  Jeff Love: Okay, the VPI. And, uh, have you had any discussions with Mr. Kahn
  about, uh, your employment, um, and I don't mean in a derogatory sense, but I
  mean, had you met with him and said, hey, you're doing a good job, or anything
  like that? Any reviews, and evaluations?

  Kathryn Kailikole: My last evaluation was done by Daniel Sourbeer who was the
  ad, um, interim vice president of instruction.

  Evan Dwin: I have a copy of that, by the way, if you, uh –

  Jeff Love:   Okay. Sourbeer, that's S-A-U-B-E-E-R –

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        Transcript of Interview of Kathryn Kailikole – February 28, 2018


  Kathryn Kailikole: It's Sour, S-O-U-R –

  Jeff Love:   Oh. Oh, okay.

  Kathryn Kailikole: Beer.

  Jeff Love:   B-E, B-E-E-R, right?

  Kathryn Kailikole: Mm hmm. '

  Jeff Love:   Sourbeer. Okay. Um, and that, and, and that evaluation was done
  when?

  Kathryn Kailikole: Um, May I believe?

  Jeff Love:   Of 2 –

  Kathryn Kailikole: Of last year.

  Jeff Love: May of 2017, okay. And so, uh, and that evaluation, your attorney,
  Mr. Der, uh, Dwin said that he has a copy of it and I may get a look, take a look at
  that or get a copy from the college. Give me, what did, how was the evaluation?
  Uh, I mean, was, was it, uh, glowing? Was it average, uh, give me your
  interpretation as to what you read and what you were told.

  Kathryn Kailikole: It was good.

  Jeff Love:   Okay. All right.

  Evan Dwin: Just to, to, uh, as a follow up to that, you know, she, she didn't review
  it in preparation for this interview, so she'd have to look, look, look back –

  Jeff Love:   All right –

  Evan Dwin: – at the –

  Jeff Love:   – there, was it, uh –

  Evan Dwin: Her general sense of it, you know, she can certainly.

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        Transcript of Interview of Kathryn Kailikole – February 28, 2018


  Jeff Love:   Did, did you get the sense that there was anything in there derogatory,
  or –

  Kathryn Kailikole: No.

  Jeff Love:   – any, a room, needs improvement, anything like that?

  Kathryn Kailikole: No.

  Jeff Love:   Okay.

  Kathryn Kailikole: I need to smile more when I'm under stress. I remember that
  sentence –

  Jeff Love:   Well, we all, yes.

  Kathryn Kailikole: – because Evan read it to me.

  Evan Dwin: I did. Okay.

  Jeff Love:   Yeah. All right.

  Evan Dwin: Don't, don't talk about things that we talked about.

  Jeff Love:   Yeah, right –

  Kathryn Kailikole: Oh, sorry about that.

  Jeff Love:   – yeah. I may ask you questions and your, you and your attorney –

  Kathryn Kailikole: Sorry.

  Evan Dwin: That one's okay.

  Jeff Love: – you and your attorney enjoy a certain privilege, uh, that I cannot, not
  anybody else can intrude upon in, in most cases. Um –

  Kathryn Kailikole: I was just trying to lighten the atmosphere.



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        Transcript of Interview of Kathryn Kailikole – February 28, 2018

  Evan Dwin: Yeah.

  Jeff Love:   Yeah. Okay. So, uh, you had a good evaluation.

  Kathryn Kailikole: Yes.

  Jeff Love:   Okay. And, uh, December 14th, you're in your office, and what
  happens?

  Kathryn Kailikole: I'm asked to come down to, um, DPI Kahn's office –

  Jeff Love:   Mm hmm.

  Kathryn Kailikole: – to discuss the outcome of the physics and engineering, um,
  report.

  Jeff Love:   And that was the report that I prepared.

  Kathryn Kailikole: Mm hmm.

  Jeff Love:   Okay. Uh, answer yes or no, uh –

  Kathryn Kailikole: Yes. Sorry.

  Jeff Love: – mm hmm sometimes it tran-, it's, uh, the court reporter might not
  know what you mean, but you meant yes.

  Kathryn Kailikole: Yes.

  Jeff Love:   Okay. So, then what happened?

  Kathryn Kailikole: I went to the office, and, um, Jack's door was closed so I had to
  wait. Shawna Cohen was outside wait, also waiting. Um, I was called in.

  Jeff Love:   Mm hmm.

  Kathryn Kailikole: Um, and we sat down and Shawna said to me, you may not be,
  you may be surprised by this. Or expecting this. To my recollection.

  Jeff Love:   Okay.

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        Transcript of Interview of Kathryn Kailikole – February 28, 2018


  Kathryn Kailikole: I don't remember if it was –

  Jeff Love:   So, she, she was –

  Kathryn Kailikole: – surprised or expect –

  Jeff Love:   – telling that there's gonna be a surprise. You didn't know if there –

  Kathryn Kailikole: Yes.

  Jeff Love:   – was gonna be party favors –

  Kathryn Kailikole: Mm hmm.

  Jeff Love:   – and they were gonna give you gifts, or –

  Kathryn Kailikole: Mm hmm.

  Jeff Love:   – what was gonna happen.

  Kathryn Kailikole: Right.

  Jeff Love:   Okay.

  Kathryn Kailikole: And, um, and, uh, and then she read the, the letter to me that –

  Jeff Love:   And this letter was what?

  Kathryn Kailikole: – was that I was being put on, put on administrative leave, and
  that because of allegations, and she stressed that they were only allegations.

  Jeff Love:   Mm hmm.

  Kathryn Kailikole: Of, uh, breach of confidentiality.

  Jeff Love:   Okay.

  Kathryn Kailikole: But I had no idea what confidentiality I had breached.



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        Transcript of Interview of Kathryn Kailikole – February 28, 2018

  Jeff Love:   Okay.

  Kathryn Kailikole: Uh –

  Evan Dwin: Alleged, alleged.

  Kathryn Kailikole: – alleged.

  Jeff Love:   Right, yeah, right.

  Kathryn Kailikole: Um –

  Jeff Love:   Okay.

  Kathryn Kailikole: – and, um, and that was all that they, so, I, I didn't know what
  breach of confidence –

  Jeff Love:   Okay. Did, what, was it –

  Kathryn Kailikole: I honestly did not know –

  Jeff Love:   – was there –

  Kathryn Kailikole: – what they were talking about.

  Jeff Love: – was it, okay. Was there any discussion point? Did you say, well,
  you know, what the heck you talking about here? I mean, uh –

  Kathryn Kailikole: Yeah, I said I was at a loss.

  Jeff Love:   Okay. And, did they –

  Kathryn Kailikole: Then they said they, I could ask questions.

  Jeff Love:   Okay.

  Kathryn Kailikole: But they, every time I asked a question, they said I can't answer
  that.

  Jeff Love:   Okay. All right, so –

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         Transcript of Interview of Kathryn Kailikole – February 28, 2018


  Kathryn Kailikole: And then, oh.

  Jeff Love:   Okay. I'm sorry, go ahead, then what happened?

  Kathryn Kailikole: I turned to Jack, and I said, what do you need right now?

  Jeff Love:   Mm hmm.

  Kathryn Kailikole: Because it was happening at the worst time.

  Jeff Love:   Okay.

  Kathryn Kailikole: And I had to think really quickly about all the things that
  needed to be done –

  Jeff Love:   Mm hmm.

  Kathryn Kailikole: – that could be a problem. We had a, um, annual report due.

  Jeff Love:   Uh huh.

  Kathryn Kailikole: For the Title 5 grant.

  Jeff Love:   Okay.

  Kathryn Kailikole: So, I had to make sure that he understood that that was
  happening. Fortunately, that's a good very good evaluator. She was able to get it
  done, I think. I don't know.

  Jeff Love:   Okay.

  Kathryn Kailikole: I haven't been informed.

  Jeff Love:   Okay.

  Kathryn Kailikole: Um, and at that point, Jack said, it's, you can't, we can't, no.
  We can't do that. So, I just tried to, he just took notes as quickly as possible about
  what he needed to get done.



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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

  Jeff Love: Okay. So, you were sorta conveying to him the projects, the critical
  projects and things that you were working –

  Kathryn Kailikole: Mm hmm.

  Jeff Love: – on. No information, though, to you concerning, uh, what it was that
  you were said to have breached –

  Kathryn Kailikole: No.

  Jeff Love:   – in confidence.

  Kathryn Kailikole: No.

  Jeff Love:   Okay. All right.

  Evan Dwin: I just wanna put on the record that, um, I've made, uh, repeated
  requests to the, to the District to, um, under the, uh, personnel file statute to obtain,
  um, information about what the allegations are –

  Jeff Love:   Mm hmm.

  Evan Dwin: – against her, and, um, they've, uh, refused to provide it.

  Jeff Love:   Okay.

  Evan Dwin: Um, and I, um, citing inapplicable authority and, and not responding
  to what I think is relevant authority that demonstrates that, that she, uh, has a right
  to review any grievance against her.

  Jeff Love:   Okay. So, um, what happened then? Uh, were you led out of campus,
  or –

  Kathryn Kailikole: Yeah, I asked to be, I wanted to read it before I left the room.

  Jeff Love:   The, this document –

  Kathryn Kailikole: The letter. The document that they –

  Jeff Love:   – that they had. Did they provide you a copy of that document?

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          Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Kathryn Kailikole: They did. And –

   Jeff Love:   Okay.

   Kathryn Kailikole: – um, Evan has it –

   Jeff Love:   Okay.

   Kathryn Kailikole: – at this point.

   Jeff Love:   All right. Okay.

   Kathryn Kailikole: Um, but I wanted to read it and it basically was essentially what
   was read to me.

   Jeff Love:   Okay.

   Kathryn Kailikole: Um, and I –

   Jeff Love:   There wasn't anything else in the document that shed light on what –

   Kathryn Kailikole: No.

   Jeff Love:   – it was that you –

   Kathryn Kailikole: Nothing.

   Jeff Love: – particularly had, were alleged to have done wrong. Okay. So, then
   what happened?

   Kathryn Kailikole: Um, Shawna had to, uh, walk me –

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: – to my office because she had to take my key and, um, my
   parking pass.

   Jeff Love:   Okay.



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: And, they had informed me that my, uh, I would not have
   access to my computer –

   Jeff Love:   Okay.

   Kathryn Kailikole: – my email.

   Jeff Love:   You'd been locked out of your computer?

   Kathryn Kailikole: I'd been locked out.

   Jeff Love:   Okay.

   Kathryn Kailikole: Um, and so we walked and, um, VPI Kahn's office is down
   here.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: My office is up at the top of the hill, and –

   Jeff Love:   I see.

   Kathryn Kailikole: – we walked to there.

   Jeff Love:   Okay.

   Kathryn Kailikole: And as, um, we were walking, Shawna said to me, thank you
   for not yelling at me. And I said, why would I do that? And she said because
   other people always do.

   Jeff Love:   Mm, okay.

   Kathryn Kailikole: And I said, what's the point? It is what it is.

   Jeff Love:   Yeah, okay.

   Kathryn Kailikole: Um, and then she asked again, do you have any questions?
   And I said, I don't understand. You had two people who, uh, violated Title 9 and
   Title 5, and they were never put on any kind of leave.



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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love:   You're talking about Nakajima and –

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   – Gerwig.

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   Yeah.

   Kathryn Kailikole: Um, and they were left in the classroom, and I had been getting
   complaints last fall up until December about them from students. And from
   Dr. Finkenthal.

   Jeff Love:   Okay.

   Kathryn Kailikole: Um, but they were never put on any kind of leave. And I said,
   I, I don't understand. How is this fair? And she said, I can't answer that.

   Jeff Love:   Hmm. Okay. All right.

   Kathryn Kailikole: So, she, we walked into my office. Um, I got what I could, you
   know, and I know she was giving me time, but it –

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: – I –

   Jeff Love:   You felt an urgency to move along.

   Kathryn Kailikole: Yeah.

   Jeff Love:   I'm assuming, yeah.

   Kathryn Kailikole: Especially because my administrative assistant was sitting right
   out there.

   Jeff Love:   Hmm.

   Kathryn Kailikole: And she's a sweetheart.

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         Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Jeff Love:   Yeah.

   Kathryn Kailikole: Um, and I didn't wanna make this any more stressful than I –

   Jeff Love:   Right.

   Kathryn Kailikole: – needed to for her.

   Jeff Love:   Right, right.

   Kathryn Kailikole: Um, because I couldn't say anything. And, um –

   Jeff Love: Was there a directive, uh, that you maintain confidentiality and don't
   discuss anything? Or if you could just –

   Kathryn Kailikole: Yes.

   Jeff Love:   – okay.

   Kathryn Kailikole: There was a directive for me not to talk to anyone at Palomar
   College.

   Jeff Love:   Okay.

   Evan Dwin: Just to clarify, what time are you talking about, that, that question
   about the directive?

   Jeff Love:   Yeah, was that –

   Evan Dwin: Are you saying Shawna Cohen at this point.

   Jeff Love:   – was, was that in your December 14th memo?

   Evan Dwin: I don't believe so.

   Kathryn Kailikole: I don't think so.

   Jeff Love: Okay. Who was it that told you that you couldn't talk to anybody at
   Palomar College?

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          Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Kathryn Kailikole: Uh, Shawna.

   Jeff Love:   Okay. And that was as you were walking, and –

   Kathryn Kailikole: No, she said it in the, in the, in the office with, uh, Jack.

   Jeff Love:   Oh, I see. Okay. All right. So, it happened that day.

   Kathryn Kailikole: Yeah.

   Jeff Love: And what did, what particularly or specifically did, did Shawna say?
   About that? You're not to talk or discuss this matter with anybody here at the
   college?

   Kathryn Kailikole: Yeah.

   Jeff Love:   Okay. Was there any exception to that –

   Kathryn Kailikole: To my recollection.

   Jeff Love:   Okay. All right. Okay. And –

   Kathryn Kailikole: There was no exception.

   Jeff Love:   – no exceptions. Okay.

   Kathryn Kailikole: That I know of. Or that –

   Jeff Love:   I mean, you, if you –

   Kathryn Kailikole: – to my –

   Jeff Love: – don't talk to anybody here at the college except for me or Jack or
   anything like that? I mean –

   Kathryn Kailikole: No, it wasn't even, you know, if I was to talk to anybody at the
   college about this or about this –

   Jeff Love:   Mm hmm.

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         Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Kathryn Kailikole: – was to her.

   Jeff Love: I see. Okay. Okay. So, you were allowed to talk to her, but nobody
   else. That was your impression anyway.

   Kathryn Kailikole: Yes.

   Jeff Love:   Okay.

   Kathryn Kailikole: That was my impression.

   Jeff Love:   All right. Okay.

   Kathryn Kailikole: Hence, I felt that I was put under house arrest quite frankly.

   Jeff Love: Okay. Okay. All right. And then, then what happened? You went to
   your office and you're trying to kinda hustle through it. You don't want your
   assistant who's sitting outside to become –

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   – embroiled in –

   Kathryn Kailikole: Yes.

   Jeff Love:   – it and upset and whatnot.

   Kathryn Kailikole: Yes, and, and more than once, Shawna said, thank you for not
   yelling at me.

   Jeff Love:   Okay.

   Kathryn Kailikole: Um –

   Jeff Love:   I guess people yell at her, huh?

   Kathryn Kailikole: Yes.

   Jeff Love:   Okay.

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         Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Kathryn Kailikole: Uh, and, um, and as we were walking out, my assistant asked
   me to sign things. By that point of time, I felt that all my rights had been taken
   away.

   Jeff Love:   Well, right, yeah.

   Kathryn Kailikole: So, I'm standing there at a loss of what to do.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: Um, and I had to look at Shawna and she just shook her head
   and let, allowed me to make those signatures.

   Jeff Love:   Okay.

   Kathryn Kailikole: So, I wouldn't have to explain to –

   Jeff Love:   Right.

   Kathryn Kailikole: – my assistant what was going on.

   Jeff Love:   What were the things that you were allowed to sign?

   Kathryn Kailikole: I don't know. Whatever she put in front of me. I mean, I
   looked at 'em but at the time, I was so upset. It was pretty much the normal
   standard kinds of things that I would sign –

   Jeff Love:   Perfunctory type of –

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   – uh, things, okay. All right. So, then what happened?

   Kathryn Kailikole: Um, and then she walked me to, um, the car. They also told me
   that, um, now, I'm sorry. I'm just trying to remember –

   Jeff Love:   Sure.




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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: That, um, they, they needed to hire an investigator. And they
   weren't gonna do anything now. And then ironically told me to just go and enjoy
   my holidays, which of course, I didn't. Um, and, that they would have somebody
   hired, uh, by mid-January. I didn't hear from them until mid-February.

   Jeff Love:   Okay.

   Kathryn Kailikole: So, I was left –

   Jeff Love:   Okay.

   Kathryn Kailikole: – in a quagmire.

   Jeff Love:   Yeah. So, uh, were you walked to your car, or were you just allowed
   to leave –

   Kathryn Kailikole: Yes, well, I, well, I, she had to walk me to the car because she
   had to pick up the parking pass.

   Jeff Love:   Oh, okay.

   Kathryn Kailikole: And, and –

   Jeff Love:   You have faculty parking then?

   Kathryn Kailikole: Yeah. And I asked her, do you wanna ride back down. I'm
   happy to give you a ride back down.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: And, um, and she said, no, it's okay. I'll walk. And then she
   said, I'm so sorry. I just need to remind you because we were, 'cause I had
   forgotten that she wanted the parking pass.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: And I could tell she was feeling really bad. So, I handed her
   the parking pass, and my last words to her was that I valued her.

   Jeff Love:   Mm hmm.

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          Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Kathryn Kailikole: I got in my car and I drove home.

   Jeff Love: Okay. And, uh, uh, when was the next time you had any
   communication from the college as to the status of your –

   Kathryn Kailikole: February 15th.

   Jeff Love: Okay, and on, was there ever, uh, a directive for you, like, to check in
   with the college, or it was, it, was it one of these things, don't call us, we'll call you
   type of a deal?

   Kathryn Kailikole: Yes.

   Jeff Love:   Okay, so, February 15th, who calls you?

   Kathryn Kailikole: Nobody called me.

   Jeff Love:   Somebody contacted you?

   Kathryn Kailikole: Email.

   Jeff Love:   Email. And, uh, what'd the email say?

   Kathryn Kailikole: That they wanted me to come in on February 22nd to, um, be
   interviewed.

   Jeff Love:   Okay.

   Kathryn Kailikole: By ****.

   Jeff Love:   Okay.

   Kathryn Kailikole: Between the time, however, because I had not heard from the
   campus, I sought legal.

   Jeff Love:   Okay.

   Kathryn Kailikole: Counsel.



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love:   Okay.

   Evan Dwin: She, just, she'd been **** like she'd been in **** like she's told you
   before, she'd been instructed not to do what she just, e, e, to contact anybody, so I
   don't, you know, how can she –

   Jeff Love:   No, nobody on campus.

   Evan Dwin: Right, so how's –

   Kathryn Kailikole: Yeah.

   Evan Dwin: – she supposed to check in if she's been –

   Jeff Love:   Yeah, right.

   Evan Dwin: – instructed not to talk to anyone?

   Jeff Love: No, I'm just, I'm just wondering if they had given her an instruction to
   contact any particular person to check in or anything. But it sounds like not.

   Evan Dwin: They told her the opposite I think is what I'm saying.

   Jeff Love:   And were, was your salary continued?

   Kathryn Kailikole: Yes.

   Jeff Love:   Okay. All right.

   Kathryn Kailikole: However, I did have fear that I wasn't gonna get paid. The
   reason I had fear regarding this matter was because I still have not been given
   reimbursement checks for travel for the college that occurred in November.

   Jeff Love:   Mm.

   Kathryn Kailikole: So, I, every month I would –

   Jeff Love:   Have you, have you, have –




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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: – I would be surpri, I mean, I really had concern whether or not
   I would be paid. Even though –

   Jeff Love:   Okay.

   Kathryn Kailikole: – they said that I would be put on paid leave.

   Jeff Love:   Did those, were you finally given reimbursement?

   Kathryn Kailikole: No.

   Jeff Love:   Not yet?

   Kathryn Kailikole: No.

   Jeff Love:   Okay. And this is something you submitted in November?

   Kathryn Kailikole: Yes.

   Jeff Love:   Is it characteristic of the department to have a delay like that?

   Kathryn Kailikole: Not for 2½ months.

   Jeff Love:   Okay. All right. How would you normally receive those checks?

   Kathryn Kailikole: They would have been, they would've come to my office.

   Jeff Love:   Interoffice mail?

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   Okay.

   Kathryn Kailikole: And it's not as if everybody does not know I'm on
   administrative, I mean, on leave.

   Jeff Love:   Right.

   Kathryn Kailikole: Maybe not administrative.



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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love: Okay. All right. Okay. So, um, tell me why it is you thing that, uh,
   this might be retaliatory? Your attorney, we had talked, before we turned on the
   tape and that, that there, that the timing was somewhat suspicious. Hey, come on
   over. We're gonna talk about this investigation, which wasn't the case. It doesn't
   sound like you talked about the investigation, did it? Did you? I mean, you, you're
   shaking your head no.

   Evan Dwin: I don't understand, understand the question, sir.

   Kathryn Kailikole: We, I don't understand.

   Jeff Love: Oh, I'm sorry. Um, it, it, you, in other words, they called, they. Um,
   somebody called you on, on December 14th and said, hey, come on over to Jack's
   office. We wanna talk about the –

   Kathryn Kailikole: Yeah, I wasn't even –

   Jeff Love:   – investigation –

   Kathryn Kailikole: – really called. I was given an email –

   Jeff Love:   An email.

   Kathryn Kailikole: – sent an email.

   Jeff Love:   Okay.

   Kathryn Kailikole: Saying, and it wasn't about the investigation. It was the
   outcome of the investigation.

   Jeff Love:   Or, the outcome of the investigation.

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   Okay. But, did you –

   Kathryn Kailikole: Because I was asking –

   Jeff Love:   Mm hmm.



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: – whether, what, what need, because I was asking about the
   outcome.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: Because I was getting complaints from the students, because
   they had been allowed to remain in the class.

   Jeff Love:   What sort of complaints were you getting from students?

   Kathryn Kailikole: Um, Nakajima was, um, giving 3-hour exams, which is against
   Ed Code. He was changing the time of the exams and having the students come in
   at a different time to take 3-hour exams.

   Jeff Love:   Is that allowed?

   Kathryn Kailikole: No.

   Jeff Love: Or, it, it, was he directing the students to do that, or allowing the
   students to do that?

   Kathryn Kailikole: He was having them all take a vote in class by hand.

   Jeff Love: Okay. In other words, how many people wanna take the, uh, by raise,
   by show of hands, how many, uh, students want to take the test on this date? And
   it may be different than the scheduled date that's on the syllabus.

   Kathryn Kailikole: Right.

   Jeff Love: Okay, and so, a majority of students ostensibly would raise their hand,
   and the, uh, test date would be moved to the, the date that was proposed?

   Kathryn Kailikole: Yes.

   Jeff Love:   Okay.

   Kathryn Kailikole: He was also, so, he had a practice and at the beginning of the,
   um, semester, I had also directed them, um, with Daniel Finkenthal –

   Jeff Love:   Mm hmm.

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          Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Kathryn Kailikole: – that the, um, that their syllabus for the laboratory had to
   change, um, and, because the syllabus, like the letter, the warning letter?

   Jeff Love:   Right, I remember the –

   Kathryn Kailikole: That I believe I shared with you?

   Jeff Love:   – warning letter, right.

   Kathryn Kailikole: So, the syllabus also had information similar to the letter in the
   laboratory syllabus, but it also had a grading scheme, that if you didn't finish the
   lab within a certain amount of time, you –

   Jeff Love:   Right.

   Kathryn Kailikole: – started earning negative points.

   Jeff Love:   Right. Okay.

   Kathryn Kailikole: And I, and they still were using it.

   Jeff Love:   I remember that.

   Kathryn Kailikole: So, I gave them the directive that they had to stop using it. So,
   instead, Nakajima switched it to extra credit. But it still –

   Jeff Love:   Finishing early, you get extra credit.

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   Okay.

   Kathryn Kailikole: So, essentially, fundamentally doing the same thing.

   Jeff Love:   Right. Right. It was, uh, using it, a –

   Kathryn Kailikole: Mm hmm.




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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love: – positive reinforcement as opposed to a negative reinforcement to get
   people to finish their exam sooner.

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   Okay.

   Kathryn Kailikole: Dr. Finkenthal and I had requested that they not be put in class
   during the investigation.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: Given their history. But they were allowed to stay in class. So,
   at, as this outcome was coming up, I was insisting that they not be allowed to teach
   in the spring semester.

   Jeff Love:   And who were you making that request to?

   Kathryn Kailikole: To my boss and to VP Norman.

   Jeff Love:   Uh, Norman.

   Kathryn Kailikole: Lisa Norman, Dr. Norman.

   Jeff Love:   Okay. So, you talked, uh, Dr. Norman and Jack Kahn –

   Kathryn Kailikole: Mm hmm.

   Jeff Love: – hey, I don't want these guys, I didn't want them teaching during the
   pendency of their investigation.

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   I don't, I, and I don't want them teaching in the spring, uh, 2018
   semester.

   Kathryn Kailikole: Yes.

   Jeff Love:   Okay.



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: And, and, um, and I sent that in email.

   Jeff Love:   Okay. Okay.

   Kathryn Kailikole: I made that request in email. And I did include Dr. Finkenthal
   because he was making the request with me.

   Jeff Love:   Okay, and, and Finkenthal is your chair, is he not?

   Kathryn Kailikole: Yes.

   Jeff Love:   Okay.

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   And what, uh, what was the outcome of that?

   Kathryn Kailikole: Well, we –

   Jeff Love:   I mean, was there a response back?

   Kathryn Kailikole: Yeah, so there, well, not in writing that I, I don't, I don't recall.
   I mean, there could've an email response back.

   Jeff Love:   But I mean, was there some sort of communication back with you
   from –

   Kathryn Kailikole: Yes.

   Jeff Love:   – either Norman –

   Kathryn Kailikole: Norman I believe, and it was that we couldn't do that at that,
   this time.

   Jeff Love:   Did, uh, did, uh, she indicate why?

   Kathryn Kailikole: No.

   Jeff Love:   Okay.



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: I don't remember. I don't recall.

   Jeff Love: Okay. All right. All right, but Norman was the one that responded
   back to that –

   Kathryn Kailikole: Yeah.

   Jeff Love:   – request.

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   And that request –

   Kathryn Kailikole: And that, but –

   Jeff Love:   – after they –

   Kathryn Kailikole: – they, but it, I believe, I don't know for sure, um, that, um, they
   aren't in class at this time for the spring.

   Jeff Love:   Okay. So, you think they may be on administrative leave?

   Kathryn Kailikole: No. They're –

   Jeff Love:   Okay.

   Kathryn Kailikole: – paid. They're here. They're just no in class. I, I hope.

   Jeff Love:   Okay.

   Kathryn Kailikole: I don't know.

   Jeff Love:   All right, but they're not teaching this semester?

   Kathryn Kailikole: That's my hope.

   Jeff Love:   Okay.

   Kathryn Kailikole: That was my, that was my request.



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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love: Okay. And the, the request for you, for them not teaching was their
   poor behavior –

   Kathryn Kailikole: Mm hmm.

   Jeff Love: – as, as indicated in my investigation and, and other things. I think
   there was some issues –

   Kathryn Kailikole: Right.

   Jeff Love:   – of insubordination to –

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   – your direction –

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   – and you talked about this, now the, their, uh, syllabi was –

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   – not consistent with, uh, what you had directed them to conform it to.

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   Yes?

   Kathryn Kailikole: Yes.

   Jeff Love:   Okay. All right.

   Kathryn Kailikole: Yes, I'm sorry.

   Jeff Love: Okay, and that's all right. Okay. So, for those reasons, you wanted
   them to not be teaching. You felt that they were not acting appropriately and –

   Kathryn Kailikole: Right.

   Jeff Love:   – and all the signage and the things –

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          Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Kathryn Kailikole: Mm hmm.

   Jeff Love:   – that were there –

   Kathryn Kailikole: Right.

   Jeff Love:   – uh, the, for students to see and all that sorta –

   Kathryn Kailikole: Yes.

   Jeff Love:   – stuff. Okay.

   Kathryn Kailikole: And, and –

   Jeff Love: Was, was there, was there any sense that, um, there was some support
   for them? Them being Nakajima, uh, Gerwig, that there was some inordinate
   support, uh, for them as opposed to, uh, heeding your wishes in that regard?

   Evan Dwin: Could we just clarify the timeframe here?

   Jeff Love: Yeah, I'm talking about when you made the request of Norman, uh,
   and Kahn. I know that, uh, Norman came back, says, uh, we're, we're not gonna do
   that. We can't do that. Um, but did you get the sense during that timeframe that
   there was something else going on that was protecting them? In the, in a sense
   that, you know, you as the, as the dean, uh, saying, hey, I don't want these, uh,
   these two guys teaching, but that, that didn't happen.

   Kathryn Kailikole: Um –

   Jeff Love:   I mean, if you know. I mean, you, you might not know what other –

   Kathryn Kailikole: I don't, I don't know.

   Jeff Love:   – people are thinking, obviously.

   Kathryn Kailikole: I can tell you what I feel, but I can't tell you what I know.

   Jeff Love: Well, tell me what you feel. And I, and I understand, it's, uh, it's, it's
   maybe a degree of conjecture, but it may be based on some circumstantial facts.

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         Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Evan Dwin: Can we take a 1-minute break?

   Jeff Love: Sure, yeah. Let's put the re, uh, the, everything on hold. If you guys
   wanna step outside.

   Evan Dwin: Yeah, that's perfect. Thanks.

   Jeff Love: Okay, we're back on the record. We took a quick break for
   Ms. Kailikole to, uh, consult with her attorney. Um, think we were talking about,
   um –

   Kathryn Kailikole: Why –

   Jeff Love: – your speculation, or your thoughts and beliefs concerning, um, why
   these fellows, uh, Gerwig and Nakajima were not placed on administrative leave,
   or stopped from teaching, or maybe even punished more harshly or whatever,
   'cause I'm not certain what the outcome of their, their disciplinary action was.

   Kathryn Kailikole: Oh. Um, their behavior, Nakajima's in particular, has been
   going on for 20 years.

   Jeff Love:   I think you told me that before **** –

   Kathryn Kailikole: Everyone on this campus knows it.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: My previous, um, my predecessors, the deans before me.

   Jeff Love:   Right.

   Kathryn Kailikole: That I have spoken to, all had problems with Nakajima and
   Gerwig.

   Jeff Love:   Wasn't Sourbeer your predecessor?

   Kathryn Kailikole: He was one of them, yes.

   Jeff Love:   Okay.

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         Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Kathryn Kailikole: But, there were other deans –

   Jeff Love:   Uh, right.

   Kathryn Kailikole: – that I've spoken to.

   Jeff Love:   Right.

   Kathryn Kailikole: Where this was still the same problem.

   Jeff Love:   Okay.

   Kathryn Kailikole: Um, and the sense that I got was that, um, that these two were
   untouchable and that they felt they were untouchable. And that they could, um,
   behave in the way that they behaved with impunity.

   Jeff Love: Did your observations of their workplace, the posters and all that sort
   of stuff, tend to reinforce that in your mind?

   Kathryn Kailikole: Yes.

   Jeff Love:   Okay. And, um, did anybody ever kinda tell you that?

   Kathryn Kailikole: Yes.

   Jeff Love:   Who was that?

   Kathryn Kailikole: Numerous people did.

   Jeff Love:   Okay, that they were sort of untouchable, they'd been there so long
   and –

   Kathryn Kailikole: That they've, that they've tried. The former deans.

   Jeff Love:   Okay. Okay.

   Kathryn Kailikole: That they had tried. That they had come up against these
   problems. Nobody would back them up.



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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love:   Okay.

   Kathryn Kailikole: Including the administration.

   Jeff Love:   Okay. Okay.

   Kathryn Kailikole: I had faculty not even in my division tell me this.

   Jeff Love:   Other, other faculty members that were –

   Kathryn Kailikole: Other faculty members.

   Jeff Love:   – that may've taught course with them, or –

   Kathryn Kailikole: Yes. I've been in meetings –

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: – with the whole department, the counseling department, telling
   me they will not let, they will not send any of their students to Nakajima or
   Gerwig, and they'll have them go to MiraCosta instead.

   Jeff Love: Mm hmm. And it, because they don't like their teaching style, they
   feel they're loose cannons? Did they say exactly what it was they didn't like about
   them? The gen, what was the general flavor I guess?

   Kathryn Kailikole: That they, um, that they're mean.

   Jeff Love:   Oh, okay.

   Kathryn Kailikole: That they discriminate.

   Jeff Love:   Mm hmm. Okay. And was that –

   Kathryn Kailikole: I was called in –

   Jeff Love:   I'm sorry, go ahead.

   Kathryn Kailikole: Well, Veterans Affairs.



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love:   Uh huh.

   Kathryn Kailikole: I was in a meeting with Veterans Affairs to listen to what they
   had done to veteran students.

   Jeff Love: Okay. And they, these were veteran students that were veterans that
   had complained about Nakajima and Gerwig.

   Kathryn Kailikole: To, to no result.

   Jeff Love:   Mm hmm. Okay.

   Kathryn Kailikole: So, so these two believe they're untouchable.

   Jeff Love: Okay. Okay. Is it your belief, then, that because you tried to touch
   the untouchables that, um, you got yourself in bad odor with the college?

   Kathryn Kailikole: Yes.

   Jeff Love: Okay. Is it your belief, then, that the idea that you may have, this
   allegation that you shared, um, confidential information, whether it's real or
   imagined, did, do you feel that that was just a pretext? In the sense, that, then
   when I say pretext, in other words –

   Evan Dwin: Let's take a break so I can –

   Jeff Love:   – just, you know, just a casual –

   Evan Dwin: Just wait a second. Sorry. Can we take a break so that I can go out
   with her –

   Jeff Love:   Well, I think she can answer the question. I mean –

   Evan Dwin: I, I think I'd like a break first to talk to her and –

   Jeff Love: Okay. Gonna have to comment on her credibility if she can't answer
   questions without your coaching. But you can take a break.

   Evan Dwin: I wanna explain then ****. Then we, I wanna –



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love:   Sure. Yeah.

   Evan Dwin: – explain –

   Jeff Love:   Maybe that would be helpful.

   Evan Dwin: – that –

   Jeff Love: But, you know what? Look, go ahead and take a break. You, you,
   you can, you can talk to her. Go ahead. I, I'll put this on hold. In fact, I'll step out.

   Evan Dwin: **** explain that sorta stuff.

   Jeff Love: Yeah, we're back on the record now, but there, we were talking off the
   record about a term that I used, uh, pretext. I think I had asked you that if you
   thought, I'm not suggesting it was, but if you thought that the reason that you were
   placed on administrative leave, this idea that you had, um, allegedly shared
   confidential information was merely a pretext. In other words, a, uh, a red herring.
   A, uh, uh, a phony reason, if you will, um, to punish you, and the real reason was
   that you had taken on and attempted to discipline or instill some sort of, uh,
   scholastic sanity down there in the department with Gerwig and, uh, uh, Nakajima.
   Did, did you conclude that? That, ah, you know, this, uh, this leaking of
   confidential information is a buncha hooey. Um, I think what's going on here is
   that I pushed the wrong buttons here and I went after a couple of sacred cows. I'm
   using these clichés. I'm sorry, but I, I think it's the best way for me to, to try to get
   that response.

   Kathryn Kailikole: It's what I believe.

   Jeff Love:   Okay.

   Kathryn Kailikole: And it's what I believe because, because even before this
   happened –

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: – there are people on this campus who had acknowledged that
   that was what I was doing.

   Jeff Love:   So, he –

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          Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Kathryn Kailikole: And they had concerns for me.

   Jeff Love: Oh, okay. So, people had said to you, um, that, hey. Um, you know,
   the, they've tried to go after these guys before to, to get them, uh, in proper order
   and you need to be careful.

   Kathryn Kailikole: Yes.

   Jeff Love:   People told you that?

   Kathryn Kailikole: Yes.

   Jeff Love:   Who told you that?

   Kathryn Kailikole: Um, my former boss.

   Jeff Love:   Who's that?

   Kathryn Kailikole: Daniel Sourbeer.

   Jeff Love:   Sourbeer. Okay, and he used to be the dean there?

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   And you said he had a bad experience trying to –

   Kathryn Kailikole: He, he could –

   Jeff Love:   – do the same thing.

   Kathryn Kailikole: – not get support.

   Jeff Love:   Okay.

   Kathryn Kailikole: From the administration. And he supported me. And that's
   why I did it. Um –

   Jeff Love:   I see.



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: – but then, he left.

   Jeff Love: Mm hmm. Okay. What, so what the heck's going on there? I mean,
   what, what's with Nakajima and, uh, and Gerwig? Why, why –

   Kathryn Kailikole: I don't know.

   Jeff Love:   Okay.

   Kathryn Kailikole: Because the entire campus knows. What these two are about –

   Jeff Love: And they've been around for, they've been around for many years it
   looks like.

   Kathryn Kailikole: Yes, and so, instead of addressing it, it's been there and it's
   festered.

   Jeff Love:   Okay.

   Kathryn Kailikole: And it's become, um, so distasteful.

   Jeff Love:   Okay.

   Kathryn Kailikole: Um, that instead, people on this campus have instead done
   workarounds. Like the counselors. Telling all of our students, some of whom can't
   afford to be at two colleges and pay two, um, registration fees.

   Jeff Love:   Right.

   Kathryn Kailikole: To go to MiraCosta.

   Jeff Love:   To avoid taking their classes.

   Kathryn Kailikole: Yes.

   Jeff Love: Okay. And I'm assuming in your, uh, previous role, uh, and your
   complaint against them for all of the things that were – pardon me?

   Kathryn Kailikole: Can I stop a minute?



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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love: Oh, sure. Let's go off the record just for a second. Okay, we're, we're
   back on the record. We took just a brief, uh, respite if you want. Um, and we were
   kinda talking about the, this, uh, idea that supposedly Gerwig, Mr. Gerwig,
   Mr. Nakajima who have taught for many years, uh, uh, seem, uh, according to, uh,
   what Dr. Kailikole's telling me she's hearing from others that, that they have su,
   kind of run roughshod and have run unchecked and seem to evade any sort of
   corrective action. Prior Dean Sourbeer, others have told you, they've tried to
   correct it, couldn't get support from administration to, to bring them to heel. Um,
   to, uh, you know, to com, comply with educational standards. You had noticed,
   um, going, harking back to, harkening back to our prior in, investigation that their,
   their syllabus, their, some of these warning letters, uh, certainly the, the all the
   postings and commentary that was open and notoriously left about the area where
   students conj, uh, congregated and were taught and so forth were inconsistent with
   what, um, what the law would require, certainly, and what you expected I'm
   assuming.

   Kathryn Kailikole: Yes.

   Jeff Love: Okay. Beyond the fact that they've just been here forever, so to speak,
   um, and might have, uh, certain, uh, entitlements under the law, um, is there
   anything else that would, uh, indicate, uh, why it was that they, that there was this
   reluctance to do anything with these two folks?

   Evan Dwin: If you know.

   Jeff Love: If you know. I mean, you might not, and you only know what you
   know. And you've only been here, really, a relatively short period of time.

   Kathryn Kailikole: Yeah.

   Jeff Love: Okay. All right. Fair enough. Okay, um, anything else about the,
   your departure here on administrative leave, and its connection to the, uh, your role
   as a witness and complainant in the underlying, um, investigation that I conducted.
   Is there anything else that we haven't talked about would be important for me to
   know about in that regard?

   Kathryn Kailikole: Um, since starting in, uh, January of 2015 –

   Jeff Love:   Mm hmm.



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: – um, I have tried to address issues in the division, my former
   boss, VPI Sourbeer, um, was helpful in that he was, he let me know some of the
   conditions that existed.

   Jeff Love:   Right.

   Kathryn Kailikole: And one of 'em was in the Physics and Engineering. For the
   past 2 years, I've been trying to address it.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: And I've addressed it following policy and procedure and Ed
   Code. And while Dean Sour, uh, VPI Sourbeer was here, he would support me in
   that. Every time I tried to make a change and provide a directive, Nakajima would
   do everything in his power to get it rescinded. He would go around me, um, go to
   the, the senate president, go to other faculty, to try to, um, get things turned around.

   Jeff Love:   So, he was undermining you?

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   Okay.

   Kathryn Kailikole: He even went to another dean.

   Jeff Love:   Who was that?

   Kathryn Kailikole: Margie Fritch.

   Jeff Love:   Fritch?

   Kathryn Kailikole: Yes, F-R-I-T-C-H.

   Jeff Love:   And who's she?

   Kathryn Kailikole: She's the dean for, um, career and technical education.

   Jeff Love:   Did she talk to you about, uh –




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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: She told me that he had come to her. And she said it was, it,
   um, um, and he was, uh, not sleazy but, um, suspicious –

   Jeff Love:   Oh, uh, yeah, right.

   Kathryn Kailikole: – I mean it was sus –

   Jeff Love:   It was, it was, uh, uneth –

   Kathryn Kailikole: Just it didn't smell good.

   Jeff Love:   – un, kinda unethical.

   Kathryn Kailikole: Yeah.

   Jeff Love: That, uh, he's going over to one of your peers and was he kinda
   badmouthing you to her?

   Kathryn Kailikole: More or less and wanting to, because, because there were things
   that I was stopping, practices –

   Jeff Love:   Right.

   Kathryn Kailikole: – that I was stopping. And, he was trying to, to say, well, wait
   a minute. Doesn't that practice exist in your division?

   Jeff Love: Oh, I see. In other words, trying to get her to say something that later
   he could use, uh, and pit her against you perhaps.

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   Yeah, okay. When was that, that that happened? Was that –

   Kathryn Kailikole: This –

   Jeff Love:   – early on?

   Kathryn Kailikole: – all of, this has gone on from the moment I started to address
   the issues that were going on in that department. So, it's been going on for 2 years.



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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love:   Two years.

   Evan Dwin: Let's listen to his question too. I think he was –

   Jeff Love:   Yeah, I mean, when, when –

   Evan Dwin: – he was asking about this issue with the other deans –

   Jeff Love:   – Margie Fritch –

   Kathryn Kailikole: Oh –

   Jeff Love:   – contacted you –

   Kathryn Kailikole: – that one happened in the Spring of last year I believe.

   Jeff Love:   Okay. So, this –

   Kathryn Kailikole: I believe. It could've been the Fall.

   Jeff Love: Okay. So, this was during the whole time where this investigation
   was unfolding –

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   – that I conducted.

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   Okay. And which was part of your attempts to sort of rein these fellas
   in.

   Kathryn Kailikole: Mm hmm.

   Jeff Love: Okay. All right. Okay. Let me, uh, couple of other, the, let's get
   these other collateral things off the table. This business with this, this, um, Room
   NS-249 which –

   Kathryn Kailikole: Yes.



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love:   – I think we all know, is it supposed to be the storage room?

   Kathryn Kailikole: Yes.

   Jeff Love:   Is that, isn't that so?

   Kathryn Kailikole: Yes. Yes.

   Jeff Love: Okay. And I, correct me if I'm wrong, but didn't you give direction to
   Nakajima and to Gerwig and whoever else to please use that as a storage room and
   not as a laboratory?

   Kathryn Kailikole: Yes. It was, do you need to more details?

   Jeff Love: Yeah, yeah. I mean, I mean, I think we talked about this before, but I,
   you had given 'em pretty clear direction to, thou shalt not use NS-249 as a lab.

   Kathryn Kailikole: Yes.

   Jeff Love:   Okay.

   Kathryn Kailikole: And, that was done in front of, um, not only to Dan, to Gerwig
   and to Nakajima –

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: – but, um, Finkenthal and, um, I'm sorry, it's just that, so I'm
   having difficulty remembering the name of the young man.

   Jeff Love:   The young, yeah, Hispanic last name?

   Kathryn Kailikole: Mm hmm. Yes.

   Jeff Love: Um, it'll come to me. I know who you're talking about. He was
   another witness in, in the underlying –

   Kathryn Kailikole: Mm hmm.

   Evan Dwin: The other professor?



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: Yes. He's the –

   Jeff Love:   Hold on, hold on.

   Kathryn Kailikole: – junior profe, uh, faculty.

   Jeff Love: Hold on. I think I know. I, well, just so we get the record straight
   here. That would be, um, Hector Garcia Villa?

   Kathryn Kailikole: Yes.

   Jeff Love:   Villa? V-I-L-L-A.

   Kathryn Kailikole: Yeah. Yes.

   Jeff Love:   Okay, right. Anyway.

   Kathryn Kailikole: So that it's clear, I had –

   Evan Dwin: And what you're –

   Kathryn Kailikole: – given –

   Evan Dwin: Oh, sorry. What you're talking about is in your giving the direction –

   Kathryn Kailikole: Right.

   Evan Dwin: – to not **** –

   Jeff Love:   You're giving the direction to everybody –

   Kathryn Kailikole: Well, I was giving the direc, yeah, so I'm letting you, I, I gave
   the direction so that that directive was given in front of people.

   Jeff Love:   Right.

   Kathryn Kailikole: Um –

   Jeff Love:   It was at a staff, uh, uh, department, uh –



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: It was at a department meeting.

   Jeff Love:   Uh huh.

   Kathryn Kailikole: Um, I had given an email directive to Nakajima to stop doing
   certain things, and that other things would happen. I did not at that point in time
   know that they were using that room as a classroom. Finkenthal contacted me and
   said, we're having, um, a, a department meeting to discuss the directives that you
   gave. I think you should be there.

   Jeff Love:   Okay.

   Kathryn Kailikole: So, I went up there.

   Jeff Love:   When was that, approximately?

   Kathryn Kailikole: This was in the, um, Fall of 2016.

   Jeff Love:   Okay.

   Kathryn Kailikole: I think.

   Jeff Love:   Okay.

   Kathryn Kailikole: It was, I, it was at the start of a semester. I believe it was the
   Fall of 2016.

   Jeff Love:   Right.

   Kathryn Kailikole: It could've been the Spring of 2017.

   Jeff Love:   Okay.

   Kathryn Kailikole: But it was one of the two.

   Jeff Love:   Okay. Okay.

   Kathryn Kailikole: And the meeting was taking place in the 249. And, as I'm
   sitting there and they're, they're discussing, the issue that they used the room,



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   because part of what was happening was that they were, they were teaching two
   different classes at the same time. One class in the, in the storage space.

   Jeff Love:   Right.

   Kathryn Kailikole: And another class in there.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: Uh, in the actual classroom. And, um, and it, via Code, it's just
   wrong.

   Jeff Love:   Right.

   Kathryn Kailikole: Um, the other thing that I, I found out from, um, VPI Sourbeer
   was that at some point in time, and there was still concern that they were doing it
   and hiding it, they would have, because it was, um, sort of like Physics 1A and 1B.

   Jeff Love:   Right.

   Kathryn Kailikole: They would use the 1B students as TAs and have them grade
   the 1A students.

   Jeff Love:   Yeah, pushing off their work onto students –

   Kathryn Kailikole: Well, also, that, right, and creating a, um, to, I'm using the
   description from one of the adjunct physics faculty, a, um, Lord of the Flies
   environment.

   Jeff Love: Right. Treating them like, uh, grad assistants and they haven't
   graduated from anything.

   Kathryn Kailikole: Right.

   Jeff Love:   Yeah.

   Kathryn Kailikole: And, and, and also, they've created such a, um, hostile
   environment where if you're not a syc, a sycophant –

   Jeff Love:   Mm hmm.

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          Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Kathryn Kailikole: – um, you would be penalized for it.

   Jeff Love:   Right.

   Kathryn Kailikole: So, those 1B students would behave in the same way –

   Jeff Love:   Right.

   Kathryn Kailikole: – that they did and, and then heap it onto the one, the 1B
   students would heap it onto the 1A students.

   Jeff Love:   Okay.

   Kathryn Kailikole: So, um, so I had stopped the practice of those, the classes being
   allowed to be scheduled at the same time, taught by one instructor.

   Jeff Love:   Okay.

   Kathryn Kailikole: Because I thought it was in the same lab room.

   Jeff Love:   Okay.

   Kathryn Kailikole: And as I'm sitting there, I come to realize that they're using the
   storage room as a lab. And I start to look around the room, and I see all sorts of
   hazards.

   Jeff Love:   It wasn't permitted to be used as a laboratory –

   Kathryn Kailikole: No.

   Jeff Love:   – was it?

   Kathryn Kailikole: No. And there –

   Jeff Love:   Okay.

   Kathryn Kailikole: – were so many hazards in the room –

   Jeff Love:   Right.

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         Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Kathryn Kailikole: – that, um, that, that a student could've been injured at any, any
   point in time. And then, when I realized that, that's when I gave the directive that
   they could no longer use that room as a lab. It is a storage room.

   Jeff Love:   And, that was, uh, around Fall of 2016? Early –

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   – 2017?

   Kathryn Kailikole: Mm hmm.

   Jeff Love: Did you get information to conclude that it was still going on
   thereafter?

   Kathryn Kailikole: Yes.

   Jeff Love:   And how, how did you come about knowing that?

   Kathryn Kailikole: Um, when the Title 5/Title 9 violation occurred.

   Jeff Love: Okay. That's when all of, uh, when Finkenthal came forward with,
   look at these, uh, posters. Look at these documents and that sorta stuff.

   Kathryn Kailikole: Yes.

   Jeff Love: Okay. From the time that you had learned about that lab being used,
   continuing to be used, that storage room, uh, used as a lab, um, even through that,
   uh, Title 5, uh, did you actually ever go down there, or check in or do anything like
   that? To see for yourself?

   Kathryn Kailikole: Um, no.

   Evan Dwin: Well, what timeframe **** –

   Kathryn Kailikole: Yeah, what, when?




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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love: I mean, from the time, uh, let's just say from the time that you, this
   Fall 2016 to 2017, I know that you had heard about it from Finkenthal. He showed
   you all the, the, you know, the postings –

   Kathryn Kailikole: Mm hmm. Mm hmm.

   Jeff Love: – and all that stuff that was in there. Was there a ch, a time that you
   went down to that location –

   Kathryn Kailikole: During the time of the investigation?

   Jeff Love: From the time of the investigation 'til even the time you were placed
   administrative leave.

   Kathryn Kailikole: No.

   Jeff Love: Okay. How come you didn't go down there and look? I'm just
   curious? I mean, didn't you wanna see if, if they were complying? Or were you
   relying on some other information from Finkenthal?

   Kathryn Kailikole: I was, uh, it was Finkenthal's responsibility. He is the chair.

   Jeff Love:   Okay. All right.

   Kathryn Kailikole: And, also, um, uh, trying to figure how to, so, you know, as the
   dean, um, you want to, um, you want your faculty to trust you.

   Jeff Love:   Right, yeah.

   Kathryn Kailikole: Um, and so, one of the things that, as a, a dean doesn't do, they
   don't go into the classroom. Check up on things. Um, uh, check up on their
   faculty without, uh, fair notice. Um, and, so, I wouldn't have gone.

   Jeff Love:   Okay.

   Kathryn Kailikole: And this is why it was the chair's responsibility.

   Jeff Love:   Is that sort of a practice here?

   Kathryn Kailikole: Yes.

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          Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Jeff Love:   Okay. Is that particular to, uh –

   Kathryn Kailikole: Dean.

   Jeff Love:   – Palomar?

   Kathryn Kailikole: Might be particular to Palomar, yes. It's, I think it's a little bit,
   it's connected to the faculty union as well.

   Jeff Love:   Is it due to union rights?

   Kathryn Kailikole: I think so.

   Jeff Love:   Okay.

   Kathryn Kailikole: Um, but I would, because I've been at other institutions, um, it
   is a, uh, professional courtesy.

   Jeff Love: Hmm, okay. Does, um, I'm just curious. During evaluation periods
   and so forth, sometimes colleges or departments will have somebody sit in on
   classes.

   Kathryn Kailikole: Yes.

   Jeff Love: Um, with having taught myself in the Cal State system, it, you know,
   they, if somebody would walk in and you'd write something on the board, you turn
   around, they were gone, and they've already done their evaluation on you. I mean,
   it wasn't anything meaningful it seemed like. But, do they do that here?

   Kathryn Kailikole: Yes.

   Jeff Love: And who would do that? How would that work? Say, Nakajima or
   Gerwig, um, are gonna have an evaluation and somebody's gonna sit in and just
   monitor their class and, you know, for that, uh, evaluation piece.

   Kathryn Kailikole: Yes.

   Jeff Love:   Who would do that?



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: So, for Nakajima and Gerwig –

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: – they would evaluate each other.

   Jeff Love:   Hmm. Did that seem problematic to you?

   Kathryn Kailikole: Yes.

   Jeff Love:   And was that a rule, uh, or just a practice?

   Kathryn Kailikole: Um, I think you would have to check with the college.

   Jeff Love:   Okay.

   Kathryn Kailikole: My understanding is, um, that the faculty can request who
   evaluates, if they're, if you're tenured.

   Jeff Love:   Okay.

   Kathryn Kailikole: Um, the faculty can request who evaluates them.

   Jeff Love: Hmm. Okay. Um, tell me about this, uh, this business with this
   Airsoft gun. Um, I understand that there was, uh, uh, the mainten, maintenance
   and use of an Airsoft kind of a pellet, that's not really a pellet gun, but a pellet-style
   gun that was used in one of the classes, and you may come to know about this, um
   –

   Kathryn Kailikole: Yes.

   Jeff Love:   – what did, what did you find out about that?

   Kathryn Kailikole: So, um, there were two students in the, the lab. One, and they
   were both women. One of the women knew how to use firearms.

   Jeff Love:   Mm hmm.




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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: And had been trained. Um, and there was, um, the pellet gun
   being used in the classroom and she was appalled, because she knows how to use a
   firearm.

   Jeff Love:   They weren't using proper safety protocols and stuff –

   Kathryn Kailikole: There was no, there were no goggles. There was no proper
   protocol or safety. There –

   Jeff Love:   Okay.

   Kathryn Kailikole: – was nothing written down on the use of the firearm.
   Nakajima loaded the gun and pointed it at a student, cocked, and handed it to him.
   And the student who knew how to use firearms was outraged.

   Jeff Love:   Mm hmm. I understand, I saw some video, uh, depicting some of that
   –'

   Kathryn Kailikole: The student took the video.

   Jeff Love:   Right. Okay.

   Kathryn Kailikole: And she told me when she reported this, so, what –

   Evan Dwin: The outraged student, right?

   Kathryn Kailikole: – the outraged student –

   Jeff Love:   Right. Yeah.

   Kathryn Kailikole: So, the, um, and what she took a picture of because what she
   was also outraged by was probably also an accumulation of outrage of, of
   Nakajima's behavior in the classroom. He went to the back of the classroom and
   hung out with Gerwig and TAs in the back of the classroom and were joking
   around while Nakajima allowed students to fire the gun.

   Jeff Love:   Okay.

   Kathryn Kailikole: At a target that was in front of the entrance to the classroom.
   So, anybody could've walked in the classroom and been hit by a pellet.

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         Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Jeff Love:   Could've had an eye put out.

   Kathryn Kailikole: Yes, exactly. And in fact, the pellets were ricocheting and
   hitting students. And none of 'em were rota, were, were pro, wearing protective
   gear. That was what the video of, was that she took.

   Jeff Love:   Was that the first you ever heard of such a thing?

   Kathryn Kailikole: Yes.

   Jeff Love:   Okay. And, um, when was that, if you remember, approximately?

   Kathryn Kailikole: It happened in the Spring of 20, I don't know.

   Evan Dwin: We just started '18, so, so the, the last –

   Jeff Love:   I, I may have an email here that could help refresh –

   Evan Dwin: Okay.

   Jeff Love:   – your recollection. I might. Hold on just a second. Let me look
   here.

   Kathryn Kailikole: I wanna say it happened early on but it may have been the, in
   was in the spring '16.

   Jeff Love:   Um, let me look here. April 2016?

   Kathryn Kailikole: Yes.

   Jeff Love: Okay. And what if, what if anything, uh, occurred, um, in relationship
   to that whole thing? I mean was there any sort of –

   Kathryn Kailikole: So –

   Jeff Love:   – inquiry or you – I'm sorry. Go ahead.

   Kathryn Kailikole: Yeah. So, um, the students had come down to my office.



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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: I was not there. I was in a meeting. They, the students spoke to
   my assistant, Debbie McBrayer.

   Jeff Love:   How do you spell the last name?

   Kathryn Kailikole: M-C, capital B-R-A-Y-E-R.

   Jeff Love:   Okay. Debbie McBrayer. And, uh, –

   Kathryn Kailikole: And what she heard was there was a gun in classroom so she
   called the police.

   Jeff Love:   Okay. Good for her.

   Kathryn Kailikole: Yes.

   Jeff Love:   And, uh, what then happened?

   Kathryn Kailikole: So, the police came up. I went up to check and every, and, and
   I don't know who they talked to. Um, I, it was clear that they had, had talked to
   more than one person and one of 'em was Nakajima and he poo-pooed it as
   hysterics.

   Jeff Love:   He dismissed it as an overreaction?

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   Okay.

   Kathryn Kailikole: And when I got there Ms. McBrayer was upset that she had
   been dismissed in such a way.

   Jeff Love:   Okay.

   Kathryn Kailikole: And so, what, because she knew the students were upset. So, I
   called the police and I said you're coming back up here.

   Jeff Love:   Did they even come up and investigate –

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          Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Kathryn Kailikole: They did.

   Jeff Love:   – the police? Okay. And did, what, did they write a report or –

   Kathryn Kailikole: Well it turns out yes and no. So, the officer comes up, and I say
   there is something. I want you to find out because I'm, because in the meantime,
   and it was because Ms. McGray, McBrayer was so insensitive by being dismissed
   –

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: – that she looked up the policy on firearms in the classroom and
   had it ready for me when I got there.

   Jeff Love:   Okay.

   Kathryn Kailikole: Um, and so when the police officer got there I showed him the
   policy. And I said you're going back up there and I wanna know what's going on.
   So he went up, back up there and he interviewed Nakajima, and then the officer did
   come back and basically was apologetic and said yeah so there's a concern because
   when you look at the, the gun –

   Jeff Love:   Right.

   Kathryn Kailikole: – unless you know guns you would think it's a real gun. And
   the only thing that identifies it as not being a real gun, and I'm sure you know, is
   the orange tab.

   Jeff Love:   Right. Yeah. Orange tip.

   Kathryn Kailikole: And so, he took a picture of it. And then he also took a picture
   of this ballistic machine that they had and he had concerns about both of those, and
   he also looked to check because one of the policy is that you must, um, get
   approval of a use of a firearm by the Chief of Police of Palomar College before
   using such, um, a device.

   Jeff Love:   It, is this, uh, airsoft gun considered a firearm –

   Kathryn Kailikole: Yes.

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          Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Jeff Love:   – under the policy?

   Kathryn Kailikole: Yes. Any firearm.

   Jeff Love:   Okay.

   Kathryn Kailikole: Any –

   Jeff Love:   Well how, well how does, well I can –

   Evan Dwin: Yeah.

   Jeff Love:   – look up the rules, you know. Okay.

   Evan Dwin: Yeah, she's not a lawyer. She not a lawyer and expert in firearms or
   of the law.

   Kathryn Kailikole: But I called –

   Jeff Love:   I mean if the, if the –

   Kathryn Kailikole: – I called Chief, Chief DiMaggio immediately.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: And he agreed no they cannot be using that in the classroom
   without –

   Jeff Love:   Okay.

   Kathryn Kailikole: – without contacting us, without going over procedure. They
   had no procedure. Chief DiMaggio was also as flabbergasted by this.

   Jeff Love:   Okay. Is he still here? I thought he was going to retire.

   Kathryn Kailikole: He did retire however I believe he is still, I think he is, um,
   helping with the police academy.

   Jeff Love:   Oh okay.

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         Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Kathryn Kailikole: Maybe.

   Jeff Love:   Okay.

   Kathryn Kailikole: Under, uh, CTE.

   Jeff Love:   Sure.

   Kathryn Kailikole: Margie Fritch.

   Jeff Love: Sure, sure, sure. I know, I know what that is over there. Um, okay.
   So, he thought it was a violation of the rules and was somewhat shocked and
   appalled that they would bring something –

   Kathryn Kailikole: Mm hmm.

   Jeff Love: – even if it wasn't a what we commonly know as a firearm that, you
   know, fires a bullet, that's a deadly weapon that certainly looked like one.

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   Okay.

   Kathryn Kailikole: And it wasn't kept under lock and key. It was just in one of the
   drawers. So, any student could have taken it out and played with it at any time.

   Jeff Love:   Okay.

   Kathryn Kailikole: Especially given that they would let students in and out of the
   room with no supervision.

   Jeff Love:   Right. Allowing others to perhaps even monitor the classes –

   Kathryn Kailikole: Mm hmm.

   Jeff Love: – and what not. Okay. Was there any disciplinary action handed
   down to, uh, Nakajima or, um, Gerwig if he was pre-, obviously he was present.
   He was at the back of the room talking –



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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   – to Nakajima.

   Kathryn Kailikole: No. I, I gave directive them the directive that they could not
   use the firearm anymore.

   Jeff Love:   Okay. Did you get any flack from them over that?

   Kathryn Kailikole: He just said yes.

   Jeff Love:   Okay. Did –

   Kathryn Kailikole: And that if he was going to use it that –

   Jeff Love:   Okay.

   Kathryn Kailikole: – he had to go to the chief of police every semester because that
   was what Chief DiMaggio said to me.

   Jeff Love:   Okay. Did DiMaggio ever tell you whether or not he did that?

   Kathryn Kailikole: No, he did not.

   Jeff Love:   Okay. Do –

   Kathryn Kailikole: And I got concerned –

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: – um, about it when this came up again.

   Jeff Love:   Okay.

   Kathryn Kailikole: About whether or not he did or not.

   Jeff Love: Okay. Did, um, did you, is there any information that you have that
   Nakajima or Gerwig continued to use the gun in a similar fashion?

   Kathryn Kailikole: No. I don't know.

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         Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Jeff Love: Okay. Okay. Was there a, any, um, inspections or anything like that
   that you had directed anybody to do or that you did it yourself, I mean to the extent
   you could do it, to see if anything like that had occurred?

   Evan Dwin: You mean after?

   Jeff Love: Afterward. Yeah, after he had been told hey, you know, don't, don't
   use that, and if you do you need to go talk to the chief. After that time was there
   any, I mean **** if you talked to –

   Kathryn Kailikole: So, going –

   Jeff Love:   – Blumenthal or if somebody –

   Kathryn Kailikole: Yes.

   Jeff Love:   – else, you know? Go ahead.

   Kathryn Kailikole: So, um, the general counsel had put something in about the air
   pistol in after the investigation, um, and so Dr. Norman had asked for all of the
   information regarding it. And that's when I got concerned because, um, because I
   didn't feel comfortable in checking on things because of some of the rules around
   the union –

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: – and what you can and can't do.

   Jeff Love:   Right. This would be like checking on the class without –

   Kathryn Kailikole: Right, and whether or not that –

   Jeff Love:   – okay.

   Kathryn Kailikole: – a gun was being used. So, I contacted Dr. Finkenthal and I
   said, uh, do you know if the gun is still being used in, in the –

   Jeff Love:   Right.



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: – the physics **** lab, and he said what are you talking about.
   And I said the gun that you guys use in your lab. He goes we have no gun in our,
   in our, in our curriculum. Um, and I said yes you do. I, I've had complaints. He
   said, what are you talking about. And so, I started to describe it and he said I don't,
   so he was really concerned.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: Um, and so he asked what information do you have on it, um,
   and I will look to see. And I said this is what I have. And he asked if he could
   have the information.

   Jeff Love:   Okay.

   Kathryn Kailikole: And I said yes.

   Jeff Love:   Okay. You forward it to him by email?

   Kathryn Kailikole: Yes.

   Jeff Love:   Okay. And you did that. Uh, he's the chair, correct?

   Kathryn Kailikole: He's the chair.

   Jeff Love:   He's not some stranger on the street.

   Kathryn Kailikole: No.

   Jeff Love:   Okay. He's a chair, and you wanted him to kind of keep an eye on
   that or –

   Kathryn Kailikole: Yeah.

   Jeff Love:   – check into it further or whatever –

   Kathryn Kailikole: Yes.

   Jeff Love:   – because of his concern and your concern?




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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: Yes. And I think in a way it almost became – because at the
   time that this occurred –

   Jeff Love:   Right.

   Kathryn Kailikole: – the two young women had come back because, um, Ms.
   Brayer had kept their number. She took their numbers and said –

   Jeff Love:   Right.

   Kathryn Kailikole: – the dean will wanna talk to you. Um, so she'll, so I'm gonna
   call you when she gets back.

   Jeff Love:   Right.

   Kathryn Kailikole: So, she calls the young women, and they come in and they
   speak to me. And so, at the time when they were speaking to me and this, um,
   pistol incident occurred –

   Jeff Love:   Right.

   Kathryn Kailikole: – several other things were divul-, divulged to me by the young
   women; the warning letter.

   Jeff Love:   So that's –

   Kathryn Kailikole: Uh.

   Jeff Love:   – kind of when all that came –

   Kathryn Kailikole: Yes.

   Jeff Love:   – for –

   Kathryn Kailikole: The, their behavior in the classroom.

   Jeff Love:   Okay.

   Kathryn Kailikole: The negative points. Then also to find out that the other young
   woman who was not, um, the firearms expert –

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         Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Jeff Love:   Right. Yeah.

   Kathryn Kailikole: – um, had had a severe car accident. Had had a concussion.
   She had medical orders not to go to, to go to class.

   Jeff Love:   Right.

   Kathryn Kailikole: She contacted all of her faculty to tell them that she couldn't
   come to class. Nakajima told her, he didn't write it down but he told her she would
   fail if she didn't show up to class. So, she went to class with a concussion. Her
   classmates, the young woman who was sitting by her said that they had to help her
   just lift things and do the lab, and the young woman had no recollection of that lab
   that day.

   Jeff Love: And who was this woman? Yeah, what's her name? Do you
   remember?

   Kathryn Kailikole: I don't remember their names –

   Jeff Love:   Okay.

   Kathryn Kailikole: – right now.

   Jeff Love:   Okay.

   Kathryn Kailikole: And I asked that they provide me that information. And so, I,
   to be honest with you, I was so incensed and upset about the warning letter, about
   the behavior in the classroom –

   Jeff Love:   Right.

   Kathryn Kailikole: – about the fact that we just endangered a student. Um, that I
   was leaving it up to the police department and the fact that I had already directed to
   **** to not use the pistol, but I didn't think about it again because I was more
   concerned about this warning letter, and the recurring, um, discrimination that was
   going on regarding that warning letter. Um, and so, it was at the time when, when
   it did come up again and people were asking, I, I realized, I don't know if they're,
   you know, I don't if he, because clearly he doesn't listen to any of my directives.



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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love: Wasn't there some, correct me if I'm wrong, but wasn't there some
   prior issues with the Nakajima not making reasonable accommodations, uh –

   Kathryn Kailikole: Yes.

   Jeff Love:   – to students –

   Kathryn Kailikole: Yes.

   Jeff Love:   – and so forth for –

   Kathryn Kailikole: Yes.

   Jeff Love:   – legitimate type injuries and so forth.

   Kathryn Kailikole: Yes.

   Jeff Love:   Okay.

   Kathryn Kailikole: And, and, uh, disabilities.

   Jeff Love:   Okay, alright, um –

   Evan Dwin: Let's take a 1-minute, uh, restroom break.

   Jeff Love: Oh, absolutely, yeah, let's, let's put this on hold. We'll wrap up very
   quickly after this. And let me just put this on hold right now. Okay, we're back on
   the record. We just had a quick, uh, break, to take care of our personal necessities,
   as it were. Um, we were talking about the Airsoft business, uh, with this gun and,
   um, I think you told me that you had received information form a student, the
   students had come and talked to your assistant, uh, Ms. McBrayer. The police
   were summoned. Initially the police, uh, you know, were like ah, it's no big deal,
   and then there was some further discussion and dialogue and then it became a little
   bit of a bigger deal. They came down, you spoke with the chief and, uh, he
   concluded that it would be a violation to, to engage in such behavior to have that
   there without, uh, written permission from him and certain guidance and protocols
   and so forth, which apparently were not in place. Um, and then you had mentioned
   something – I have a note here about Dr. Norman, and so Dr. Norman asked about
   it?



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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: She asked about it because their, their coun-, general counsel
   had put it into, um, into the, I guess into the outcome of the report in terms of how
   they were going to deal with, um, Nakajima.

   Jeff Love:   Okay, so, what, what did Dr. Norman want to know about it?

   Kathryn Kailikole: She wanted all of the information that I had. Um, the emails
   from the students, the video.

   Jeff Love:   I see, okay.

   Kathryn Kailikole: Um, and I don't know if it's because I mentioned the video to
   you or some, but somehow the general counsel knew about the video and she felt
   because he had mentioned it or maybe it was you who mentioned it, I don't know,
   um, that they wanted the video.

   Jeff Love:   Okay.

   Kathryn Kailikole: So, I went back in my emails and I found the video and it, it's at
   that point when she was asking these questions I started to get worried because,
   because it was one of so many things.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: Uh, about these two men that I had to deal with. But –

   Jeff Love: Did you get, uh, concerned that she felt that you hadn't done your job
   with these?

   Kathryn Kailikole: No, no, I, that's not what my concern was.

   Jeff Love:   Okay.

   Kathryn Kailikole: They've never listened to me.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: They've never followed any of my directives.

   Jeff Love:   Okay.

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          Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Kathryn Kailikole: They have always tried to get around me and, um, and
   squashed, or squelched anything that I tried to do, and that's why I was worried.

   Jeff Love:   I see.

   Kathryn Kailikole: Was that that was one of the one – because I was constantly
   having to follow-up –

   Jeff Love:   Uh huh.

   Kathryn Kailikole: – on whether or not they were – in, in the best way that I could
   without violating their rights, their union rights.

   Jeff Love: Mm. Um, and, uh, what, what kind of follow-up was done regarding
   the, um, the gun business? I mean was there any –

   Kathryn Kailikole: Well, so –

   Jeff Love:   –was there or could there have been anything done?

   Kathryn Kailikole: I don't know. I actually, I honestly –

   Jeff Love:   I mean, apart from –

   Kathryn Kailikole: Apart me giving the directive, don't do this again if you're going
   to use this, if it's part of the curriculum, this is what it says in policy, and you must
   follow policy.

   Jeff Love:   Contact the chief of police.

   Kathryn Kailikole: Right, exactly.

   Jeff Love:   Use safety protocols.

   Kathryn Kailikole: Right.

   Jeff Love:   from that.

   Kathryn Kailikole: Right.

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          Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Jeff Love:   Okay.

   Kathryn Kailikole: Um, and, um, and, but because of it, it reminded me, um, that I
   did ask the police to come, I wanted a report. So, I contacted the of-, the police
   office.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: And I asked to talk to Chief Miller who's now the chief of
   police.

   Jeff Love:   Right.

   Kathryn Kailikole: Um, and I said there was this incident and there was and I, and I
   couldn't remember the officer's name. The officer was supposed to – he took
   pictures and he was supposed to do a report. So, they went to look for it. The
   report was not finished, but they did have the pictures, and he said, and I said it's
   okay. I think he also sent me the pictures. Um, and, uh, and I can't remember if he
   sent, uh, I think that he sent them –

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: – to me, and then I also sent those pictures to, um, Dr. Norman.

   Jeff Love:   Did you send them to Finkenthal?

   Kathryn Kailikole: I sent him everything –

   Jeff Love:   Okay.

   Kathryn Kailikole: – that had to do with the, the air pistol, because he was
   concerned and of good reason.

   Jeff Love:   Okay, alright. And –

   Kathryn Kailikole: And it is his responsibility to –

   Evan Dwin: Right.



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: – to, to maintain –

   Jeff Love:   He's the chair.

   Kathryn Kailikole: – the safety in, in the, in the labs.

   Jeff Love: Is your vision of him as a chair, is he sort of a supervi-, not a
   supervisor per se, but sort of oversight on the department?

   Kathryn Kailikole: Yes, the chair's responsibility is oversight on the department
   and so for the chairs with labs –

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: – and I have many chairs with labs, their responsibility also is
   to ensure the safety of not only the faculty but the students and the staff that would
   be in those rooms.

   Jeff Love:   Okay, did you share other things like this with Finkenthal?

   Evan Dwin: Can you be a little more –

   Jeff Love: In other words, other issues concerning Gerwig, um, uh, problems in
   the department, things of that nature.

   Kathryn Kailikole: Not beyond –

   Jeff Love:   Just with the Airsoft gun.

   Kathryn Kailikole: Yeah.

   Jeff Love:   You know, anything like that that you can think of?

   Kathryn Kailikole: You, you know –

   Jeff Love:   That, uh, and I mean, and if you know –

   Kathryn Kailikole: – that would be normal.

   Jeff Love:   – and if you don’t remember, yeah.

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         Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Kathryn Kailikole: **** yeah.

   Evan Dwin: Yeah, I mean she's got documents –

   Kathryn Kailikole: I mean beyond what would be normal functioning of a
   department.

   Jeff Love: Did you provide him, it looks like, um, you did, but maybe you, tell
   me if you remember if you had provided, um, mister, uh, Finkenthal, um, the, uh,
   report, or the info-, your exchange with Chief Moore, um, regarding, um, the, the –

   Kathryn Kailikole: The air pistol.

   Jeff Love:   The air pistol thing.

   Kathryn Kailikole: Anything that had to do with that incident. I –

   Jeff Love:   Okay.

   Kathryn Kailikole: –I provided to him, because I felt that he needed to be
   completely informed of the situation.

   Jeff Love:   And he's, and he's, and he's –

   Kathryn Kailikole: In order to be able to ***** his duties.

   Jeff Love:   – and by this time he's the chair. He's been the chair since –

   Kathryn Kailikole: Yes, yes.

   Jeff Love:   Okay, good.

   Evan Dwin: And certainly nobody ever told you not to discuss this with them,
   right?

   Kathryn Kailikole: No, you are correct. Nobody told me I could not discuss with
   the chair.




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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love: I mean, and this wasn't, the, this Airsoft. To your knowledge it wasn't
   some sort of administrative investigation ongoing with it, or anything of that
   nature.

   Kathryn Kailikole: No.

   Jeff Love: Okay, okay. Was there any discussion with, uh, Mr. Finkenthal that
   he would provide this information to anyone else? If you forwarded him
   something that he would provide, it's to some other person?

   Evan Dwin: If, you remember, it's just document that's about this.

   Kathryn Kailikole: I took –

   Jeff Love: I know, this has nothing to do with the document. Just if there was
   any agreement between the two of you?

   Kathryn Kailikole: No.

   Jeff Love:   Did he ever indicate that he was going to do anything of the sort?

   Kathryn Kailikole: NO.

   Jeff Love: Provide the documents to his wife or to members of the governing
   board hear, anything like that?

   Kathryn Kailikole: No.

   Jeff Love:   Okay, okay.

   Evan Dwin: That you know, right?

   Kathryn Kailikole: That I know of, I mean.

   Jeff Love:   Right, okay. Who's Nina Deerfield?

   Kathryn Kailikole: She's a governing board trustee.

   Jeff Love: Okay, and, um, did she ever, uh, speak to you at all about the, uh,
   summary of my investigation report?

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          Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Kathryn Kailikole: No.

   Jeff Love: Okay, did she ever indicate to you that, uh, Mr. Finkenthal had
   provided, uh, a copy of that confidential **** of investigation report? Anything
   like that?

   Kathryn Kailikole: No.

   Jeff Love: Did Finkenthal, Mr. Finkenthal ever say that he had done such a
   thing? Provided it to, uh –

   Kathryn Kailikole: Not that I recall.

   Jeff Love:   – ****. Okay.

   Evan Dwin: Provided it to who? Sorry.

   Jeff Love:   To, uh, Nina Deerfield.

   Kathryn Kailikole: I, I don't know.

   Jeff Love: Okay, did Mis-, did Dr. Finkenthal ever say that he had provided the,
   uh, confidential summary of my investigation to his wife, Stacy Carlson? Did he
   ever say anything about that? And I'm not suggesting you told him to do it, or
   there was some agreement, I'm just saying did he ever tell you that he had done
   such a thing?

   Kathryn Kailikole: No.

   Jeff Love:   Okay, okay, alright.

   Kathryn Kailikole: So, I, you know, I just –

   Evan Dwin: No, but it's just, he, he just, could you stop right there for a second.
   We'll stay in the room and, and I don't need to have a privileged conversation with
   her. I just want to –

   Jeff Love:   Yeah, hold on just one – just a second here.



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Evan Dwin: Okay.

   Jeff Love:   Okay, we're gonna go off the record for just a second.

   Evan Dwin: Yeah, and, and –

   Jeff Love: Okay, we're back on the record and, um, we were talking sort of
   about, um, providing, uh, Dr. , uh, Kailikole providing, um, information to her
   chair, uh, uh, Mr. Finkenthal, Dr. Finkenthal, and then I was asking questions
   about whether there had been any, uh, arrangement that, uh, between that,
   Dr. Finkenthal and, and, uh, Dr. Kailiko- uh, Kailikole whether that Finkenthal
   would provide that information to others, which, uh, she said there was no such
   arrangement and apparently no such knowledge that he had. Now, um, uh,
   Dr. Kailikole's attorney has a question, I think, that'll help clarify. Please, sir.

   Evan Dwin: I just, yeah, I mean, I did say, now that I hearing you explain the
   questions you just asked, this doesn't, this doesn't pertain to any of that, but there
   was some questions about, uh, Ms. Deerfield, is that Nina's last name?

   Kathryn Kailikole: Yes.

   Evan Dwin: Ms. Deerfield, and was some questions about Daniel and
   Mrs. Deerfield, and there is some information that you have about that, that Daniel
   told you something, so I just want you to tell him about that, and then if anything
   happened; that you know of.

   Jeff Love:   Perfect.

   Evan Dwin: That if you know anything else that's right.

   Jeff Love: Right, and I had asked her about Nina Deerfield in relationship to the
   idea that mister, that Dr. Finkenthal had shared that confidential investigation with
   her.

   Kathryn Kailikole: Right. That I didn't know.

   Evan Dwin: Yeah.

   Kathryn Kailikole: However, um, what Dr. Finkenthal, to my recollection, told me.



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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love:   Sure.

   Kathryn Kailikole: Was that, um, um, both, uh, Nina Deerfield, and Don Halcon
   had, um –

   Jeff Love:   Dina Deerfield and Joe –

   Kathryn Kailikole: Halcon.

   Jeff Love:   Halcon?

   Kathryn Kailikole: He's another trustee.

   Jeff Love:   How do you spell that name?

   Kathryn Kailikole: Um, H-A-L-C-O-N.

   Evan Dwin: Oh, okay.

   Jeff Love:   Halcon, okay.

   Kathryn Kailikole: And I may be wrong that it was –

   Jeff Love:   Sure.

   Kathryn Kailikole: – John as well.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: But that they, they had, uh, requested to meet with him
   regarding this issue.

   Evan Dwin: That's what Daniel told you.

   Kathryn Kailikole: That's what Daniel told me, to my recollection.

   Jeff Love: Had asked to meet with, uh, Daniel Finkenthal in relationship to the
   whole investigation.

   Kathryn Kailikole: Investigation.

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          Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Jeff Love: The whole thing. Did, uh, Daniel indicate that he did in fact meet
   with them?

   Kathryn Kailikole: Um, I don't, I'm not sure. I mean, yeah, I think that he did. I
   did, you know, I didn't hear –

   Evan Dwin: I, but, but you're only saying that, right, just because he told you this
   before? After that he didn't hear anything, did you hear anything about it?

   Kathryn Kailikole: No.

   Jeff Love: He, he didn't say anything. For instance, hey, I met with those guys,
   uh, about that. He didn't say anything like that. He just said that –

   Evan Dwin: Later.

   Jeff Love:   – that they requested a meeting with him.

   Kathryn Kailikole: Right, and that point in time my understanding was that they all
   had everything anyway.

   Jeff Love:   Okay, what leads you to conclude that?

   Kathryn Kailikole: Um, because the report was, the report was supposed to be
   given to the board.

   Jeff Love:   Oh, okay.

   Evan Dwin: If you're speculating though, ****, is that you're specific question?
   When the real specific question –

   Jeff Love:   Yeah, yeah.

   Evan Dwin: – when you know that they have ****

   Kathryn Kailikole: Oh, I, alright, I'm speculating, I'm sorry. I, I, that was my
   assumption.

   Jeff Love:   Okay, alright, yeah. And if –

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         Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Kathryn Kailikole: – at the time that this was taken.

   Jeff Love: and I, and I take it as such, right. You don't attend the board meetings
   in their closed sessions and stuff.

   Kathryn Kailikole: No.

   Jeff Love:   Okay.

   Kathryn Kailikole: No.

   Jeff Love:   Alright, well, I'm talking about the purposes of this –

   Kathryn Kailikole: No, no

   Jeff Love: – disciplinary action that, you know, may have flowed from my
   investigation.

   Evan Dwin: We attended one yesterday, so I wanted to make sure we were being
   ****

   Jeff Love: Yeah, you had mentioned that earlier, right, but you didn't routinely
   go to these board meetings.

   Kathryn Kailikole: Not the closed session.

   Jeff Love:   Right.

   Kathryn Kailikole: As part of my responsibilities, and as you know, I must to go to
   the open session.

   Jeff Love: Yeah, right, yeah, I'm sure you enjoyed every one of them. Yes, okay,
   um, alright. Now I noted in some email exchanges that, um, Finkenthal, uh, Daniel
   Finkenthal had asked you to call him on December 8th, 2017 and he'd asked you to
   call him by email, um, he had sent you an email, at, uh, 4:47 p.m. on that date.

   Evan Dwin: What was the date again, sir?




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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love: December 8th, 2017. It says, if you are on campus, can you call me at
   2974, which I'm assuming is his extension. Do you remember, um, hav-, having a
   phone conversation with him around that? I know it's a very difficult question
   because, I mean, most people don't remember what they had for lunch 3 days ago.
   But, I mean, does that ring a bell to you at all?

   Kathryn Kailikole: No, I get that from my chairs all the time.

   Jeff Love:   Okay, okay.

   Kathryn Kailikole: So, and, and it can be from anything as an in Nina's, um, you
   haven't approved the thing yet.

   Evan Dwin: Oh, okay.

   Kathryn Kailikole: Can you find it and approve it.

   Evan Dwin: Alright.

   Kathryn Kailikole: To, um, we've got a crisis.

   Jeff Love: Okay, then, then don't worry about it then. I mean, I, I wouldn't, I
   didn't think you'd probably, but I had to ask anyway. Um, did, uh, did Daniel
   Finkenthal ever talk about sharing anything at work with his wife? You know, it,
   and, and I'm not saying that he came up to you and says, you know, by the way I
   shared something with my wife. But maybe, you know, a conversation that might
   go something like this, yeah, I was talking to my wife yesterday about something
   here, and she opined about this, and I said that. Was there ever a conversation like
   that you would remember that would lead you to conclude, um, that he shared or
   talked about work stuff with his, his wife. And, and I'm not suggesting that, that he
   couldn't. I mean, it's his wife, you know, he –

   Kathryn Kailikole: Yeah.

   Jeff Love:   – got to her, but, do you remember anything like that?

   Evan Dwin: I just want to make sure that we're clear that this is an extraordinarily
   broad –

   Jeff Love:   Yeah it is.

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         Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Evan Dwin: – question about do you believe he talked with his wife about work
   ever?

   Jeff Love:   No.

   Evan Dwin: And, and you got to have a basis for it, like the –

   Jeff Love:   No, no, no, no, no, no, no, no, no

   Evan Dwin: ****

   Jeff Love:   No, you're wrong.

   Evan Dwin: Okay.

   Jeff Love: Um, I'm not asking you if he did talk to his wife, I'm asking you if he
   ever portrayed that he was routinely or had talked to his wife about issues at work?

   Evan Dwin: Anything at work.

   Jeff Love:   In anything.

   Kathryn Kailikole: Sure, yes.

   Jeff Love: Okay, and kind of, if you can think back, and it may be something
   innocuous and maybe you don't remember the details, but, do you remember what
   he may have said? I mean, what, what he was talking with her about?

   Kathryn Kailikole: The workplace.

   Jeff Love:   Okay, sort of maybe kind of complaining about some of the issues.

   Kathryn Kailikole: The way that he is treated.

   Jeff Love:   Okay, okay. Did Daniel –

   Kathryn Kailikole: The hostilities directed towards him.

   Jeff Love:   Okay. What hostilities if you know was he referring to?

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         Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Evan Dwin: Just to make sure that we're understanding here, not generally
   hostilities that you know that Daniel felt about the workplace, but anything that
   you know because he told you he told his wife about, that's the question, right?

   Jeff Love:   No.

   Kathryn Kailikole: Well, I'm –

   Jeff Love: No, that's the, the question. The question is, is I don't know what he
   told his wife about and I don't really care other than, than the fact that he may have
   talked to his wife that may have context to some of the communications I've
   observed. What I want to know is did Daniel claim that he was the subject of some
   hostilities?

   Kathryn Kailikole: Yes.

   Jeff Love:   Okay, tell me about –

   Kathryn Kailikole: Because he claimed them to me as –

   Jeff Love:   Okay.

   Kathryn Kailikole: – his supervisor.

   Jeff Love:   Okay.

   Kathryn Kailikole: that he was being, um, maligned, that he was, uh, being, uh,
   treated, you know, that, that the, um, the, uh, they were, they were, the, the same
   way that they would malign me to the students, they would malign him –

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: – to the students, but he –

   Jeff Love:   They, they being Nakajima, Gerwig?

   Kathryn Kailikole: Gerwig, Mm hmm.




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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love: And did this all, uh, uh, flow from his perspective anyway, was it
   because of his involvement in that, in bringing forward those issues that I
   investigated? The postings, and all the –

   Kathryn Kailikole: Yes.

   Jeff Love:   – all the rest?

   Kathryn Kailikole: Yes.

   Jeff Love:   Okay.

   Kathryn Kailikole: And he was, and, and in fact because they felt he was and, and
   in fact because they felt he was a traitor.

   Jeff Love:   Mm hmm. Okay, so he was sort of being –

   Kathryn Kailikole: Because his –

   Jeff Love:   – punished for that.

   Kathryn Kailikole: – yeah, he was being punished for, um, for notifying me.

   Jeff Love:   Mm hmm. Okay.

   Kathryn Kailikole: Because I then notified the campus.

   Jeff Love:   Okay.

   Kathryn Kailikole: I mean to the administration.

   Jeff Love:   When did Daniel tell you that, that he started feeling that?

   Kathryn Kailikole: Um, he, uh, as soon as the fall, as Nakajima and Gerwig
   returned to campus after the summer.

   Jeff Love:   Mm hmm. Okay, so, like, uh, August or September of 2017.

   Kathryn Kailikole: Mm hmm.



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love: Okay. And, um, what if anything did you do about that? Did you tell
   anybody about that or investigate or do anything?

   Kathryn Kailikole: I didn't, I didn't know what to do really.

   Jeff Love:   Okay, okay.

   Kathryn Kailikole: Because, because that behavior had been consistent. Um, and
   in order, in order for him to be able to exist in that department for as long as he
   has, Dr. Finkenthal –

   Jeff Love:   Right.

   Kathryn Kailikole: – he just focused on his classes and he didn't get involved.

   Jeff Love:   Okay, okay.

   Kathryn Kailikole: Um, and when he finally realized that he had dean who was
   going to take a stance he was willing to step up and become the chair, and when
   that happened he started to, to be treated very, even more poorly than he had in the
   past.

   Jeff Love: And this August of 2017 where he first told you about this treatment,
   that was just only a couple of months after he had taken the chair.

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   Okay, alright.

   Evan Dwin: Who was the chair before Daniel?

   Kathryn Kailikole: Nakajima, for 15 years. Would you like to know how he was
   asked?

   Jeff Love:   Yeah, yeah, actually I would.

   Kathryn Kailikole: So, I like to read the union handbook.

   Jeff Love:   Mm hmm.



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: Contract. And in the contract it says that the chairs required
   every year to hold, um, elections.

   Jeff Love:   Right.

   Kathryn Kailikole: Um, for a chair, and to hold a meeting. Nakajima would not
   hold meetings, and Nakajima would not hold elections.

   Jeff Love:   So, he was violating his own union rules?

   Kathryn Kailikole: Yes.

   Jeff Love:   Okay.

   Evan Dwin: I'm sorry, I hate to do this, can I take a 1-minute break off the record?

   Jeff Love:   Sure.

   Evan Dwin: thanks.

   Jeff Love: Go ahead, I'll turn this off if you guys want to step outside. Okay, we
   were just, uh, kind of talking about the idea that, um, uh, Nakajima had, uh, he had
   learned that he had kind of violated their own, uh, rules regarding holding a
   meeting, having an election every year.

   Kathryn Kailikole: Right.

   Jeff Love:   to elect the chair.

   Kathryn Kailikole: Right.

   Jeff Love:   And, uh, what if anything did you do about that when you became
   dean?

   Kathryn Kailikole: So, I didn't realize that –

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: – until, um, uh, until all of this with the, uh, title, 9 and Title 5
   violations –

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         Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Jeff Love:   Right.

   Kathryn Kailikole: Had occurred, and so I felt that it at this point in time, knowing
   what I knew I needed to get him out of, um, the chair position.

   Jeff Love:   Right.

   Kathryn Kailikole: Because he was a cancer.

   Jeff Love:   Right, okay.

   Kathryn Kailikole: And, um, so after the meeting with Shawna Cohen regarding,
   um, the postings –

   Jeff Love:   Right, yes.

   Kathryn Kailikole: In the room.

   Jeff Love:   Yes.

   Kathryn Kailikole: Um, we stayed in, um, the VPI Kahn's office, uh, with the union
   representative.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: Who also knew because I informed her that, um, that their ,
   own, um, faculty were violating the union contract.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: That it needed to be addressed.

   Jeff Love:   And who was the union rep?

   Kathryn Kailikole: Um, Susan Snow.

   Jeff Love:   Right, okay.




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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: And so, uh, at that point in time then, uh, we discussed the fact
   that no meetings had been held, no elections had been held. Um, and that at this
   point in time there is no chair.

   Jeff Love:   Right.

   Kathryn Kailikole: And an election must happen, which at that point, um, VPI
   Kahn took advantage of the situation and told Nakajima he could not run since he
   had violated the rule.

   Jeff Love:   Okay.

   Kathryn Kailikole: And so that left Finkenthal and Gerwig to run, because they
   were the only two.

   Jeff Love:   And Finkenthal was duly elected and appointed.

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   Okay.

   Evan Dwin: And that was Kahn's decision and not yours, right? To, to –

   Kathryn Kailikole: To say to Nakajima he could not run.

   Evan Dwin: Right.

   Jeff Love: Did the rules provide for that sort of, uh, sanction, if you, uh,
   disobeyed the rules, that you're, uh, if, if you know.

   Kathryn Kailikole: I don't know.

   Jeff Love:   And you might not.

   Kathryn Kailikole: I don't know.

   Jeff Love:   Okay, alright, don't worry about that then, okay.

   Kathryn Kailikole: And so from that point on he was, you know, he was able to
   keep his distance from them.

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          Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Jeff Love:   right.

   Kathryn Kailikole: By just focusing on his classes and his students, but at that
   point, um, he became persona non grata.

   Jeff Love: Okay. Okay, um, let me just ask you just some general questions as
   we conclude here. Um, did, um, did you ever give, uh, or provide or tell, uh, the,
   um, Daniel Finkenthal anything that should have been held confidential in any
   way, shape or form? In other words, some, some sort of confidential personnel
   matter or somebody told you not to tell them, and in those circumstances did you
   ever violate those confidences?

   Kathryn Kailikole: No, not that I recall.

   Jeff Love: Okay, um, did you, um, in any, uh, ever, uh, ask, uh, and I've already
   kind of asked you this, but you can tell me no again. Uh, did, did you ever ask
   Dr. Finkenthal through him or some other straw, uh, player, to pass on any sort of
   department information?

   Kathryn Kailikole: No.

   Jeff Love: Okay, um, you were aware that, uh, Dr. Finkenthal had ever passed on
   any sort of documents that might be confidential or school-related to anyone else,
   whether it's his wife, or Ms. Deerfield or anyone else to you knowledge?

   Kathryn Kailikole: No.

   Jeff Love:   Okay.

   Kathryn Kailikole: I do not know.

   Jeff Love: Okay, okay, alright, fair enough. I don't think I have any other
   questions. Um, is there anything else about this matter that I haven't asked you
   about that you think would be important for me to know about?

   Evan Dwin: I, I'd like to ask one follow-up question –

   Jeff Love:   Sure.



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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Evan Dwin: – on something you shared about earlier.

   Jeff Love:   Yeah.

   Evan Dwin: Earlier, uh, Mr. Love was talking to you about, um, about the question
   of Nakajima and Professor Gerwig, and, um, some of the sort of, um, issues that,
   that, that students had had with him, and you mentioned discrimination and then
   you talked about, uh, veterans. I just, was there any other discri- discrimination
   that you heard about and, and, and if so, I'll just ask the follow-up question to you
   just to save us time, and if so, what, what did you do about it and what did you
   about it and what did you find?

   Kathryn Kailikole: Um, so I found different cases of discrimination. Um, I had
   asked, uh, after meeting with the, the veterans, um, I had asked the admissions
   office for data on, um, students by ethnicity, by veteran status, by gender, um, that
   had enrolled in Nakajima's and Gerwig's classes.

   Evan Dwin: Mm hmm.

   Kathryn Kailikole: And I wanted from when they enrolled and whether they
   dropped the class, whether they withdraw from the class or the grade that they got.

   Evan Dwin: Right.

   Kathryn Kailikole: Um, and then I looked at it because my, um, job prior to this
   was, um, director of analysis and strategic planning in Drexall.

   Evan Dwin: Uh huh.

   Kathryn Kailikole: So, I know how to handle data.

   Evan Dwin: right.

   Kathryn Kailikole: so I looked at it and, um, discovered that 80% of the students
   that enrolled in the class either failed, withdrew or dropped the class. The majority
   of the students that did that were veterans, women and underrepresented
   minorities.

   Jeff Love:   What do you mean underrepresented?



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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: African American.

   Jeff Love:   Why are they underrepresented?

   Kathryn Kailikole: Mexican, well, it's the term.

   Jeff Love:   I've always worried about – I wondered about that.

   Kathryn Kailikole: Well, underrepresented –

   Evan Dwin: **** use that term or –

   Kathryn Kailikole: Yeah, yeah, so it's a historic term. I mean –

   Evan Dwin: Anyway, so, you could just –

   Kathryn Kailikole: I can off the record I can talk to you about underrepresentation,
   but, uh –

   Jeff Love:   Right, right.

   Kathryn Kailikole: But, um, but, um, uh, at risk populations.

   Jeff Love:   Uh huh.

   Kathryn Kailikole: Um, were the majority that made up –

   Jeff Love:   Okay.

   Kathryn Kailikole: – the 80%. Um, and, and they looked at that after talking to the
   veterans, because I was very concerned.

   Jeff Love:   Okay, when was that that you determined this sort of desperate
   impact?

   Kathryn Kailikole: Um, uh, it was, I think it was the fall of 2015, it might have
   been the spring of 2016 when all of this started to happen.

   Jeff Love:   Okay.



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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: Because it, it almost all came at once, the meeting with the
   veterans, the two young women. Um, finding out that the counselors told students
   to go elsewhere.

   Jeff Love:   Okay.

   Kathryn Kailikole: Um, the other one that I found was the, um, was the OCR
   finding.

   Jeff Love:   The what finding?

   Kathryn Kailikole: The Office of Civil Rights finding.

   Jeff Love:   Right, that was the, was that the student with the disability?

   Kathryn Kailikole: Yes.

   Jeff Love:   Right.

   Kathryn Kailikole: I met –

   Jeff Love: Was that dealt with? Was there any, any action taken on that to your
   knowledge? I know that preceded you.

   Kathryn Kailikole: Yes, it preceded me, and, um, so the warning letter, because I
   was livid.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: Um, and I had called, um, VPI, interim VPI Sourbeer.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: And he didn't know about the warning letter. Um, so I asked,
   um, Finkenthal, and he didn't know about the warning letter. So, he asked, you
   know, where is it? I said it's on the website for everyone to see.

   Jeff Love:   Mm hmm.




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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: Um, and so he looked at it. He then came down and asked Ms.
   McBrayer do you remember when we had to do, um, sensitivity training?

   Jeff Love:   Mrs. Finkenthal asked you this question.

   Kathryn Kailikole: Finkenthal, to, and she said yes, and he goes, do you remember,
   um, do you know why that happened? Because they never told me. Um, and she
   said, oh, yes. Um, they, there was, um, that the, um, there was an OCR finding.
   Um, because a student, because a student was not given the rights to, to be able to
   take the, uh, uh, there, was not given the accommodations.

   Jeff Love:   So that training –

   Kathryn Kailikole: Was denied the accommodations.

   Jeff Love:   – that triggered the, uh, sensitivity training as being some form of a
   remedy?

   Kathryn Kailikole: Yes, and so there was a, the prior dean had kept a, kept a, a file
   on all of this.

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: And the, and this is why I, I believe – one, uh, for example this
   happened under another dean, Dean Francis.

   Jeff Love:   Right.

   Kathryn Kailikole: Um, so Dean Sourbeer didn't even know about it. Because I
   asked him and he said he didn't know. Um, HR, you know, didn't have a copy of
   it. Um, and the response of the institution was to put them into sensitivity training.
   There was never any follow up. But when you look at the OCR report and then
   you read the, uh, morning letter, it is everything, the, so they were basically telling
   students with disabilities don't come into my class. Because, there's a direct
   response that the, that response there matches –

   Jeff Love:   Okay.

   Kathryn Kailikole: – the OC, the OCR report and findings.



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love:   So, this OCR report, did you see that when you first came on board
   here?

   Kathryn Kailikole: No, I didn't.

   Jeff Love:   When did you see that?

   Kathryn Kailikole: I saw it when, um, when I started asking people how can you let
   this **** warning letter out there. Um, and doing this and, and –

   Jeff Love:   Mm hmm.

   Kathryn Kailikole: – it was, um, it was the, it was me asking about this warning
   letter and trying to understand why would anybody do this?

   Jeff Love: Mm hmm. Did this OCR, uh, report and this warning letter, is that
   what triggered you to do the analysis that led you to con-, conclude that there was
   some sort of desperate impact on students?

   Kathryn Kailikole: Yes.

   Jeff Love:   In their class, in, in, in, was this in Nakajima's class?

   Kathryn Kailikole: Yes.

   Jeff Love:   Or Gerwig's class as well?

   Kathryn Kailikole: Both, yes.

   Jeff Love:   Oh, okay, and that was fall of 2015, spring of 2016?

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   Okay, what if anything did you do with that data? Did you share it
   with –

   Kathryn Kailikole: I did, I, I talked to them about it. I said I have serious concerns.

   Jeff Love:   And what did they have to say? They being Nakajima and Gerwig.



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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: That I was lying. That I didn't know what I was talking about.

   Jeff Love:   Okay, did you tell anybody at the college –

   Kathryn Kailikole: I did.

   Jeff Love:   – the compliance department here, anybody?

   Kathryn Kailikole: I did, I don't, I don't know if we have a compliance department.

   Evan Dwin: Well, who did you tell? That's okay.

   Jeff Love:   Yes, ****

   Kathryn Kailikole: I told my boss, um, Daniel Sourbeer.

   Jeff Love: Okay. And what if anything did Daniel Sourbeer do or say in
   response to that?

   Kathryn Kailikole: He, well, he wasn't surprised.

   Jeff Love: Did he take some action? You know, it was investigated. It, it, it
   could be a violation of, uh, discrimination rules or anything like that?

   Kathryn Kailikole: No.

   Jeff Love:   Was that, if you, if you know, did he, I mean –

   Kathryn Kailikole: I don't know if he did or not.

   Jeff Love:   I mean, okay, alright. You don't know what he might have told her.

   Evan Dwin: Maybe not have told her or done anything with it.

   Kathryn Kailikole: Yeah.

   Jeff Love: Alright, we'll check into that, then, okay. Alright, so, Finken-, I'm
   sorry, Nakajima, Gerwig sort of brush off, ah, you're lying, you know, you're
   cooking the books or whatever. We didn't do anything wrong.



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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Kathryn Kailikole: I'm a B.

   Jeff Love:   You're a what?

   Evan Dwin: Bit-

   Kathryn Kailikole: Ch.

   Jeff Love:   he referred, they, did they –

   Kathryn Kailikole: He never called B-it to my name.

   Jeff Love:   I see.

   Kathryn Kailikole: But they told the students that.

   Jeff Love:   I remember something about that.

   Kathryn Kailikole: Yes.

   Jeff Love:   Where the students had, uh, didn't a student –

   Kathryn Kailikole: There was more than one student who wrote in the evaluations.

   Jeff Love: One or two students had wrote it in the evaluations. It, it kind of led
   you to conclude that they had heard it in class and they were –

   Kathryn Kailikole: Mm hmm.

   Jeff Love:   – just aping what they had heard their professor say.

   Kathryn Kailikole: Yeah.

   Jeff Love:   Okay, yeah, I remember that. Okay. They were dismissive in other
   words.

   Kathryn Kailikole: Mm hmm.

   Jeff Love: Okay, okay. Was there any other analysis that you did after that that,
   uh, in regard to the student flow in these classes?

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          Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Kathryn Kailikole: I didn't have a chance in getting data's, kind of difficult here.

   Jeff Love: Uh, yeah, yes, I know. Yeah, they hold on to that like it's a sacred,
   even though everywhere you turn, everybody asks your ethnicity. But she can't get
   the information out of them. Okay, I don't think I have any other questions at this
   point. Um, is there anything else about this matter that I haven't asked you about
   that you think will be important for me to know about?

   Evan Dwin: And not, so, nothing that I can think of, but I have your card, and we
   can call you if we want to.

   Jeff Love:   Yeah.

   Evan Dwin: If she wants to chat with you again.

   Jeff Love: Okay, alright. I'm going to turn the recorder off. You realize we've
   been recording.

   Kathryn Kailikole: Yes.

   Jeff Love: Without the exception of our breaks and what we said when off the
   record. Have you understood my questions?

   Kathryn Kailikole: I have.

   Jeff Love: Have you answered them truthfully and accurately to the best of your
   knowledge and ability?

   Kathryn Kailikole: Yes.

   Jeff Love:   Very good, okay, let me turn this off.

   Evan Dwin: Um.

   Jeff Love:   Oh, I'm sorry.

   Evan Dwin: Oh, I just want to know if, if we would be able to, if we want a copy
   of the transcript, whether we would be able to get it.



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          Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love: I don't think that's a problem. I'll ask the college. I've certainly, I've
   offered you a copy of the, uh, audio format.

   Evan Dwin: Oh, right, you know, and I'll take you up on it. Maybe if its ****

   Jeff Love:   Yeah, that's no problem.

   Evan Dwin: **** just take it out of your tape.

   Jeff Love:   Yeah.

                                 [Break in the Interview]




   Jeff Love: Okay. I've, uh, turned on the tape recorder and, uh, this'll actually be
   a continuation of an interview, uh, but for the record, um, those present, uh, are
   myself, Jeff Love, LOVE, I'm an attorney but hired as a neutral fact finder for the,
   uh, Palomar Community College District and also present is, uh, Kathryn
   Kailikole, and that's K-A-I-L-I-K-O-L-E, as well as her attorney, Evan Dwin, that's
   D-W-I-N. And we were speaking, it's, uh, February 28th, 2018 and, um, after
   concluding our interview, uh, Ms., u h, Dr. Kailikole had recalled that sh, an event,
   uh, an, uh, some information that she wanted to share, so, um, Kathryn, you realize
   we're recording?

   Dr. Kathryn Kailikole:    Yes.

   Jeff Love:   Okay, very good. So tell me what it is that you'd like me to know
   about.

   Dr. Kathryn Kailikole:    Um, the comments that the students were writing on, um,
   the evaluation.

   Jeff Love:   Yeah, the ones –

   Dr. Kathryn Kailikole:    Yes.

   Jeff Love:   – where you –



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         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Dr. Kathryn Kailikole:       Where I –

   Jeff Love:   – characterize in a derogatory –

   Dr. Kathryn Kailikole:       Right.

   Jeff Love:   – sense, yes.

   Dr. Kathryn Kailikole: And also one of the other ones was that the dean needed
   to keep her nose out of the business –

   Jeff Love:   Right.

   Dr. Kathryn Kailikole:       – of, um, physics and engineering. Um, uh –

   Jeff Love:   Did, did you, did you re, did you report anything about that to anyone
   –

   Dr. Kathryn Kailikole:       I did –

   Jeff Love:   – or –

   Dr. Kathryn Kailikole:       So –

   Jeff Love:   And who did you report to?

   Dr. Kathryn Kailikole:       – so, Takashi and Art have **** advanced students.

   Jeff Love:   Right, yeah, right, they have **** to them –

   Dr. Kathryn Kailikole:       Yes.

   Jeff Love:   – or whatnot, yes.

   Dr. Kathryn Kailikole:       So I had concern when it was brought to my attention –

   Jeff Love:   Mm hmm.




                                             - 91 -
                                                                  Exhibit A - page 180
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.453 Page 181 of 298

         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Dr. Kathryn Kailikole: – by my boss, Dan Sourbeer that this was going on. And
   my concern was that this, that all I needed was one and stable student to believe
   that I was the font of all evil.

   Jeff Love:   Right.

   Dr. Kathryn Kailikole: And that if they got rid of me because I should keep my
   nose out of physics and engineering, that physics and engineering would be okay.
   Because I believe that Takashi believes that.

   Jeff Love:   Right.

   Dr. Kathryn Kailikole: Um, so I said I wanted something done. I wanted
   administrative action on this to my boss, Dan Sourbeer. I don't know if anything
   ever happened.

   Jeff Love:   Okay.

   Dr. Kathryn Kailikole: I, then also on the phone, said to Shawna Cohen that I
   have concerns for my safety and I wanted administrative action on it and nothing
   happened as far as I know regarding –

   Jeff Love:   To protect you.

   Dr. Kathryn Kailikole:    – this incident, to protect me.

   Jeff Love:   Okay.

   Dr. Kathryn Kailikole:    And, and, and nobody seemed to be taking my concerns
   seriously.

   Jeff Love:   Were you concerned about your physical, uh –

   Dr. Kathryn Kailikole:    Yes, I was con –

   Jeff Love:   – well being, that –

   Dr. Kathryn Kailikole:    – yeah.




                                           - 92 -
                                                               Exhibit A - page 181
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.454 Page 182 of 298

         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Jeff Love: – some student would, uh, you know, hey, I'm on Nakajima's side and
   what's, what's this, uh, dean doing and become unhinged or –

   Dr. Kathryn Kailikole:   Yeah.

   Jeff Love:   – become ugly with you?

   Dr. Kathryn Kailikole:   Yes.

   Jeff Love: Okay. I think you may have told me about that, uh, it, that sounds
   familiar to me –

   Dr. Kathryn Kailikole:   Mm hmm.

   Jeff Love:   – from before, okay.

   Dr. Kathryn Kailikole:   Yeah.

   Jeff Love: And to your knowledge, uh, so you spoke with Dan Sourbear, beer, is
   it Sourbeer?

   Dr. Kathryn Kailikole:   Sourbeer.

   Jeff Love:   S-O-U-R-B-E-E-R –

   Dr. Kathryn Kailikole:   Yeah.

   Jeff Love: – for the record. And Shawna Cohen, C-O-H-E-N. You s, did you
   speak to both of 'em about the same time? When did you talk to Sourbeer?

   Dr. Kathryn Kailikole:   Um, when it first came up.

   Jeff Love:   Okay.

   Dr. Kathryn Kailikole: And I'm trying to remember when it first came up, um,
   and I think it was in the spring of 2017.

   Jeff Love: Yeah, I recall and it flowed from your reading of certain evaluations
   and so forth.



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                                                               Exhibit A - page 182
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.455 Page 183 of 298

         Transcript of Interview of Kathryn Kailikole – February 28, 2018

   Dr. Kathryn Kailikole: And I didn't read them. It was that the, um, the tenure
   and evaluation, the faculty's responsible for that. They have to transcribe
   everything.

   Jeff Love:   Right.

   Dr. Kathryn Kailikole: And they saw the comments. And I am sure I didn't, they
   didn't tell me the worst of 'em.

   Jeff Love:   Right.

   Dr. Kathryn Kailikole: Uh, but that faculty was really concerned about what she
   was reading. So she notified, um, VPI Sourbeer.

   Jeff Love:   Who's that faculty?

   Dr. Kathryn Kailikole:     Um, Leslie Williams, Le, um, she's got a hyphenated
   name.

   Jeff Love:   Oh, I hate that.

   Dr. Kathryn Kailikole:     I know, I'm, and I'm so sorry –

   Jeff Love:   I'm joking.

   Dr. Kathryn Kailikole:     – I'm just not remembering it right now.

   Jeff Love:   Leslie Williams hyphenated something.

   Dr. Kathryn Kailikole:     Yes.

   Jeff Love:   Okay, all right.

   Dr. Kathryn Kailikole:     And I feel really bad –

   Jeff Love:   No, that's okay. She went –

   Dr. Kathryn Kailikole:     – about that.

   Jeff Love:   – to Sourbeer.

                                              - 94 -
                                                                 Exhibit A - page 183
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.456 Page 184 of 298

         Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Dr. Kathryn Kailikole:     Yes. And –

   Jeff Love:   Did Sourbeer then talk to you about it?

   Dr. Kathryn Kailikole:     Yes.

   Jeff Love:   And you told him you wanted some administrative action –

   Dr. Kathryn Kailikole:     Yeah.

   Jeff Love:   – taken, whatever that might be –

   Dr. Kathryn Kailikole:     Right.

   Jeff Love:   – to be sure that this, you know, get to the bottom of it –

   Dr. Kathryn Kailikole:     Right.

   Jeff Love:   – you know, and find out what's going on.

   Dr. Kathryn Kailikole:     Yeah.

   Jeff Love:   Nothing happened to your knowledge.

   Dr. Kathryn Kailikole:     Nothing happened to my knowledge.

   Jeff Love:   And then at some point, you talked to Shawna Cohen –

   Dr. Kathryn Kailikole:     And it was when this –

   Jeff Love:   – at this office.

   Dr. Kathryn Kailikole:     – other incident happened.

   Jeff Love:   I see. That's when you, when you were reporting all of that.

   Dr. Kathryn Kailikole:     Yeah.

   Jeff Love:   Okay.

                                           - 95 -
                                                                  Exhibit A - page 184
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.457 Page 185 of 298

         Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Dr. Kathryn Kailikole:    That –

   Jeff Love:   Okay, all right, that makes sense then.

   Dr. Kathryn Kailikole:    And I later, when, uh, VPI Kahn, um, took over –

   Jeff Love:   Mm hmm.

   Dr. Kathryn Kailikole:    – I also told him I had concerns –

   Jeff Love:   Okay.

   Dr. Kathryn Kailikole:    – and fears and I didn't believe anything had been done.

   Jeff Love:   Okay. Okay, all right. And when did Kahn take over?

   Dr. Kathryn Kailikole:    He took over, I think in May, end of May, June.

   Jeff Love:   May of last year?

   Dr. Kathryn Kailikole:    Uh, yes.

   Jeff Love:   Okay, all right. Anything else?

   Dr. Kathryn Kailikole:    Mm, no –

   Jeff Love:   Okay.

   Dr. Kathryn Kailikole:    – no.

   Jeff Love:   All right. Um, I'll go ahead and turn off the, uh, recorder then.

   Dr. Kathryn Kailikole:    Okay.

   Jeff Love:   Okay, and the same questions and answers, uh –

   Dr. Kathryn Kailikole:    Yes.

   Jeff Love:   – I'm sure that are the same –

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                                                                  Exhibit A - page 185
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.458 Page 186 of 298

         Transcript of Interview of Kathryn Kailikole – February 28, 2018


   Dr. Kathryn Kailikole:    Yes.

   Jeff Love:   – so to speak. All right, let me go ahead and turn this off.




                                           - 97 -
                                                                  Exhibit A - page 186
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.459 Page 187 of 298




                          3. Exhibits (E-Mails)




                                                         Exhibit A - page 187
   Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.460 Page 188 of 298

                                                                                         Exhibit A
Cohen, Shawna

From:                             Norman, Lisa M.
Sent:                             Wednesday, January 10, 2018 4:33 PM
To:                               Cohen, Shawna
Subject:                          FW: Case#2016-00138
Attachments:                      Case 2016-00138 Photos.pdf; image001.jpg

Importance:                       High




Respectfully, 
Lisa Norman, Ed.D, J.D. 
Assistant Superintendent/Vice President Human Resources Palomar Community College 
(760) 744‐1150 x2531

“Be the change you wish to see in the world.” 

                                   Gandhi 


‐‐‐‐‐Original Message‐‐‐‐‐ 
From: Finkenthal, Daniel 
Sent: Sunday, December 10, 2017 2:21 PM 
To: stacyncarlson@yahoo.com 
Subject: FW: Case#2016‐00138 
Importance: High 



=============== 
Daniel Finkenthal, Ph.D. 
Palomar College 
San Marcos, CA 92069 

________________________________________ 
From: Kailikole, Kathryn L. 
Sent: Friday, December 8, 2017 5:22 PM 
To: Finkenthal, Daniel 
Subject: FW: Case#2016‐00138 

From: Kailikole, Kathryn L. 
Sent: Tuesday, November 21, 2017 4:24 PM 
To: Norman, Lisa M. <lnorman@palomar.edu> 
Cc: Kahn, Jack S. <jkahn1@palomar.edu> 
Subject: FW: Case#2016‐00138 
Importance: High 


                                                         1

                                                                              Exhibit A - page 188
   Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.461 Page 189 of 298
Lisa, 
 
Please find Chief Moore’s response to my inquiry regarding the police report on the use of the airsoft gun in the physics 
lab.   There are photos attached.  The responding officer showed the photos to me and explained the following: 
 
He took a photo of the drawers (first photo) where the gun was kept.  There was no lock on the drawer and the drawer 
was easily accessible. 
 
The third photo on the second page is the airsoft gun.  He was concerned that the gun was kept in the original box and 
not in a lockbox or locked drawer.  In addition, the gun looks like a real gun the only way to know the difference is the 
orange tab at the end of the muzzle. 
 
Thank you, 
 
Kathy 
Dr. Kathryn Kailikole 
Dean 
Mathematics and the Natural and Health Sciences 
 
Palomar College 
1140 West Mission Road 
San Marcos, CA 92069‐1487 
760‐744‐1150 ext. 2253 
kkailikole@palomar.edu<mailto:kkailikole@palomar.edu> 
[Scr3_ol] 
 
 
 
 
 
From: Moore, Christopher 
Sent: Tuesday, November 21, 2017 3:02 PM 
To: Kailikole, Kathryn L. <kkailikole@palomar.edu<mailto:kkailikole@palomar.edu>> 
Subject: FW: Case#2016‐00138 
 
Sorry there are not more photos.  Looks like April 21st or so 2016 
 
From: Suarez, Nieves 
Sent: Tuesday, November 21, 2017 2:30 PM 
To: Moore, Christopher <cmoore1@palomar.edu<mailto:cmoore1@palomar.edu>> 
Subject: Case#2016‐00138 
 
Chief, 
 
Reference: Nakajima 
 
Attached is the report and photos (separate). The Report Exec report shows it is incomplete and not all the photographs 
are in there so I had to pull the hard copy. Also, the narrative states there is a video in evidence. 
 
Thank you, 
 
Nieves Suarez 

                                                            2

                                                                                     Exhibit A - page 189
   Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.462 Page 190 of 298
Dispatch Coordinator 
Community Service Officer 
Palomar College Police Department 
1140 W. Mission Rd. 
San Marcos, CA 92069 
760‐744‐1150 ext. 2289 
P Please consider the environment before printing this e‐mail CONFIDENTIALITY NOTICE: This communication with its 
contents may contain confidential and/or legally privileged information. It is solely for the use of the intended 
recipient(s). Unauthorized interception, review, use or disclosure is prohibited and may violate applicable laws including 
the Electronic Communications Privacy Act. If you are not the intended recipient, please contact the sender and destroy 
all copies of the communication. 
 
 




                                                             3

                                                                                      Exhibit A - page 190
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                                                                                                        Exhibit B
    From:               Norman, Lisa M.
    To:                 Cohen, Shawna
    Subject:            FW: Case#2016-00138
    Date:               Wednesday, January 10, 2018 4:33:26 PM
    Attachments:        Case 2016-00138 Photos.pdf
                        image001.jpg
    Importance:         High




    Respectfully,
    Lisa Norman, Ed.D, J.D.
    Assistant Superintendent/Vice President Human Resources
    Palomar Community College
    (760) 744-1150 x2531

    “Be the change you wish to see in the world.”

                                             Gandhi


    -----Original Message-----
    From: Finkenthal, Daniel
    Sent: Sunday, December 10, 2017 2:21 PM
    To: stacyncarlson@yahoo.com
    Subject: FW: Case#2016-00138
    Importance: High



    ===============
    Daniel Finkenthal, Ph.D.
    Palomar College
    San Marcos, CA 92069

    ________________________________________
    From: Kailikole, Kathryn L.
    Sent: Friday, December 8, 2017 5:22 PM
    To: Finkenthal, Daniel
    Subject: FW: Case#2016-00138

    From: Kailikole, Kathryn L.
    Sent: Tuesday, November 21, 2017 4:24 PM
    To: Norman, Lisa M. <lnorman@palomar.edu>
    Cc: Kahn, Jack S. <jkahn1@palomar.edu>
    Subject: FW: Case#2016-00138
    Importance: High

    Lisa,

    Please find Chief Moore’s response to my inquiry regarding the police report on the use of the airsoft gun in the
    physics lab.   There are photos attached.  The responding officer showed the photos to me and explained the
    following:




                                                                                          Exhibit A - page 191
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.464 Page 192 of 298


    He took a photo of the drawers (first photo) where the gun was kept.  There was no lock on the drawer and the
    drawer was easily accessible.

    The third photo on the second page is the airsoft gun.  He was concerned that the gun was kept in the original box
    and not in a lockbox or locked drawer.  In addition, the gun looks like a real gun the only way to know the
    difference is the orange tab at the end of the muzzle.

    Thank you,

    Kathy
    Dr. Kathryn Kailikole
    Dean
    Mathematics and the Natural and Health Sciences

    Palomar College
    1140 West Mission Road
    San Marcos, CA 92069-1487
    760-744-1150 ext. 2253
    kkailikole@palomar.edu<mailto:kkailikole@palomar.edu>
    [Scr3_ol]




    From: Moore, Christopher
    Sent: Tuesday, November 21, 2017 3:02 PM
    To: Kailikole, Kathryn L. <kkailikole@palomar.edu<mailto:kkailikole@palomar.edu>>
    Subject: FW: Case#2016-00138

    Sorry there are not more photos.  Looks like April 21st or so 2016

    From: Suarez, Nieves
    Sent: Tuesday, November 21, 2017 2:30 PM
    To: Moore, Christopher <cmoore1@palomar.edu<mailto:cmoore1@palomar.edu>>
    Subject: Case#2016-00138

    Chief,

    Reference: Nakajima

    Attached is the report and photos (separate). The Report Exec report shows it is incomplete and not all the
    photographs are in there so I had to pull the hard copy. Also, the narrative states there is a video in evidence.

    Thank you,

    Nieves Suarez
    Dispatch Coordinator
    Community Service Officer
    Palomar College Police Department
    1140 W. Mission Rd.
    San Marcos, CA 92069
    760-744-1150 ext. 2289
    P Please consider the environment before printing this e-mail CONFIDENTIALITY NOTICE: This communication
    with its contents may contain confidential and/or legally privileged information. It is solely for the use of the
    intended recipient(s). Unauthorized interception, review, use or disclosure is prohibited and may violate applicable
    laws including the Electronic Communications Privacy Act. If you are not the intended recipient, please contact the


                                                                                             Exhibit A - page 192
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.465 Page 193 of 298


    sender and destroy all copies of the communication.




                                                          Exhibit A - page 193
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.466 Page 194 of 298




                                                         Exhibit A - page 194
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.467 Page 195 of 298




                                                         Exhibit A - page 195
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.468 Page 196 of 298




                                                         Exhibit A - page 196
   Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.469 Page 197 of 298


Cohen, Shawna
                                                                                                           Exhibit C

From:                               Norman, Lisa M.
Sent:                               Wednesday, January 10, 2018 4:27 PM
To:                                 Cohen, Shawna
Subject:                            FW: Confidential Summary of Investigation
Attachments:                        Summary_Investigation.pdf


Hi Shawna, 
Please share with Jeff that we will need to open an inquiry into this related issue involving Daniel. This is an email he 
sent to one of the Board Members as well as to someone named Stacy Carlson? Do you know who that is? 


Respectfully, 
Lisa Norman, Ed.D, J.D. 
Assistant Superintendent/Vice President Human Resources Palomar Community College 
(760) 744‐1150 x2531

“Be the change you wish to see in the world.” 

                                     Gandhi 


‐‐‐‐‐Original Message‐‐‐‐‐ 
From: Finkenthal, Daniel 
Sent: Monday, December 11, 2017 2:12 PM 
To: stacyncarlson <stacyncarlson@yahoo.com> 
Subject: FW: Confidential Summary of Investigation 



‐‐‐‐‐Original Message‐‐‐‐‐ 
From: Finkenthal, Daniel  
Sent: Monday, November 13, 2017 4:27 PM 
To: Deerfield, Nina 
Subject: Confidential Summary of Investigation 

Hello Nina, 
I received this summary of the of the Investigation Report via certified mail. Please do not share with anyone outside the 
Palomar College Governing Board. 

The findings show that there have been ongoing practices of unlawful discrimination in the Physics and Engineering 
Department here at Palomar. It is time for a change, especially given the recent public outcry regarding sexual and 
workplace harassment and discrimination. Please help me by making this a Board priority. 

Thank You, 
Daniel 

======================== 
Daniel Finkenthal, Ph.D. 

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                                                                                        Exhibit A - page 197
   Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.470 Page 198 of 298
Professor and Chair 
Department of Physics and Engineering 
Palomar College 
San Marcos, CA  92069 
 
 
 




                                           2

                                                            Exhibit A - page 198
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                                                         Exhibit A - page 199
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                                                         Exhibit A - page 200
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.473 Page 201 of 298




                                                         Exhibit A - page 201
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.474 Page 202 of 298




                                                         Exhibit A - page 202
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.475 Page 203 of 298




                                                         Exhibit A - page 203
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.476 Page 204 of 298




                                                         Exhibit A - page 204
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.477 Page 205 of 298




                                                         Exhibit A - page 205
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                                                         Exhibit A - page 206
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.479 Page 207 of 298




                                                         Exhibit A - page 207
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.480 Page 208 of 298




                                                         Exhibit A - page 208
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.481 Page 209 of 298




                                                         Exhibit A - page 209
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.482 Page 210 of 298




                                                         Exhibit A - page 210
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.483 Page 211 of 298




                                                         Exhibit A - page 211
   Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.484 Page 212 of 298

                                                                                                 Exhibit D
Cohen, Shawna

From:                             Norman, Lisa M.
Sent:                             Wednesday, January 10, 2018 4:33 PM
To:                               Cohen, Shawna
Subject:                          FW: Fall 2016 Class Cancelations and Adjustments
Attachments:                      image003.jpg; PHYS230_231WarningLetter.pdf.html; Psychological insights for
                                  improved physics teachi.pdf.html; image002.jpg; image001.jpg

Importance:                       High




Respectfully, 
Lisa Norman, Ed.D, J.D. 
Assistant Superintendent/Vice President Human Resources Palomar Community College 
(760) 744‐1150 x2531

“Be the change you wish to see in the world.” 

                                   Gandhi 


‐‐‐‐‐Original Message‐‐‐‐‐ 
From: Finkenthal, Daniel 
Sent: Sunday, December 10, 2017 2:19 PM 
To: stacyncarlson@yahoo.com 
Subject: FW: Fall 2016 Class Cancelations and Adjustments 
Importance: High 



=============== 
Daniel Finkenthal, Ph.D. 
Palomar College 
San Marcos, CA 92069 

________________________________________ 
From: Kailikole, Kathryn L. 
Sent: Friday, December 8, 2017 5:27 PM 
To: Finkenthal, Daniel 
Subject: FW: Fall 2016 Class Cancelations and Adjustments 

From: Kailikole, Kathryn L. 
Sent: Monday, November 20, 2017 7:04 PM 
To: Norman, Lisa M. <lnorman@palomar.edu> 
Cc: Cohen, Shawna <SCohen@palomar.edu>; Kahn, Jack S. <jkahn1@palomar.edu> 
Subject: FW: Fall 2016 Class Cancelations and Adjustments 
Importance: High 

                                                             1

                                                                                  Exhibit A - page 212
   Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.485 Page 213 of 298
 
Hello Lisa, 
 
Bill asked if I sent an email directing the department to not use the Warning Letter.  Please see the email below. 
 
In addition, I sent back the Spring 2017 schedule with changes that the Chair, Takashi Nakajima, was to make.  The 
specific change that is relevant to this case is Item #1. 
 
 
1.       Most critical change.  Split the Physics 230 and 231 labs.  The labs are schedules in the same room with the same 
instructor.  This practice is pedagogically unsound; does not meet with the curriculum requirements and prerequisites; 
and violates articulation agreements.   (If the department wants to have these labs schedule together, provide a 
rationale to Curriculum and Articulation. However there is no guarantee of approval.) 
 
As you can see below, I sent this email to Chair Nakajima on August 17, 2016.  Chair Nakajima decided to have a 
department meeting on September 1, 2016 to discuss the content of the email below.  I was not invited to the meeting.  
However, Daniel Finkenthal did not want the Department to meet without me so he informed my assistant, Debbie 
McBrayer.  At Dr. Finkenthal’s request and at the last minute, I attended the meeting.  The meeting was never scheduled 
in my calendar.  I will be forwarding the meeting notice that Chair Nakajima sent to the permanent faculty in the 
Physics/Engineering department.  Dr. Finkenthal forwarded the email to me when I asked about the meeting since I 
could not find it in my calendar.  The meeting and Item #1 become important because it is at that meeting that I learned 
that NS‐249, a support room, was improperly being used as a lab room.  It was at that meeting that I directed them to 
stop using the room immediately and move the Physics 231 lab into NS‐252, a designated lab room and the room listed 
in the schedule of classes.  And, hence, why I believed that Physics 230 and 231 labs were in the same lab room. NS‐249 
was never listed in the schedule of classes as the location for any of the Physics labs.  You will see in Chair Nakajima’s 
email that he refers to NS‐249 as the “231 lab room.” 
 
From the looks of the room at the end of the academic year 2016‐2017 and the references made by Mr. Nakajima and 
Mr. Gerwig during the June 22, 2017 meeting in VPI Kahn’s office, NS‐249 was still being used as a lab room in the spring 
semester. 
 
Dr. Kathryn Kailikole 
Dean 
Mathematics and the Natural and Health Sciences 
 
Palomar College 
1140 West Mission Road 
San Marcos, CA 92069‐1487 
760‐744‐1150 ext. 2253 
kkailikole@palomar.edu<mailto:kkailikole@palomar.edu> 
[Scr3_ol] 
 
 
 
 
 
From: Kailikole, Kathryn L. 
Sent: Wednesday, August 17, 2016 1:34 PM 
To: Nakajima, Takashi <tnakajima@palomar.edu<mailto:tnakajima@palomar.edu>> 
Cc: Sourbeer, Daniel <DSourbeer@palomar.edu<mailto:DSourbeer@palomar.edu>>; Corona, Abigail 
<acorona@palomar.edu<mailto:acorona@palomar.edu>>; McBrayer, Debra 


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                                                                                     Exhibit A - page 213
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<dmcbrayer@palomar.edu<mailto:dmcbrayer@palomar.edu>>; Physics Permanent Faculty 
<PhysicsPermanentFaculty@palomar.edu<mailto:PhysicsPermanentFaculty@palomar.edu>> 
Subject: RE: Fall 2016 Class Cancelations and Adjustments 
 
Hello Takashi, 
 
I know that student success matters to all of us at Palomar College.  For Physics 230, many students enroll in the course 
but for the last five semesters, at least, less than 20% completed the course with a C or better.  I appreciate the time and 
energy that you put into working with the subset of students who succeed.  You have had great success with some of 
your students.  However, we also must ensure that all of our students have the opportunity to learn and succeed.  A 
single pedagogic approach does not work for all students.  The use of the “Warning Letter” attached to this email and 
other strategies utilized in Physics 230 can have detrimental effects on students particularly our most vulnerable – 
Veterans, students with disabilities and underrepresented minority students.  In such a small department, students with 
diverse and different learning needs have had no other option to take a Physics 230 class with a different pedagogic 
strategy.  Under these conditions, students have been voting with their feet and going to other colleges to complete 
their physics requirements.  Unfortunately, also under these conditions, our own student support services at Palomar 
College counsel the students away from our Physics Department.  I don’t believe any of us want this to happen.  The 
learning community is a pedagogic strategy utilized at Palomar College in other disciplines and has been used and 
studied nationally.  This pedagogic strategy has been found to work very well for disproportionately impacted groups 
(Veterans, students with disabilities and underrepresented minority students).  Instruction is addressing the needs of 
our diverse student body and allowing our faculty the opportunity to exercise their ability to use and engage in different 
pedagogic strategies. 
 
Thank you for agreeing to remove the “Warning Letter” from the PEPSO website.  As we discussed in our last meeting, 
we cannot require the students to sign the letter to be in the class – we are an open access campus.  Please ensure that 
all of the faculty in the department are aware that they should not be using the warning letter in this way.  As we 
discussed, the letter contains inflammatory language, unsubstantiated and unsupportable statements, and some items 
conflict with the mission and goals of Palomar College. I have also attached an article on Stereotype Threat in Physics.  
Research on stereotype threat has been conducted for years at Stanford University and has yielded great improvements 
in teaching and learning strategies in STEM fields.  The article and the research discussed is very good and informative.  I 
am trying to see if we can also get faculty copies of the recent publication from the National Academies, Barriers and 
Opportunities for 2‐Year and 4‐Year STEM Degrees: Systemic Change to Support Students’ Diverse Pathways.  As we 
begin this academic year, I look forward to working with the department to build and repair relationships with others in 
the Palomar College community and CSUSM. 
Instruction will be continuing the learning communities in Physics for the spring semester.  We are sending the spring 
semester schedule back to the department for the following changes: 
 
 
1.       Most critical change.  Split the Physics 230 and 231 labs.  The labs are schedules in the same room with the same 
instructor.  This practice is pedagogically unsound; does not meet with the curriculum requirements and prerequisites; 
and violates articulation agreements.   (If the department wants to have these labs schedule together, provide a 
rationale to Curriculum and Articulation. However there is no guarantee of approval.) 
 
2.       Schedule a Physics 231 lecture and connected lab with Daniel Finkenthal as instructor. Once this scheduled, 
Mathematics will schedule a corresponding SI course. 
 
3.       Schedule a Physics 230 lecture and connected lab with Hector Garcia Villa as instructor. Once this scheduled, 
Mathematics will schedule a corresponding SI course. 
 
I appreciate your time regarding this matter. 
 
Sincerely, 

                                                             3

                                                                                       Exhibit A - page 214
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Kathy 
 
Dr. Kathryn Kailikole 
Interim Dean 
Mathematics and the Natural and Health Sciences 
 
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1140 West Mission Road 
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760‐744‐1150 ext. 2253 
kkailikole@palomar.edu<mailto:kkailikole@palomar.edu> 
[Scr3_ol._70%] 
 
 
 
From: Nakajima, Takashi 
Sent: Thursday, August 11, 2016 1:08 PM 
To: Kailikole, Kathryn L. <kkailikole@palomar.edu<mailto:kkailikole@palomar.edu>> 
Cc: Sourbeer, Daniel <DSourbeer@palomar.edu<mailto:DSourbeer@palomar.edu>>; Corona, Abigail 
<acorona@palomar.edu<mailto:acorona@palomar.edu>>; McBrayer, Debra 
<dmcbrayer@palomar.edu<mailto:dmcbrayer@palomar.edu>>; Physics Permanent Faculty 
<PhysicsPermanentFaculty@palomar.edu<mailto:PhysicsPermanentFaculty@palomar.edu>> 
Subject: Re: Fall 2016 Class Cancelations and Adjustments 
 
 
Kathryn, 
 
 
 
You email did not answer all of my questions plus gave me more questions. 
 
 
 
You wrote: 
 
Hector and the students will be supported by additional scaffolds through CSUSM funding, 
 
 
 
Exactly what are “additional scaffolds through CSUSM funding”?  Once again, why was I not informed about this?  When 
did this “team teaching” idea start?   I do not think the idea started a few days ago.  Then, why did you wait this long?  
Had we known, we could’ve discussed in the department and could’ve requested proper supports we need for 230.  
Who decided what Hector needed for 230? 
 
 
 
You also mentioned that Hector will teach 231 in spring.  Let me remind you that his first priority is to take care of 
Physical Science.  He is going to try out new set of Physical Science lab exercises in fall and it will take at least two to 
three semesters before he can feel comfortable to pass it on to other instructors.  I am sure that Hector wants to do the 
best job possible on whatever he does.  However, assigning him to teach 231, which he has never taught before, will 
give him an extra pressure/burden on him. I do not think it is a good idea to give him this much of work on a newly hired 

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                                                                                       Exhibit A - page 215
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person and this is not a good way to welcome him. Did you ever think how much additional time he will have to spend to 
prepare for 231 lecture and lab besides keep working on PHSC lab experiments? It will take at least 3 hours of 
preparation/1 hour of lecture – Hence, 12 hours plus 3 hours/lab.  This means he will be spending minimum of 15 extra 
hours per week for 231.  We need to come up with a better way. 
 
 
 
Once again, your/VP’s idea could have been a good idea had it been brought to the department, discussed, well thought 
out, and implemented.  Now, I see this as an only extra pressure on Hector. 
 
 
 
Please answer ALL of my questions this time. 
 
 
 
Takashi 
 
 
 
________________________________ 
From: Kailikole, Kathryn L. 
Sent: Wednesday, August 10, 2016 6:43 PM 
To: Nakajima, Takashi 
Cc: Sourbeer, Daniel; Corona, Abigail; McBrayer, Debra; Physics Permanent Faculty 
Subject: RE: Fall 2016 Class Cancelations and Adjustments 
 
Hello Takashi, 
 
We did consider the questions that you raised.  The VP of Instruction has given this project his full support.  For the short 
turnaround, this project has long term benefits and builds the relationship with CSUSM.  And, we can utilize the CSUSM 
funding now before the end of the grant this year. 
 
Hector has 30 students in his lecture 72943; 19 of which are in his lecture and his lab. 
 
There are 12 extra students in his lecture that are in four other labs: 
2 in 72940, 
2 in 72941, 
4 in 72942, and 
4 in 72946. 
 
He has 21 students in his lab 72944; 19 in his lecture and 3 in 72939 Lecture. 
 
Five spaces will then be open in Hector’s lecture and lab.  So five students can still enroll in his lecture/lab.  As stated 
below, Hector and the students will be supported by additional scaffolds through CSUSM funding, and have the 
opportunity to continue to stay together in a productive learning community in the spring. 
 
Abby can work with the Outreach Ambassador project that was piloted this summer with the ADA’s to help students to 
adjust their classes.  The Outreach Ambassadors work with ADA’s and Counseling to support the students in the process 
of adjusting classes.  The project is successful, and students have been proactively and positively guided through this 
process.  If Abby needs additional assistance, she may speak with Debbie to ask for Cynthia’s or Maria’s help. 
 

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Learning from this project, building the relationship with CSUSM and developing more opportunities such as this project 
would be great discussions for the department to have. 
 
Sincerely, 
 
Kathryn 
 
Dr. Kathryn Kailikole 
Interim Dean 
Mathematics and the Natural and Health Sciences 
 
Palomar College 
1140 West Mission Road 
San Marcos, CA 92069‐1487 
760‐744‐1150 ext. 2253 
kkailikole@palomar.edu<mailto:kkailikole@palomar.edu> 
[Scr3_ol._70%] 
 
 
 
From: Nakajima, Takashi 
Sent: Wednesday, August 10, 2016 2:56 PM 
To: Kailikole, Kathryn L. <kkailikole@palomar.edu<mailto:kkailikole@palomar.edu>> 
Cc: Sourbeer, Daniel <DSourbeer@palomar.edu<mailto:DSourbeer@palomar.edu>>; Corona, Abigail 
<acorona@palomar.edu<mailto:acorona@palomar.edu>>; McBrayer, Debra 
<dmcbrayer@palomar.edu<mailto:dmcbrayer@palomar.edu>>; Physics Permanent Faculty 
<PhysicsPermanentFaculty@palomar.edu<mailto:PhysicsPermanentFaculty@palomar.edu>> 
Subject: Re: Fall 2016 Class Cancelations and Adjustments 
 
 
Kathryn, 
 
 
 
There are questions I need you to answer regarding this community learning idea. 
 
 
 
1.  Why are you implementing this late?  There are only 12 days left before the fall semester starts.  Notifying students 
this late, lots of students may not be able to adjust their class and work schedules.  Your idea will affect students in both 
lecture and lab ‐ lecture students who are not taking Hector's lab will have to change their lab schedules and lab 
students who are in Hector's lab, but not in his lecture will be forced out of the lab. Currently there are thirty students 
enrolled in his lecture.  I do not think it is fair nor good practice to kick out six students from his lecture. Did you ever 
think that this change would create confusion/anger/inconvenience to students currently enrolled in 230 program?   I do 
not think it is a good idea to disturb their schedules at this point. 
 
 
 
2.  If you want us to have a community learning, should you not discuss with us first so that we can plan, agree, and 
implement?  Why was I, as a department chair, not informed about this? 
 
 

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3.  Can we discuss this within the department so that we can implement successfully in spring 2017 or fall 2017? 
 
 
 
4.  Lastly, it is very unfair to ask Abby to call and assist those students while she is busy preparing for fall 2016. 
 
 
 
Takashi 
 
 
 
________________________________ 
From: Kailikole, Kathryn L. 
Sent: Wednesday, August 10, 2016 12:16 PM 
To: Nakajima, Takashi 
Cc: Sourbeer, Daniel; Corona, Abigail; McBrayer, Debra 
Subject: Fall 2016 Class Cancelations and Adjustments 
 
Hi Takashi, 
 
The following Fall 2016 course is to be canceled due to low enrollment. 
 
72881 
 
13 
 
11 
 
LEC 
 
PHYS 
 
101 
 
TTH 
 
12.45 pm 
 
2.10 pm 
 
8/22/16 
 
12/17/16 
 
0216 
 
20 
 
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                                                                                         Exhibit A - page 218
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NS‐258 
 
H 
 
Pouladdej,Alix Hibba 
 
72886 
 
13 
 
13 
 
LEC 
 
PHYS 
 
102 
 
TTH 
 
12.45 pm 
 
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12/17/16 
 
0216 
 
16 
 
3 
 
NS‐258 
 
NOP 
 
Pouladdej,Alix Hibba 
 
 
We are going to pilot a Learning Community in Physics 230 in the fall and 231 in the spring, working with CSUSM STEP.  
Hector is the logical choice in developing and building that relationship with CSUSM.  We are working with the Math 
department to schedule a support math used in physics supplemental instruction.  The Math faculty assigned to this 
class will work with Hector to design math content review and support.  To achieve this Learning Community, Abby will 
keep all students that are enrolled in both Hector’s lecture and lab (listed below); the lecture will be capped at 24 to 
match the lab.  Students in the lecture or lab but not both should be notified that they must enroll in another lecture or 
lab.  They can also opt to take both Hector’s lecture and lab.  All students currently enrolled should be notified that we 
are piloting a Physics Learning Community for PHYS 230/231 so that they know that they can continue with the Learning 
Community in the spring.  Hector and the math faculty will also be provided trained Learning Assistants funded by 
CSUSM STEP.  We are excited about improving and growing the relationship with CSUSM as you had expressed during 
the faculty search this past spring. 

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72943 
 
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11 
 
LEC 
 
PHYS 
 
230 
 
MW 
 
2.45 pm 
 
4.50 pm 
 
8/22/16 
 
###### 
 
 
 
36 
 
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NS‐258 
 
CRC 
 
Garcia Villa,Hector 
 
72944 
 
16 
 
11 
 
LAB 
 
PHYS 
 
230 
 
TUE 

                                           9

                                                            Exhibit A - page 220
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2.40 pm 
 
5.50 pm 
 
8/22/16 
 
###### 
 
 
 
24 
 
21 
 
0 
 
0 
 
NS‐252 
 
CRC 
 
Garcia Villa,Hector 
 
 
Thank you, 
 
Kathy 
 
Dr. Kathryn Kailikole 
Interim Dean 
Mathematics and the Natural and Health Sciences 
 
Palomar College 
1140 West Mission Road 
San Marcos, CA 92069‐1487 
760‐744‐1150 ext. 2253 
kkailikole@palomar.edu<mailto:kkailikole@palomar.edu> 
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                                                                                                       Exhibit E
Cohen, Shawna

From:                              Norman, Lisa M.
Sent:                              Wednesday, January 10, 2018 4:35 PM
To:                                Cohen, Shawna
Subject:                           FW: Fall 2016 Class Cancelations and Adjustments
Attachments:                       PHYS230_231WarningLetter.pdf.html; Psychological insights for improved physics
                                   teachi.pdf.html

Importance:                        High




Respectfully,
Lisa Norman, Ed.D, J.D.
Assistant Superintendent/Vice President Human Resources
Palomar Community College
(760) 744-1150 x2531

“Be the change you wish to see in the world.”

                                                      Gandhi

From: Kailikole, Kathryn L.  
Sent: Friday, December 8, 2017 5:28 PM 
To: Finkenthal, Daniel <DFinkenthal@palomar.edu> 
Subject: FW: Fall 2016 Class Cancelations and Adjustments 
Importance: High 




From: Kailikole, Kathryn L.  
Sent: Monday, November 20, 2017 7:04 PM 
To: Norman, Lisa M.  
Cc: Cohen, Shawna ; Kahn, Jack S.  
Subject: FW: Fall 2016 Class Cancelations and Adjustments 
Importance: High 

Hello Lisa, 

Bill asked if I sent an email directing the department to not use the Warning Letter. Please see the email below. 

In addition, I sent back the Spring 2017 schedule with changes that the Chair, Takashi Nakajima, was to make. The 
specific change that is relevant to this case is Item #1. 

    1. Most critical change. Split the Physics 230 and 231 labs. The labs are schedules in the same room with the same
       instructor. This practice is pedagogically unsound; does not meet with the curriculum requirements and

                                                             1

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        prerequisites; and violates articulation agreements. (If the department wants to have these labs schedule 
        together, provide a rationale to Curriculum and Articulation. However there is no guarantee of approval.) 
 
As you can see below, I sent this email to Chair Nakajima on August 17, 2016. Chair Nakajima decided to have a 
department meeting on September 1, 2016 to discuss the content of the email below. I was not invited to the meeting. 
However, Daniel Finkenthal did not want the Department to meet without me so he informed my assistant, Debbie 
McBrayer. At Dr. Finkenthal’s request and at the last minute, I attended the meeting. The meeting was never scheduled 
in my calendar. I will be forwarding the meeting notice that Chair Nakajima sent to the permanent faculty in the 
Physics/Engineering department. Dr. Finkenthal forwarded the email to me when I asked about the meeting since I 
could not find it in my calendar. The meeting and Item #1 become important because it is at that meeting that I learned 
that NS‐249, a support room, was improperly being used as a lab room. It was at that meeting that I directed them to 
stop using the room immediately and move the Physics 231 lab into NS‐252, a designated lab room and the room listed 
in the schedule of classes. And, hence, why I believed that Physics 230 and 231 labs were in the same lab room. NS‐249 
was never listed in the schedule of classes as the location for any of the Physics labs. You will see in Chair Nakajima’s 
email that he refers to NS‐249 as the “231 lab room.”  
 
From the looks of the room at the end of the academic year 2016‐2017 and the references made by Mr. Nakajima and 
Mr. Gerwig during the June 22, 2017 meeting in VPI Kahn’s office, NS‐249 was still being used as a lab room in the spring 
semester. 
 
Dr. Kathryn Kailikole 
Dean 
Mathematics and the Natural and Health Sciences 
 
Palomar College 
1140 West Mission Road 
San Marcos, CA 92069‐1487 
760‐744‐1150 ext. 2253 
kkailikole@palomar.edu 




                                      
 
 
 
 
 
From: Kailikole, Kathryn L.  
Sent: Wednesday, August 17, 2016 1:34 PM 
To: Nakajima, Takashi <tnakajima@palomar.edu> 
Cc: Sourbeer, Daniel <DSourbeer@palomar.edu>; Corona, Abigail <acorona@palomar.edu>; McBrayer, Debra 
<dmcbrayer@palomar.edu>; Physics Permanent Faculty <PhysicsPermanentFaculty@palomar.edu> 
Subject: RE: Fall 2016 Class Cancelations and Adjustments  
 
Hello Takashi, 
 
I know that student success matters to all of us at Palomar College. For Physics 230, many students enroll in the course 
but for the last five semesters, at least, less than 20% completed the course with a C or better. I appreciate the time and 
                                                             2

                                                                                      Exhibit A - page 223
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energy that you put into working with the subset of students who succeed. You have had great success with some of 
your students. However, we also must ensure that all of our students have the opportunity to learn and succeed. A 
single pedagogic approach does not work for all students. The use of the “Warning Letter” attached to this email and 
other strategies utilized in Physics 230 can have detrimental effects on students particularly our most vulnerable – 
Veterans, students with disabilities and underrepresented minority students. In such a small department, students with 
diverse and different learning needs have had no other option to take a Physics 230 class with a different pedagogic 
strategy. Under these conditions, students have been voting with their feet and going to other colleges to complete 
their physics requirements. Unfortunately, also under these conditions, our own student support services at Palomar 
College counsel the students away from our Physics Department. I don’t believe any of us want this to happen. The 
learning community is a pedagogic strategy utilized at Palomar College in other disciplines and has been used and 
studied nationally. This pedagogic strategy has been found to work very well for disproportionately impacted groups 
(Veterans, students with disabilities and underrepresented minority students). Instruction is addressing the needs of our 
diverse student body and allowing our faculty the opportunity to exercise their ability to use and engage in different 
pedagogic strategies. 

Thank you for agreeing to remove the “Warning Letter” from the PEPSO website. As we discussed in our last meeting, 
we cannot require the students to sign the letter to be in the class – we are an open access campus. Please ensure that 
all of the faculty in the department are aware that they should not be using the warning letter in this way. As we 
discussed, the letter contains inflammatory language, unsubstantiated and unsupportable statements, and some items 
conflict with the mission and goals of Palomar College. I have also attached an article on Stereotype Threat in Physics. 
Research on stereotype threat has been conducted for years at Stanford University and has yielded great improvements 
in teaching and learning strategies in STEM fields. The article and the research discussed is very good and informative. I 
am trying to see if we can also get faculty copies of the recent publication from the National Academies, Barriers and 
Opportunities for 2‐Year and 4‐Year STEM Degrees: Systemic Change to Support Students’ Diverse Pathways. As we begin 
this academic year, I look forward to working with the department to build and repair relationships with others in the 
Palomar College community and CSUSM. 

Instruction will be continuing the learning communities in Physics for the spring semester. We are sending the spring 
semester schedule back to the department for the following changes: 
 
    1. Most critical change. Split the Physics 230 and 231 labs. The labs are schedules in the same room with the same 
         instructor. This practice is pedagogically unsound; does not meet with the curriculum requirements and 
         prerequisites; and violates articulation agreements. (If the department wants to have these labs schedule 
         together, provide a rationale to Curriculum and Articulation. However there is no guarantee of approval.) 
    2. Schedule a Physics 231 lecture and connected lab with Daniel Finkenthal as instructor. Once this scheduled, 
         Mathematics will schedule a corresponding SI course. 
    3. Schedule a Physics 230 lecture and connected lab with Hector Garcia Villa as instructor. Once this scheduled, 
         Mathematics will schedule a corresponding SI course. 
 
I appreciate your time regarding this matter. 
 
Sincerely, 
 
Kathy  
 
Dr. Kathryn Kailikole 
Interim Dean 
Mathematics and the Natural and Health Sciences 
 
Palomar College 
1140 West Mission Road 
San Marcos, CA 92069‐1487 
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760‐744‐1150 ext. 2253 
kkailikole@palomar.edu 




                                     
 
 
 
From: Nakajima, Takashi  
Sent: Thursday, August 11, 2016 1:08 PM 
To: Kailikole, Kathryn L. <kkailikole@palomar.edu> 
Cc: Sourbeer, Daniel <DSourbeer@palomar.edu>; Corona, Abigail <acorona@palomar.edu>; McBrayer, Debra 
<dmcbrayer@palomar.edu>; Physics Permanent Faculty <PhysicsPermanentFaculty@palomar.edu> 
Subject: Re: Fall 2016 Class Cancelations and Adjustments  
 
Kathryn, 
 
You email did not answer all of my questions plus gave me more questions. 
 
You wrote:  
Hector and the students will be supported by additional scaffolds through CSUSM funding, 
 
Exactly what are “additional scaffolds through CSUSM funding”? Once again, why was I not informed about 
this? When did this “team teaching” idea start? I do not think the idea started a few days ago. Then, why did 
you wait this long? Had we known, we could’ve discussed in the department and could’ve requested proper 
supports we need for 230. Who decided what Hector needed for 230? 
 
You also mentioned that Hector will teach 231 in spring. Let me remind you that his first priority is to take care 
of Physical Science. He is going to try out new set of Physical Science lab exercises in fall and it will take at least 
two to three semesters before he can feel comfortable to pass it on to other instructors. I am sure that Hector 
wants to do the best job possible on whatever he does. However, assigning him to teach 231, which he has 
never taught before, will give him an extra pressure/burden on him. I do not think it is a good idea to give him 
this much of work on a newly hired person and this is not a good way to welcome him. Did you ever think how 
much additional time he will have to spend to prepare for 231 lecture and lab besides keep working on PHSC 
lab experiments? It will take at least 3 hours of preparation/1 hour of lecture – Hence, 12 hours plus 3 
hours/lab. This means he will be spending minimum of 15 extra hours per week for 231. We need to come up 
with a better way. 
 
Once again, your/VP’s idea could have been a good idea had it been brought to the department, discussed, 
well thought out, and implemented. Now, I see this as an only extra pressure on Hector. 
 
Please answer ALL of my questions this time. 
 
Takashi 
 
                                                           4

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From: Kailikole, Kathryn L. 
Sent: Wednesday, August 10, 2016 6:43 PM 
To: Nakajima, Takashi 
Cc: Sourbeer, Daniel; Corona, Abigail; McBrayer, Debra; Physics Permanent Faculty 
Subject: RE: Fall 2016 Class Cancelations and Adjustments  
 
Hello Takashi, 
 
We did consider the questions that you raised. The VP of Instruction has given this project his full support. For the short 
turnaround, this project has long term benefits and builds the relationship with CSUSM. And, we can utilize the CSUSM 
funding now before the end of the grant this year. 
 
Hector has 30 students in his lecture 72943; 19 of which are in his lecture and his lab.  
 
There are 12 extra students in his lecture that are in four other labs:  
2 in 72940,  
2 in 72941,  
4 in 72942, and  
4 in 72946. 
 
He has 21 students in his lab 72944; 19 in his lecture and 3 in 72939 Lecture. 
 
Five spaces will then be open in Hector’s lecture and lab. So five students can still enroll in his lecture/lab. As stated 
below, Hector and the students will be supported by additional scaffolds through CSUSM funding, and have the 
opportunity to continue to stay together in a productive learning community in the spring. 
 
Abby can work with the Outreach Ambassador project that was piloted this summer with the ADA’s to help students to 
adjust their classes. The Outreach Ambassadors work with ADA’s and Counseling to support the students in the process 
of adjusting classes. The project is successful, and students have been proactively and positively guided through this 
process. If Abby needs additional assistance, she may speak with Debbie to ask for Cynthia’s or Maria’s help. 
 
Learning from this project, building the relationship with CSUSM and developing more opportunities such as this project 
would be great discussions for the department to have. 
 
Sincerely, 
 
Kathryn 
 
Dr. Kathryn Kailikole 
Interim Dean 
Mathematics and the Natural and Health Sciences 
 
Palomar College 
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From: Nakajima, Takashi  
Sent: Wednesday, August 10, 2016 2:56 PM 
To: Kailikole, Kathryn L. <kkailikole@palomar.edu> 
Cc: Sourbeer, Daniel <DSourbeer@palomar.edu>; Corona, Abigail <acorona@palomar.edu>; McBrayer, Debra 
<dmcbrayer@palomar.edu>; Physics Permanent Faculty <PhysicsPermanentFaculty@palomar.edu> 
Subject: Re: Fall 2016 Class Cancelations and Adjustments  
 
Kathryn, 
 
There are questions I need you to answer regarding this community learning idea. 
 
1. Why are you implementing this late? There are only 12 days left before the fall semester starts. Notifying 
students this late, lots of students may not be able to adjust their class and work schedules. Your idea will 
affect students in both lecture and lab ‐ lecture students who are not taking Hector's lab will have to change 
their lab schedules and lab students who are in Hector's lab, but not in his lecture will be forced out of the lab. 
Currently there are thirty students enrolled in his lecture. I do not think it is fair nor good practice to kick out 
six students from his lecture. Did you ever think that this change would create confusion/anger/inconvenience 
to students currently enrolled in 230 program? I do not think it is a good idea to disturb their schedules at this 
point. 
 
2. If you want us to have a community learning, should you not discuss with us first so that we can plan, agree, 
and implement? Why was I, as a department chair, not informed about this?  
 
3. Can we discuss this within the department so that we can implement successfully in spring 2017 or fall 
2017? 
 
4. Lastly, it is very unfair to ask Abby to call and assist those students while she is busy preparing for fall 2016.  
 
Takashi 
 

From: Kailikole, Kathryn L. 
Sent: Wednesday, August 10, 2016 12:16 PM 
To: Nakajima, Takashi 
Cc: Sourbeer, Daniel; Corona, Abigail; McBrayer, Debra 
Subject: Fall 2016 Class Cancelations and Adjustments  
 
Hi Takashi, 
 
The following Fall 2016 course is to be canceled due to low enrollment. 
                                                            6

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    72881  13  11  LEC  PHYS  101  TTH  12.45       2.10    8/22/16  12/17/16  0216  20    5    NS-258    H      Pouladdej,Alix
                                        pm          pm                                                           Hibba 
    72886  13  13  LEC  PHYS  102  TTH  12.45       2.10    8/22/16  12/17/16  0216  16    3    NS-258    NOP    Pouladdej,Alix
                                        pm          pm                                                           Hibba 
 
We are going to pilot a Learning Community in Physics 230 in the fall and 231 in the spring, working with CSUSM STEP. 
Hector is the logical choice in developing and building that relationship with CSUSM. We are working with the Math 
department to schedule a support math used in physics supplemental instruction. The Math faculty assigned to this class 
will work with Hector to design math content review and support. To achieve this Learning Community, Abby will keep 
all students that are enrolled in both Hector’s lecture and lab (listed below); the lecture will be capped at 24 to match 
the lab. Students in the lecture or lab but not both should be notified that they must enroll in another lecture or lab. 
They can also opt to take both Hector’s lecture and lab. All students currently enrolled should be notified that we are 
piloting a Physics Learning Community for PHYS 230/231 so that they know that they can continue with the Learning 
Community in the spring. Hector and the math faculty will also be provided trained Learning Assistants funded by 
CSUSM STEP. We are excited about improving and growing the relationship with CSUSM as you had expressed during 
the faculty search this past spring. 
                                                                                  
  72943  15  11  LEC  PHYS  230  MW  2.45              4.50    8/22/16  ######            36         30     0     0   NS-258      CRC 
                                               pm      pm 
                                                                                  
  72944  16  11  LAB  PHYS  230  TUE  2.40             5.50    8/22/16  ######            24         21     0     0   NS-252      CRC 
                                               pm      pm 
 
Thank you, 
 
Kathy 
 
Dr. Kathryn Kailikole 
Interim Dean 
Mathematics and the Natural and Health Sciences 
 
Palomar College 
1140 West Mission Road 
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                                                                                                     Exhibit F
Cohen, Shawna

From:                             Norman, Lisa M.
Sent:                             Wednesday, January 10, 2018 4:36 PM
To:                               Cohen, Shawna
Subject:                          FW: Internship


This appears to be the phone call before the emails got distributed to him 


Respectfully,
Lisa Norman, Ed.D, J.D.
Assistant Superintendent/Vice President Human Resources
Palomar Community College
(760) 744-1150 x2531

“Be the change you wish to see in the world.”

                                                      Gandhi

From: Finkenthal, Daniel  
Sent: Friday, December 8, 2017 4:47 PM 
To: Kailikole, Kathryn L. <kkailikole@palomar.edu> 
Subject: RE: Internship  

If you are on campus can you call me at 2974? 

From: Kailikole, Kathryn L.
Sent: Friday, December 08, 2017 4:46 PM
To: Finkenthal, Daniel; Gutierrez-Aguero, Mireya; Nguyen, Quan H.
Subject: RE: Internship

Sounds good. I defer to you and Quan. 

Kathy 

From: Finkenthal, Daniel  
Sent: Friday, December 8, 2017 4:45 PM 
To: Kailikole, Kathryn L. <kkailikole@palomar.edu>; Gutierrez‐Aguero, Mireya <mgutierrez‐aguero@palomar.edu>; 
Nguyen, Quan H. <qnguyen@palomar.edu> 
Subject: RE: Internship  

Ok, I’m just concerned that he may be over‐qualified since he appears to have lots of experience in avionics from the 
Marine Corp. I’ll try to arrange a meeting together with Quan after his class. 

From: Kailikole, Kathryn L.
Sent: Friday, December 08, 2017 4:40 PM
To: Finkenthal, Daniel; Gutierrez-Aguero, Mireya; Nguyen, Quan H.
Subject: RE: Internship
                                                            1

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I am okay with adding him if after you meet you feel he will be a good addition. 
 
Kathy 
Dr. Kathryn Kailikole 
Dean 
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Palomar College 
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kkailikole@palomar.edu 




                                      
 
 
 
 
 
From: Finkenthal, Daniel  
Sent: Friday, December 8, 2017 4:31 PM 
To: Kailikole, Kathryn L. <kkailikole@palomar.edu>; Gutierrez‐Aguero, Mireya <mgutierrez‐aguero@palomar.edu>; 
Nguyen, Quan H. <qnguyen@palomar.edu> 
Subject: FW: Internship  
 
Hi Folks, 
I just got this. I believe the student is referring to the Winter Camp. Is there any chance we can accommodate him? I 
want to meet with him to discuss his plans either way. 
 
‐‐Daniel 
 
From: randy parker [mailto:randyp202088@gmail.com]
Sent: Thursday, December 07, 2017 9:28 PM
To: Finkenthal, Daniel
Subject: Internship
 
Hello Dr. Finkenthal,  
 
I am Randy Parker and I am interested in the internship that is being offered over the winter break. I was just told about 
this last week and wanted to talk to you asap. I have been trying to make time in my schedule to come by and talk to you 
in person but sadly the only day available was this Friday. Since school is closed I figured this would be the next best 
way. I have enclosed a resume. I am currently in Professor Takashi’s Physics 230 class. My major is electrical engineering 
and plan to transfer next year to SDSU. Let me know if there is anything else that you will need. 
 
Thank you very much, 
Randy Parker 
                                                            2

                                                                                     Exhibit A - page 230
    Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.503 Page 231 of 298


Cohen, Shawna
                                                                                     Exhibit G

From:                               Norman, Lisa M.
Sent:                               Wednesday, January 10, 2018 4:39 PM
To:                                 Cohen, Shawna
Subject:                            FW: Message from F6KLP01
Attachments:                        SF6KLP0117120521420.pdf


Stacy Carlson is Daniel’s wife.  


Respectfully,
Lisa Norman, Ed.D, J.D.
Assistant Superintendent/Vice President Human Resources
Palomar Community College
(760) 744-1150 x2531

“Be the change you wish to see in the world.”

                                                     Gandhi

From: F6@palomar.edu [mailto:F6@palomar.edu]  
Sent: Tuesday, December 5, 2017 8:43 PM 
To: Finkenthal, Daniel <DFinkenthal@palomar.edu> 
Subject: Message from F6KLP01 




                                                           1

                                                                          Exhibit A - page 231
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.504 Page 232 of 298




                                                    90-8150
              DANIEL FINKENTHAL                      3222
                                                              12

              STACY CARLSON-FINKENTHAL
                                                    DATE




                                                                   Exhibit A - page 232
    Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.505 Page 233 of 298

                                                                                                          Exhibit H
Cohen, Shawna

From:                              Norman, Lisa M.
Sent:                              Wednesday, January 10, 2018 4:35 PM
To:                                Cohen, Shawna
Subject:                           FW: Palomar Physics Department safety concern

Importance:                        High




Respectfully,
Lisa Norman, Ed.D, J.D.
Assistant Superintendent/Vice President Human Resources
Palomar Community College
(760) 744-1150 x2531

“Be the change you wish to see in the world.”

                                                      Gandhi

From: Kailikole, Kathryn L.  
Sent: Friday, December 8, 2017 5:26 PM 
To: Finkenthal, Daniel <DFinkenthal@palomar.edu> 
Subject: FW: Palomar Physics Department safety concern 
Importance: High 




From: Kailikole, Kathryn L.  
Sent: Tuesday, November 21, 2017 4:00 PM 
To: Norman, Lisa M.  
Cc: Kahn, Jack S.  
Subject: FW: Palomar Physics Department safety concern 
Importance: High 

Lisa, 

Please find the first email regarding the video that a student took of the lab in which an airsoft gun was being used. 
When I met with the student she informed me that she knew how to handle guns and that what she witnessed in the 
physics lab disturbed her. Hence, she reported it to the Dean. This first email is her accounting of what transpired in the 
physics lab. Please refrain from using the student’s name. 

Thank you, 
Kathy 
Dr. Kathryn Kailikole 
Dean 

                                                             1

                                                                                       Exhibit A - page 233
   Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.506 Page 234 of 298
Mathematics and the Natural and Health Sciences 

Palomar College 
1140 West Mission Road 
San Marcos, CA 92069‐1487 
760‐744‐1150 ext. 2253 
kkailikole@palomar.edu 




From: sfriends4957  
Sent: Tuesday, April 19, 2016 12:57 PM 
To: Kailikole, Kathryn L. <kkailikole@palomar.edu> 
Subject: Palomar Physics Department safety concern 

Hello Ms. Kailikole,
I spoke with you earlier today, April 19th, about a safety concern I had regarding my Physics 230 lab class. My name is
Shelby Friends. I am sending you what I witnessed in class, my "incident report" if you will.
We were conducting a rotational inertia lab, as part of the calculations we needed to deduce we were required to pick a
point of origin. To do such my professor, Takashi Nakajima, had us use an airsoft gun, which he called a BB gun. He
pulled out the gun and loaded it, after making sure the class knew how the gun worked, he then cocked it and handed it
to a student pointing the gun at the student in the process. He then left the students to shoot the gun while he sat in the
back of the class conversing with students and other professors, not paying attention to the transactions with the gun
between students. There was no safety lecture given on how to handle the gun or what not to do with it, ie. not to point
the gun at anyone or to keep your finger off the trigger until ready to shoot. Also, no student was required to wear safety
glasses. Due to this lack of safety knowledge several students were almost shot. Also since we shot the gun indoors,
there was a ricochet and students were in charge of keeping track of the pellet, however students who shot the gun
would sometimes get hit with the ricochet or just nearly.
Also, we discussed the Physics department as a whole and I thought it might be helpful to leave the Physics 230 website
for you. There is where you will find the Warning letter that we are required to sign at the start of the class.
http://pcpepso.com/physics/phys230/
Thank you so much for taking the time to listen today and for reading this email.
If you have any questions for me, please ask.
Thanks again,
Shelby Friends




                                                             2

                                                                                      Exhibit A - page 234
   Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.507 Page 235 of 298

                                                                                               Exhibit I
Cohen, Shawna

From:                             Norman, Lisa M.
Sent:                             Wednesday, January 10, 2018 4:33 PM
To:                               Cohen, Shawna
Subject:                          FW: Palomar Physics Department safety concern
Attachments:                      image001.jpg

Importance:                       High




Respectfully, 
Lisa Norman, Ed.D, J.D. 
Assistant Superintendent/Vice President Human Resources Palomar Community College 
(760) 744‐1150 x2531

“Be the change you wish to see in the world.” 

                                   Gandhi 


‐‐‐‐‐Original Message‐‐‐‐‐ 
From: Finkenthal, Daniel 
Sent: Sunday, December 10, 2017 2:19 PM 
To: stacyncarlson@yahoo.com 
Subject: FW: Palomar Physics Department safety concern 
Importance: High 



=============== 
Daniel Finkenthal, Ph.D. 
Palomar College 
San Marcos, CA 92069 

________________________________________ 
From: Kailikole, Kathryn L. 
Sent: Friday, December 8, 2017 5:25 PM 
To: Finkenthal, Daniel 
Subject: FW: Palomar Physics Department safety concern 

From: Kailikole, Kathryn L. 
Sent: Tuesday, November 21, 2017 4:00 PM 
To: Norman, Lisa M. <lnorman@palomar.edu> 
Cc: Kahn, Jack S. <jkahn1@palomar.edu> 
Subject: FW: Palomar Physics Department safety concern 
Importance: High 


                                                          1

                                                                                  Exhibit A - page 235
   Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.508 Page 236 of 298
Lisa, 
 
Please find the first email regarding the video that a student took of the lab in which an airsoft gun was being used.  
When I met with the student she informed me that she knew how to handle guns and that what she witnessed in the 
physics lab disturbed her.  Hence, she reported it to the Dean.  This first email is her accounting of what transpired in the 
physics lab.  Please refrain from using the student’s name. 
 
Thank you, 
Kathy 
Dr. Kathryn Kailikole 
Dean 
Mathematics and the Natural and Health Sciences 
 
Palomar College 
1140 West Mission Road 
San Marcos, CA 92069‐1487 
760‐744‐1150 ext. 2253 
kkailikole@palomar.edu<mailto:kkailikole@palomar.edu> 
[Scr3_ol] 
 
 
 
 
 
From: sfriends4957 
Sent: Tuesday, April 19, 2016 12:57 PM 
To: Kailikole, Kathryn L. <kkailikole@palomar.edu<mailto:kkailikole@palomar.edu>> 
Subject: Palomar Physics Department safety concern 
 
Hello Ms. Kailikole, 
I spoke with you earlier today, April 19th, about a safety concern I had regarding my Physics 230 lab class. My name is 
Shelby Friends. I am sending you what I witnessed in class, my "incident report" if you will. 
We were conducting a rotational inertia lab, as part of the calculations we needed to deduce we were required to pick a 
point of origin. To do such my professor, Takashi Nakajima, had us use an airsoft gun, which he called a BB gun. He 
pulled out the gun and loaded it, after making sure the class knew how the gun worked, he then cocked it and handed it 
to a student pointing the gun at the student in the process. He then left the students to shoot the gun while he sat in the 
back of the class conversing with students and other professors, not paying attention to the transactions with the gun 
between students. There was no safety lecture given on how to handle the gun or what not to do with it, ie. not to point 
the gun at anyone or to keep your finger off the trigger until ready to shoot. Also, no student was required to wear 
safety glasses. Due to this lack of safety knowledge several students were almost shot. Also since we shot the gun 
indoors, there was a ricochet and students were in charge of keeping track of the pellet, however students who shot the 
gun would sometimes get hit with the ricochet or just nearly. 
Also, we discussed the Physics department as a whole and I thought it might be helpful to leave the Physics 230 website 
for you. There is where you will find the Warning letter that we are required to sign at the start of the class. 
http://pcpepso.com/physics/phys230/ 
Thank you so much for taking the time to listen today and for reading this email. 
If you have any questions for me, please ask. 
Thanks again, 
Shelby Friends 
 



                                                              2

                                                                                       Exhibit A - page 236
    Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.509 Page 237 of 298


Cohen, Shawna
                                                                                                         Exhibit J

From:                              Norman, Lisa M.
Sent:                              Wednesday, January 10, 2018 4:33 PM
To:                                Cohen, Shawna
Subject:                           FW: Palomar Physics Department safety concern
Attachments:                       IMG_1705.MOV; image001.jpg




Respectfully, 
Lisa Norman, Ed.D, J.D. 
Assistant Superintendent/Vice President Human Resources Palomar Community College 
(760) 744‐1150 x2531

“Be the change you wish to see in the world.” 

                                     Gandhi 


‐‐‐‐‐Original Message‐‐‐‐‐ 
From: Finkenthal, Daniel 
Sent: Sunday, December 10, 2017 2:19 PM 
To: stacyncarlson@yahoo.com 
Subject: FW: Palomar Physics Department safety concern 



=============== 
Daniel Finkenthal, Ph.D. 
Palomar College 
San Marcos, CA 92069 

________________________________________ 
From: Kailikole, Kathryn L. 
Sent: Friday, December 8, 2017 5:25 PM 
To: Finkenthal, Daniel 
Subject: FW: Palomar Physics Department safety concern 

From: Kailikole, Kathryn L. 
Sent: Tuesday, November 21, 2017 4:06 PM 
To: Norman, Lisa M. <lnorman@palomar.edu> 
Cc: Kahn, Jack S. <jkahn1@palomar.edu> 
Subject: FW: Palomar Physics Department safety concern 

Lisa, 

Please find attached the video of the physics lab that the student took.  This email is the second of two emails that the 
student sent to me. 

                                                             1

                                                                                      Exhibit A - page 237
   Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.510 Page 238 of 298
 
Thank you, 
Kathy 
Dr. Kathryn Kailikole 
Dean 
Mathematics and the Natural and Health Sciences 
 
Palomar College 
1140 West Mission Road 
San Marcos, CA 92069‐1487 
760‐744‐1150 ext. 2253 
kkailikole@palomar.edu<mailto:kkailikole@palomar.edu> 
[Scr3_ol] 
 
 
 
 
 
From: sfriends4957 
Sent: Thursday, April 21, 2016 3:39 PM 
To: Kailikole, Kathryn L. <kkailikole@palomar.edu<mailto:kkailikole@palomar.edu>> 
Subject: RE: Palomar Physics Department safety concern 
 
Dr. Kailikole, 
I have provided the videos attached from a forwarded email, for the videos were on my Ipad. Will there be any 
repercussions of me having these videos? 
Thank you, 
Shelby Friends 
________________________________ 
From: Shelby Dee [shelby_dee@rocketmail.com] 
Sent: Thursday, April 21, 2016 3:38 PM 
To: sfriends4957 
Subject: 
 
 




                                                           2

                                                                                   Exhibit A - page 238
    Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.511 Page 239 of 298

                                                                                                         Exhibit K
Cohen, Shawna

From:                              Norman, Lisa M.
Sent:                              Wednesday, January 10, 2018 4:35 PM
To:                                Cohen, Shawna
Subject:                           FW: Palomar Physics Department safety concern
Attachments:                       IMG_1705.MOV




Respectfully,
Lisa Norman, Ed.D, J.D.
Assistant Superintendent/Vice President Human Resources
Palomar Community College
(760) 744-1150 x2531

“Be the change you wish to see in the world.”

                                                      Gandhi

From: Kailikole, Kathryn L.  
Sent: Friday, December 8, 2017 5:25 PM 
To: Finkenthal, Daniel <DFinkenthal@palomar.edu> 
Subject: FW: Palomar Physics Department safety concern 




From: Kailikole, Kathryn L.  
Sent: Tuesday, November 21, 2017 4:06 PM 
To: Norman, Lisa M.  
Cc: Kahn, Jack S.  
Subject: FW: Palomar Physics Department safety concern 

Lisa, 

Please find attached the video of the physics lab that the student took. This email is the second of two emails that the 
student sent to me. 

Thank you, 
Kathy 
Dr. Kathryn Kailikole 
Dean 
Mathematics and the Natural and Health Sciences 

Palomar College 
1140 West Mission Road 
San Marcos, CA 92069‐1487 

                                                             1

                                                                                      Exhibit A - page 239
    Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.512 Page 240 of 298
760‐744‐1150 ext. 2253 
kkailikole@palomar.edu 




                                     
 
 
 
 
 
From: sfriends4957  
Sent: Thursday, April 21, 2016 3:39 PM 
To: Kailikole, Kathryn L. <kkailikole@palomar.edu> 
Subject: RE: Palomar Physics Department safety concern 

Dr. Kailikole,
I have provided the videos attached from a forwarded email, for the videos were on my Ipad. Will there be any
repercussions of me having these videos?
Thank you,
Shelby Friends

From: Shelby Dee [shelby_dee@rocketmail.com]
Sent: Thursday, April 21, 2016 3:38 PM
To: sfriends4957
Subject:




                                                           2

                                                                                   Exhibit A - page 240
    Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.513 Page 241 of 298


Cohen, Shawna
                                                                                                              Exhibit L

From:                                Norman, Lisa M.
Sent:                                Wednesday, January 10, 2018 4:33 PM
To:                                  Cohen, Shawna
Subject:                             FW: Physics issue

Importance:                          High


Hi Shawna, 
I will be sending you the emails from Daniel Finkenthal's account first, which he forwarded to the person named Stacy 
Carlson. I have a flash drive with Kathy's emails but can't recall how to open it. I will leave it but if you could please 
contact Mike so he can assist with opening it, if needed. I will try before I leave but I'm not sure if I will have success. I 
will leave it on my desk just in case.  


Respectfully, 
Lisa Norman, Ed.D, J.D. 
Assistant Superintendent/Vice President Human Resources Palomar Community College 
(760) 744‐1150 x2531

“Be the change you wish to see in the world.” 

                                      Gandhi 


‐‐‐‐‐Original Message‐‐‐‐‐ 
From: Finkenthal, Daniel 
Sent: Sunday, December 10, 2017 2:19 PM 
To: stacyncarlson@yahoo.com 
Subject: FW: Physics issue 
Importance: High 



=============== 
Daniel Finkenthal, Ph.D. 
Palomar College 
San Marcos, CA 92069 

________________________________________ 
From: Kailikole, Kathryn L. 
Sent: Friday, December 8, 2017 5:24 PM 
To: Finkenthal, Daniel 
Subject: FW: Physics issue 

‐‐‐‐‐Original Message‐‐‐‐‐ 
From: Kailikole, Kathryn L. 
Sent: Tuesday, November 21, 2017 4:13 PM 
To: Norman, Lisa M. <lnorman@palomar.edu> 

                                                                1

                                                                                          Exhibit A - page 241
   Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.514 Page 242 of 298
Cc: Kahn, Jack S. <jkahn1@palomar.edu> 
Subject: FW: Physics issue 
Importance: High 
 
Lisa, 
 
Please find below the email from the second female student who came to complain about safety issues in the physics 
lab.  You will find her accounting of what transpired in the lab in the first paragraph. 
 
The rest of the email describes her account of a situation that was resolved.  I worked with Instructor Garcia Villa and 
Enrollment Services.  Instructor Garcia Villa approved a retroactive withdrawal from the course. 
 
Please refrain from using the student's name. 
 
Thank you, 
 
Kathy 
Dr. Kathryn Kailikole 
Dean 
Mathematics and the Natural and Health Sciences 
 
Palomar College 
1140 West Mission Road 
San Marcos, CA 92069‐1487 
760‐744‐1150 ext. 2253 
kkailikole@palomar.edu 
 
 
 
 
 
 
‐‐‐‐‐Original Message‐‐‐‐‐ 
From: dallygirl96@gmail.com [mailto:dallygirl96@gmail.com] 
Sent: Wednesday, April 20, 2016 10:58 AM 
To: Kailikole, Kathryn L. <kkailikole@palomar.edu> 
Subject: Physics issue 
 
Hello, 
My friend Shelby and I (Dallas Brown) spoke with you yesterday regarding the physics lab safety with the BB (or rather 
airsoft) gun. 
The professor, Takashi N, brought out the pellets and gun, loaded and cocked it and then handed it to a student stating 
don't miss and collect the BB after you shoot your paper. Since he called it a BB gun and the pellets he called BBs we 
believe it to be a BB gun. There was no instruction as to how to load it, how to hold or use it, or any other type of safety 
instructions. No safety glasses were worn either. Students did not know how to shoot it, they had it loaded and cocked 
and pointed at other students or walking around with their finger on the trigger. Students kept walking in the line of fire, 
and people came in and out of the classroom door which was in the line of fire too with no one watching the door for 
awhile. Eventually a student stood near the door. As students shot their paper the pellet bounced off and other students 
were attempting to catch the pellets. The professors, Takashi and Art, were in the room but not paying attention to the 
students shooting, they were talking amongst themselves and other students. 
 
 

                                                             2

                                                                                       Exhibit A - page 242
   Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.515 Page 243 of 298
Also I was in a car accident on March 1st and missed several weeks of school. There is a police report with campus police 
and I have doctors notes as well (I can get a copy of the police report or give you the report number, and send you a 
copy of the doctors notes if needed). Takashi told me that I would not pass because I missed so much and could not 
make up the labs. He had me come to lab while I was still in the neck brace and had a doctors note stating no school or 
work because if I didn't then I would have to many zeros that I could not make up. 
When I returned Hector Garcia Villa, the physics lecture professor that I have, said it did not look positive for me to pass 
this semester. I was not allowed to make up the quizzes I missed but I convinced him to let me make up the test with 
showing proof of the doctors notes. I did not have to material that I missed for when I had to take the test so I was not 
prepared for it. Several weeks later Hector told me I did a lot better on the test than he thought I would but still will 
probably not pass the class. Because I missed so much from the accident in all my classes it has been hard to catch up, I 
was provided with the material I missed from my other classes but not with physics. It has had a ripple effect for the rest 
of the quizzes since I've returned because I didn't get to fully learn and understand that material and the new concepts 
were building on that material I missed. 
I met with a counselor in DRC on April 1st, her only suggestion was to purposefully make sure I get a F or D so I can 
retake the course since it was past the drop date when I returned. Shortly after that meeting I took that advice and was 
not taking the quizzes or putting much effort into that class so I would for sure get that low grade to retake the course. 
 
Any questions, or concerns, or if you need to follow up please contact me at this email or the number below, Thank you, 
Dallas Brown 
760‐547‐4492 
 




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                                                                                       Exhibit A - page 243
    Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.516 Page 244 of 298


Cohen, Shawna
                                                                                                         Exhibit M

From:                              Norman, Lisa M.
Sent:                              Wednesday, January 10, 2018 4:36 PM
To:                                Cohen, Shawna
Subject:                           FW: Physics issue

Importance:                        High




Respectfully, 
Lisa Norman, Ed.D, J.D. 
Assistant Superintendent/Vice President Human Resources Palomar Community College 
(760) 744‐1150 x2531

“Be the change you wish to see in the world.” 

                                     Gandhi 


‐‐‐‐‐Original Message‐‐‐‐‐ 
From: Kailikole, Kathryn L.  
Sent: Friday, December 8, 2017 5:25 PM 
To: Finkenthal, Daniel <DFinkenthal@palomar.edu> 
Subject: FW: Physics issue 
Importance: High 



‐‐‐‐‐Original Message‐‐‐‐‐ 
From: Kailikole, Kathryn L.  
Sent: Tuesday, November 21, 2017 4:13 PM 
To: Norman, Lisa M. <lnorman@palomar.edu> 
Cc: Kahn, Jack S. <jkahn1@palomar.edu> 
Subject: FW: Physics issue 
Importance: High 

Lisa, 

Please find below the email from the second female student who came to complain about safety issues in the physics 
lab.  You will find her accounting of what transpired in the lab in the first paragraph. 

The rest of the email describes her account of a situation that was resolved.  I worked with Instructor Garcia Villa and 
Enrollment Services.  Instructor Garcia Villa approved a retroactive withdrawal from the course. 

Please refrain from using the student's name. 

Thank you, 

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                                                                                       Exhibit A - page 244
   Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.517 Page 245 of 298
 
Kathy 
Dr. Kathryn Kailikole 
Dean 
Mathematics and the Natural and Health Sciences 
 
Palomar College 
1140 West Mission Road 
San Marcos, CA 92069‐1487 
760‐744‐1150 ext. 2253 
kkailikole@palomar.edu 
 
 
 
 
 
 
‐‐‐‐‐Original Message‐‐‐‐‐ 
From: dallygirl96@gmail.com [mailto:dallygirl96@gmail.com] 
Sent: Wednesday, April 20, 2016 10:58 AM 
To: Kailikole, Kathryn L. <kkailikole@palomar.edu> 
Subject: Physics issue 
 
Hello, 
My friend Shelby and I (Dallas Brown) spoke with you yesterday regarding the physics lab safety with the BB (or rather 
airsoft) gun.  
The professor, Takashi N, brought out the pellets and gun, loaded and cocked it and then handed it to a student stating 
don't miss and collect the BB after you shoot your paper. Since he called it a BB gun and the pellets he called BBs we 
believe it to be a BB gun. There was no instruction as to how to load it, how to hold or use it, or any other type of safety 
instructions. No safety glasses were worn either. Students did not know how to shoot it, they had it loaded and cocked 
and pointed at other students or walking around with their finger on the trigger. Students kept walking in the line of fire, 
and people came in and out of the classroom door which was in the line of fire too with no one watching the door for 
awhile. Eventually a student stood near the door. As students shot their paper the pellet bounced off and other students 
were attempting to catch the pellets. The professors, Takashi and Art, were in the room but not paying attention to the 
students shooting, they were talking amongst themselves and other students.  
 
 
Also I was in a car accident on March 1st and missed several weeks of school. There is a police report with campus police 
and I have doctors notes as well (I can get a copy of the police report or give you the report number, and send you a 
copy of the doctors notes if needed). Takashi told me that I would not pass because I missed so much and could not 
make up the labs. He had me come to lab while I was still in the neck brace and had a doctors note stating no school or 
work because if I didn't then I would have to many zeros that I could not make up.  
When I returned Hector Garcia Villa, the physics lecture professor that I have, said it did not look positive for me to pass 
this semester. I was not allowed to make up the quizzes I missed but I convinced him to let me make up the test with 
showing proof of the doctors notes. I did not have to material that I missed for when I had to take the test so I was not 
prepared for it. Several weeks later Hector told me I did a lot better on the test than he thought I would but still will 
probably not pass the class. Because I missed so much from the accident in all my classes it has been hard to catch up, I 
was provided with the material I missed from my other classes but not with physics. It has had a ripple effect for the rest 
of the quizzes since I've returned because I didn't get to fully learn and understand that material and the new concepts 
were building on that material I missed.  



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                                                                                       Exhibit A - page 245
   Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.518 Page 246 of 298
I met with a counselor in DRC on April 1st, her only suggestion was to purposefully make sure I get a F or D so I can 
retake the course since it was past the drop date when I returned. Shortly after that meeting I took that advice and was 
not taking the quizzes or putting much effort into that class so I would for sure get that low grade to retake the course.  
 
Any questions, or concerns, or if you need to follow up please contact me at this email or the number below,  
Thank you,  
Dallas Brown 
760‐547‐4492 
 




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                                                                                       Exhibit A - page 246
   Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.519 Page 247 of 298

                                                                                                          Exhibit N
Cohen, Shawna

From:                               Norman, Lisa M.
Sent:                               Wednesday, January 10, 2018 4:35 PM
To:                                 Cohen, Shawna
Subject:                            FW: Today's meeting


Hi Shawna, 
It appears that every piece of information Kathy received she just sent it over to Daniel. Strange. .. 


Respectfully,
Lisa Norman, Ed.D, J.D.
Assistant Superintendent/Vice President Human Resources
Palomar Community College
(760) 744-1150 x2531

“Be the change you wish to see in the world.”

                                                       Gandhi

From: Kailikole, Kathryn L.  
Sent: Friday, December 8, 2017 5:28 PM 
To: Finkenthal, Daniel <DFinkenthal@palomar.edu> 
Subject: FW: Today's meeting 




From: Kailikole, Kathryn L.  
Sent: Monday, November 20, 2017 7:07 PM 
To: Norman, Lisa M.  
Cc: Cohen, Shawna ; Kahn, Jack S.  
Subject: FW: Today's meeting 

Please see the email below regarding the Physics/Engineering department meeting on September 1, 2016. Daniel 
Finkenthal asked me to attend. I referenced this email in my previous email to you. 

Dr. Kathryn Kailikole 
Dean 
Mathematics and the Natural and Health Sciences 

Palomar College 
1140 West Mission Road 
San Marcos, CA 92069‐1487 
760‐744‐1150 ext. 2253 
kkailikole@palomar.edu 



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                                                                                        Exhibit A - page 247
    Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.520 Page 248 of 298




                                      
 
 
 
 
 
From: Finkenthal, Daniel  
Sent: Monday, November 6, 2017 1:40 PM 
To: Kailikole, Kathryn L. <kkailikole@palomar.edu> 
Subject: FW: Today's meeting 

Hi Kathy, 
I think this is the meeting you asked about? 
 
‐‐Daniel 
 
From: Nakajima, Takashi
Sent: Thursday, September 01, 2016 12:20 PM
To: Physics Permanent Faculty
Subject: Today's meeting

Hi everyone, 
 
We are going to meet at 3 p.m. today to discuss a few issues that the dean asked. 231 lab room will be done at 
2:40 p.m. today and will be free after that. Let's meet in NS‐249, 231 lab room. 
 
Takashi 




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                                                                             Exhibit A - page 248
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.521 Page 249 of 298


  From:    Cohen, Shawna SCohen@palomar.edu
Subject:   FW: Student Complaint Today
   Date:
     To:
           February 22, 2018 at 2:18 PM
           Jeff Love lovejb@gmail.com                                               Exhibit O
       Hi Jeff –

       Below is another email related to the Kailikole/Finkenthal investigation. It shows that
       on November 27, 2017, Dr. Norman advised Dr. Kailikole regarding proceeding with a
       student complaint brought forth by Dr. Finkenthal. I will add this to the others to print
       for the interviews.

       I’ve contacted both individuals and am waiting for confirmation for interviews next
       Wednesday, February 28th.

       Thanks,
       Shawna

       _______________________________________
       Shawna H. Cohen
       Manager, Equal Employment Opportunity and Compliance
       and Deputy Title IX Coordinator
       Tel: (760) 744-1150 ext. 2608 | Fax: (760) 761-3530
       Email: scohen@palomar.edu | Web: www.palomar.edu/hr




       From:	Norman,	Lisa	M.	
       Sent:	Wednesday,	February	21,	2018	5:38	PM
       To:	Cohen,	Shawna	<SCohen@palomar.edu>
       Subject:	Fwd:	Student	Complaint	Today

       For Jeff Love’s investigation

       Sent from my iPhone

       Begin forwarded message:

                From: "Norman, Lisa M." <lnorman@palomar.edu>
                Date: November 27, 2017 at 9:07:58 PM PST
                To: "Kailikole, Kathryn L." <kkailikole@palomar.edu>
                Cc: "Kahn, Jack S." <jkahn1@palomar.edu>
                Subject: Re: Student Complaint Today

                Hi Kathy,
                Because this concern addresses possible disciplinary actions, I did not include

                                                                           Exhibit A - page 249
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.522 Page 250 of 298

         Because this concern addresses possible disciplinary actions, I did not include
         Daniel in the email.

         While I understand the concerns expressed below, these appear to be curriculum
         and instructional matters that would need to be addressed by providing due
         process to the instructors so they have opportunity to address the allegations. I
         understand the frustration in dealing with what sounds like their ongoing
         practices that is in violation of prior directives but we need to confirm that this
         is truly what is occurring. At the same time, we need to be cognizant that a
         student is presenting this complaint and make sure we follow any established
         process for addressing this type of complaint. If this conduct is substantiated
         then we will appropriately address it.

         I understand that students may not want to come forward for fear of retaliation.
         If this is the case can you or Daniel go observe these additional Friday prep
         sessions? By witnessing this conduct directly can substantiate what has been
         shared by the students.

         As you are aware, as administrators, it is our responsibility to address matters
         that impact the District that may create liability and deviate from our goals and
         mission. For this reason, placing the instructor on administrative leave with pay
         is not an appropriate remedy to this type of issue otherwise we may create
         precedence for why we would place instructors on leave, which is not an
         appropriate basis for an administrative leave.

         As a next step, please ask Daniel if the student is willing to place his complaint
         in written form. If not, you can still proceed in asking both instructors,
         separately, about the expressed concerns that you have heard. However, prior to
         doing this, I would highly recommend you or Daniel trying to observe these
         actions firsthand.



         Thanks,
         Lisa

         Sent from my iPhone

         On Nov 27, 2017, at 6:00 PM, Kailikole, Kathryn L.
         <kkailikole@palomar.edu> wrote:

               Dear Drs. Norman and Kahn,

               Please read the email below from Dr. Finkenthal. Both Dr.
               Finkenthal and I believed that Instructors Nakajima and Gerwig
               should have been removed from classes this fall especially given
               their recent and past history in the District. I am re-issuing our
               request that Instructors Nakajima and Gerwig be removed from the
               classroom as soon as practicable. I want to make you aware that

                                                                     Exhibit A - page 250
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.523 Page 251 of 298

               classroom as soon as practicable. I want to make you aware that
               they continue to violate California Education Code and directives
               from Deans Sourbeer and Kailikole hence violating students' civil
               rights. I appreciate administrative processes however protecting
               students' rights is also our responsibility especially our most
               vulnerable populations. In a time of watershed moments, I hope to
               see the Palomar Community College District be transparent and
               humane in processes affecting both faculty and students. More
               importantly, I would like that in their actions, the District validates
               the numerous students who have had not only their voices silenced
               but their college pathways ruinously impacted by these instructors.

               I appreciate your time regarding such a serious matter.

               Respectfully,

               Dr. Kathryn Kailikole
               Dean
               Mathematics and the Natural and Health Sciences

               Palomar College
               1140 West Mission Road
               San Marcos, CA 92069-1487
               760-744-1150 ext. 2253
               kkailikole@palomar.edu




               -----Original Message-----
               From: Finkenthal, Daniel
               Sent: Monday, November 27, 2017 4:46 PM
               To: Kailikole, Kathryn L. <kkailikole@palomar.edu>
               Subject: Student Complaint Today

               Hello Dean Kailikole,
               I had a student come to my office today to make a complaint
               regarding our Physics 230 class taught by Professor Nakajima. His
               name is Nathan Uwin. I listened and provided advice as best I
               could, and asked that he make an appointment to discuss his issues
               with you directly.

               Nathan appears to be a bright and effective student with a goal of
               transferring to Cal Poly in Mechanical Engineering. He chose to
               enroll in Professor Nakajima's Physics 230 because the class fit his

                                                                      Exhibit A - page 251
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.524 Page 252 of 298

               enroll in Professor Nakajima's Physics 230 because the class fit his
               schedule with the college swim team. He said he took the 230 class
               "despite the reputation" since he had already earned an A in high
               school physics and Math 140 here at Palomar. Today he was told
               that he will fail the class and now plans to repeat the class at Mira
               Costa next spring. Nathan's complaint is that the expectations and
               requirements of the Physics 230 class are unfair and designed to
               cause students to fail unless they repeat the class two or three
               times.

               Specifically:
               *Students are required to take 3-hour plus long exams outside of
               the normally scheduled 1-hour lecture periods.
               *Students are required to attend additional "lab prep" sessions on
               Friday afternoons in order to receive necessary instruction for the
               lab scheduled the following week. Nathan has attended every lab
               prep session this semester and reports that if he did not he would
               have gotten a zero for the lab.
               *Students are expected to study and do homework for more than 20
               hours per week for this one class.
               *Students were unable to track their grade or standing in the class
               until today. Nathan and others received notice today that they are
               failing the class.
               *Students are discouraged from taking the class with anyone other
               than Nakajima or Gerwig since they will "pay a price later" when
               they attempt other physics and engineering classes.

               These complaints echo previous complaints, and indicate that there
               has been no attempt to reform the classroom environment in the
               Physics 230 courses taught by professors Nakajima and Gerwig. Of
               immediate concern is the requirement that students attend "lab
               prep" sessions and take exams outside of normally scheduled class
               times. All members of the Department have been previously
               notified by Dean Sourbeer that it is not appropriate to require
               students to attend exam sessions outside of class time. Last Fall
               you expressly forbid the department to require students to attend
               Friday Lab Prep sessions. The explanation in both cases was that
               these practices are not permitted by state education code.

               The Physics 230 class is an introductory FIRST SEMESTER
               physics class and is a vital gateway for students who are
               considering a future in a STEM field. These ongoing violations are
               damaging our students and our program, and it is un-conscionable
               that the District permits them to continue. I am sorry to be a pest
               but I truly believe that the only way forward is to remove these two
               instructors from having power and authority over students. I have
               also made this clear to my union representatives and the faculty
               senate president.


                                                                    Exhibit A - page 252
Case 3:18-cv-02877-AJB-MSB Document 5-2 Filed 01/10/19 PageID.525 Page 253 of 298



               Sincerely,
               Daniel

               ========================
               Daniel Finkenthal, Ph.D.
               Professor and Chair
               Department of Physics and Engineering
               Palomar College
               San Marcos, CA 92069




                                                         Exhibit A - page 253
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         4. Palomar College Police Department Report
                         2016-00138




                                                         Exhibit A - page 254
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                                                                                Exhibit A - page 260
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                       5. Employment Contract:
                          Dr. Kathryn Kailikole




                                                         Exhibit A - page 261
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                                                         Exhibit A - page 270
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            Exhibit B
                                                         Exhibit B - page 271
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                                                                           GOVERNING BOARD AGENDA
                                                                    MEETING OF THE GOVERNING BOARD
                                                                                TUESDAY, JUNE 12, 2018
                                                   4:00 P.M. (CLOSED SESSION) 5:00 P.M. (OPEN SESSION)
                                                               PALOMAR COMMUNITY COLLEGE DISTRICT
                                                                     ROOM SSC-1, SAN MARCOS CAMPUS
                                                         1140 W. MISSION RD., SAN MARCOS, CALIFORNIA



TO SPEAK TO THE BOARD AT TONIGHT’S MEETING:

    •   For items listed on the agenda: Please fill out a BLUE “Speaker” card.
    •   For items NOT listed on the agenda: Please fill out a YELLOW “Public Comment” card.
    •   Give speaker cards to Debra Doerfler, Senior Executive Assistant.

In accordance with Board Policy 2350, members of the public who wish to address the Board on matters within
its jurisdiction have a five-minute time limit per person. The Board may ask a group to select a spokesperson
and may limit the number of speakers on a particular topic unless the proposed speakers are addressing
different concerns.


ORDER OF BUSINESS: The Board reserves the right to modify the order of business in the manner it deems
appropriate. Please note all meetings are recorded electronically.


THE REGULAR MEETING of the Board convenes the second Tuesday of every month starting at 5:00 p.m. in
the Governing Board Room (SSC-1) of the Student Services Building on the Palomar College Campus in San
Marcos, California, unless changed in advance by Board action.


In compliance with Government Code §54957.5, non-exempt writings that are distributed to the Governing
Board Members in advance of their meetings, may be viewed at the Governing Board Office, LL-204, or on the
Governing Board web site at https://www2.palomar.edu/pages/governingboard/. In addition, if you would like a
copy of any record related to an agenda item, please contact Debra Doerfler, Senior Executive Assistant, at
(760) 744-1150, extension 2104, or ddoerfler@palomar.edu. Written agenda related items provided to the Board
after distribution of the packet will be available for inspection during normal business hours. All Agenda related
items will also be available at each meeting of the Board.


PUBLIC NOTICE—NONDISCRIMINATION:
Palomar College does not discriminate based on ethnicity, religion, age, gender, sexual orientation, color, or
disability in any of its programs or activities.


AMERICANS WITH DISABILITIES: Palomar College is committed to providing reasonable accommodations for
persons with disabilities. Upon request, this publication will be made available in alternate formats. Please
contact Debra Doerfler, Senior Executive Assistant to the Superintendent/Governing Board, 1140 West Mission
Road, San Marcos, CA 92069, (760) 744-1150 extension 2104, 8:00 a.m. to 5:00 p.m., Monday – Friday.




                                                                                  Exhibit B - page 272
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A.       CALL MEETING TO ORDER: 4:00 p.m.

B.       ROLL CALL: Establishment of a Quorum

C.       PUBLIC COMMENTS In accordance with Board Policy 2350, members of the public who wish to
         address the Board on matters within its jurisdiction have a five-minute time limit per person. The Board
         may ask a group to select a spokesperson and may limit the number of speakers on a particular topic
         unless the proposed speakers are addressing different concerns.

D.       RECESS TO CLOSED SESSION TO CONSIDER THE FOLLOWING MATTER(S):

         1. Public Employee Discipline/Dismissal/Release Pursuant to Government Code Section 54957,
            et seq. (3 cases)

         2. Conference with Legal Counsel – Anticipated Litigation. Significant exposure to litigation pursuant to
            Government Code 54956.9(b) (2 cases)

         3. Pursuant to Education Code Section 72122 – Deliberation regarding recommendation for the
            expulsion of students: 011152359, 003833603, and 000235871. (Action will be taken and reported
            in Open Session in accordance with California Education Code Section 72122.)

         4. Public Employee Performance Evaluation, pursuant to Government Code §54957. Position Title:
            Superintendent/President

E.       RECONVENE TO OPEN SESSION

         1. Reporting of actions(s) taken in Closed Session (The Governing Board President shall report the
            overall action and if unanimous; otherwise, the individual votes of each trustee.)

         2. Presentation: 2018 NAACP Salute To Women of Color Distinguished Woman Award

         3. Pledge of Allegiance

         4. Administer Oath of Office to incoming Student Trustee, Amber Bancroft, and to newly hired Police
            Officers: Daniel Lopez, Gerald Rabidou and Mark Lynch.

         5. Call for Removal of Items from – or Changes to – the Agenda

F.       RECOMMENDATION ACTION: EXPULSION OF THREE STUDENTS

         Pursuant to California Education Code section 72122, and following the review and consideration of
         each matter, the Governing Board hereby approves the expulsion of the following students:

              1. 011152359
              2. 003833603
              3. 000235871

G.       PUBLIC COMMENTS In accordance with Board Policy 2350, members of the public who wish to
         address the Board on matters within its jurisdiction have a five-minute time limit per person. The Board
         may ask a group to select a spokesperson and may limit the number of speakers on a particular topic
         unless the proposed speakers are addressing different concerns.

H.       RECOMMENDATION ACTION: APPROVAL OF MINUTES FOR THE REGULAR AND SPECIAL
         MEETINGS IN THE PREVIOUS MONTH

              •    May 8, 2018
              •    May 22, 2018



                                                                                  Exhibit B - page 273
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I.       REPORTS

         Presentation on Parking Fees/License Plate Readers – Police Chief Christopher Moore

         NOTICE TO PUBLIC: Section 54954.2(a) of the Ralph M. Brown Act states “No action or discussion shall
         be undertaken on any item not appearing on the posted agenda, except that members of a legislative
         body or its staff may briefly respond to statements made or questions posed by persons exercising their
         public testimony rights under Section 54954.3. In addition, on their own initiative or in response to
         questions posed by the public, a member of a legislative body or its staff may ask a question for
         clarification, make a brief announcement, or make a brief report on his or her own activities. Furthermore,
         a member of a legislative body, or the body itself, subject to rules or procedures of the legislative body,
         may provide a reference to staff or other resources for factual information, request staff to report back to
         the body at a subsequent meeting concerning any matter, or take action to direct staff to place a matter of
         business on a future agenda.”

              •        GOVERNING BOARD PRESIDENT
              •        GOVERNING BOARD TRUSTEES
              •        STUDENT TRUSTEE
              •        SUPERINTENDENT/PRESIDENT

                       •   Report of Vice President for Instruction

                       •   Report of Vice President for Student Services

                       •   Report of Vice President for Finance and Administrative Services

                       •   Report of Vice President for Human Resource Services

J.       APPROVAL OF CONSENT CALENDAR ITEMS

         NOTICE TO PUBLIC: There will be no separate discussion of these items unless a Governing Board
         member or member of the public requests that particular item(s) be removed from the Consent
         Calendar. Items so removed will be considered separately. All matters remaining under Consent
         Calendar are considered to be routine and will be approved by one motion.

         1. RECOMMENDATION: ACTION – RATIFY ACADEMIC EMPLOYMENT

              The Governing Board hereby ratifies the recommendation of the Superintendent/President
              regarding the employment of the following academic employees:

                  a.       Name:                 Rebecca Mattson
                           Position:             Assistant Professor, Nursing (Maternal Health/Obstetrics)
                           Department:           Nursing Education
                           Degrees:              M.S., Nursing: Nurse Educator
                                                 B.S.N., Nursing
                           Position #:           6367
                           New?:                 Yes
                           Remarks:              Position approved 9/12/17.
                           Sal Grade/Stp:        C/8
                           Salary:               $8,096.39/month
                           % of Position:        100%
                           # of Mos:             10
                           Effective:            August 16, 2018
                           Account #(s):         A-111000-348200-12300-0000000/100%




                                                                                       Exhibit B - page 274
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               b.       Name:            Gina Wilson
                        Position:        Assistant Professor, Child Development/Early Childhood Education
                        Department:      Child Development
                        Degrees:         M.A., Human Development
                                         B.S., Child Development
                        Position #:      6729
                        New?:            Yes
                        Remarks:         Position approved 12/12/17.
                        Sal Grade/Stp:   C/8
                        Salary:          $8,096.39/month
                        % of Position:   100%
                        # of Mos:        10
                        Effective:       August 16, 2018
                        Account #(s):    A-111000-364200-13050-0000000/100%

               c.       Name:            Elise Lindgren
                        Position:        Assistant Professor, Biological Sciences
                        Department:      Biology
                        Degrees:         M.S., Biology
                                         B.S., Biochemistry and Cell Biology
                        Position #:      6727
                        New?:            Yes
                        Remarks:         Position approved 12/12/17.
                        Sal Grade/Stp:   C/1
                        Salary:          $6,200.53/month
                        % of Position:   100%
                        # of Mos:        10
                        Effective:       August 16, 2018
                        Account #(s):    A-111000-346200-04010-0000000/100%

               d.       Name:            Joseph Lucido
                        Position:        Assistant Professor, Architecture
                        Department:      Design and Manufacturing Technologies
                        Degrees:         Master of Architecture, Real Estate Development
                                         Bachelor of Architecture
                                         2+ Years of Experience
                        Position #:      6301
                        New?:            Yes
                        Remarks:         Position approved 12/12/17.
                        Sal Grade/Stp:   C/8
                        Salary:          $8,096.39/month
                        % of Position:   100%
                        # of Mos:        10
                        Effective:       August 16, 2018
                        Account #(s):    A-111000-335600--02010-0000000/100%




                                                                              Exhibit B - page 275
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               e.       Name:               Efrem Alexander
                        Position:           Counselor/Assistant Professor
                        Department:         Counseling Services
                        Degrees:            M.A., Education
                                            B.B.A., Business
                                            Minimum qualifications approved by the Faculty Senate Equivalency
                                            Committee on 6/12/15.
                        Position #:         6724
                        New?:               Yes
                        Remarks:            Position approved on 11/14/17.
                        Sal Grade/Stp:      C/2
                        Salary:             $6,471.38/month
                        % of Position:      100%
                        # of Mos:           11
                        Effective:          July 1, 2018
                        Account #(s):       N-122100-462100-63100-0000000/100%

               f.       Name:               Ladylyn Dominguez
                        Position:           Counselor/Assistant Professor
                        Department:         Counseling Services
                        Degrees:            M.S., Educational Counseling
                                            B.S., Bus. Admin. (High Tech. Mgmt.)
                        Position #:         6723
                        New?:               Yes
                        Remarks:            Position approved on 11/14/17.
                        Sal Grade/Stp:      D/1
                        Salary:             $6,471.38/month
                        % of Position:      100%
                        # of Mos:           11
                        Effective:          July 1, 2018
                        Account #(s):       W-122100-462100-63100-0000000/100%

         2. RECOMMENDATION: ACTION – RATIFY PART-TIME FACULTY EMPLOYMENT

              The Governing Board hereby ratifies the recommendation of the Superintendent/President
              regarding the employment of the following part-time faculty; said part-time faculty are not scheduled
              to teach more than a 67 percent load in a single semester:

               a.       Name:            Buquet, Lori
                        Discipline:      Emergency Medical Technologies
                        Department:      Emergency Medical Education
                        Degrees:         B.S., Nursing
                                         2+ Years of Experience
                        Sal Grade/Stp:   A/1
                        Salary:          $58.37
                        Effective:       Spring 2018

               b.       Name:            Bergmanis, Eric
                        Discipline:      Oceanography
                        Department:      Earth, Space and Environmental Sciences
                        Degrees:         M.S., Geology & Geophysics
                                         B.A., Geology
                        Sal Grade/Stp:   B/1
                        Salary:          $59.79
                        Effective:       Summer 2018



                                                                                   Exhibit B - page 276
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               c.       Name:            Haisten, David
                        Discipline:      Biological Sciences
                        Department:      Biology
                        Degrees:         M.S., Evoltn, Ecol & Organismal Bio
                                         B.S., Ecology and Evolution
                        Sal Grade/Stp:   B/1
                        Salary:          $59.79
                        Effective:       Summer 2018

               d.       Name:            Harris, Bryan
                        Discipline:      Sociology
                        Department:      Behavioral Sciences
                        Degrees:         M.A., Sociological Practice
                                         B.A., Sociology
                        Sal Grade/Stp:   B/1
                        Salary:          $59.79
                        Effective:       Summer 2018

               e.       Name:            Hill Cummings, Kristie
                        Discipline:      Biological Sciences
                        Department:      Biology
                        Degrees:         Ph.D., Microbiology
                                         B.S., Biology
                        Sal Grade/Stp:   D/1
                        Salary:          $63.49
                        Effective:       Summer 2018

               f.       Name:            Khalulyan, Alina
                        Discipline:      Psychology
                        Department:      Behavioral Sciences
                        Degrees:         M.A., Psychology
                        Sal Grade/Stp:   C/1
                        Salary:          $60.85
                        Effective:       Summer 2018
               g.       Name:            MacMillan, Brian
                        Discipline:      Emergency Medical Technologies
                        Department:      Emergency Medical Education
                        Degrees:         A.A., Paramedic Training
                                         6+ Years of Experience
                        Sal Grade/Stp:   A/1
                        Salary:          $58.37
                        Effective:       Summer 2018

               h.       Name:            Padilla, Laura
                        Discipline:      Chicano Studies
                        Department:      Multicultural Studies
                        Degrees:         M.A., Chicana and Chicano Studies
                                         B.A., History
                        Sal Grade/Stp:   B/1
                        Salary:          $59.79
                        Effective:       Summer/Fall 2018

               i.       Name:            Seigel, Charles
                        Discipline:      Political Science
                        Department:      Economics, History and Political Science
                        Degrees:         Master in Public Administration
                                         B.A., History


                                                                                    Exhibit B - page 277
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                                           Minimum qualifications approved by the Faculty Senate Equivalency
                                           Committee on 4/26/2018.
                        Sal Grade/Stp:     B/1
                        Salary:            $59.79
                        Effective:         Summer 2018

               j.       Name:              Titus, Weston
                        Disciplines:       Health
                                           Kinesiology
                        Department:        Health, Kinesiology, and Recreation Management
                        Degrees:           M.A., Kinesiology
                                           B.S., Kinesiology
                                           A.A., General Studies: Science & Mathematics and Liberal Arts &
                                           Sciences
                        Sal Grade/Stp:     B/1
                        Salary:            $59.79
                        Effective:         Fall 2018

         3. RECOMMENDATION: ACTION – RATIFY EARLY CHILDHOOD EDUCATION LAB SCHOOL
            TEACHER EMPLOYMENT

              The Governing Board hereby ratifies the recommendation of the Superintendent/President
              regarding the employment of the following Early Childhood Education Lab School Teachers:

               a.       Name:              Baza, Jestina
                        Title:             Teacher
                        Degrees:           A.S., Infant/Toddler Teacher
                                           24+ units in Child Development or Early Childhood Education from an
                                           accredited college or university including child growth and development,
                                           child, family and community and at least one program/curriculum class.
                                           16+ units General education as required by the current California Child
                                           Development Permit Matrix
                        Sal Grade/Stp:     C1/1
                        Salary:            $14.00
                        Effective:         Spring 2018

               b.       Name:              Martinez, Elizabet
                        Title:             Assistant Teacher
                        Degrees:           B.S., Child Development
                                           6+ units in Child Development
                                           Valid Child Development Permit
                        Sal Grade/Stp:     A/3
                        Salary:            $11.00
                        Effective:         Spring 2018

         4. RECOMMENDATION: ACTION – APPROVE A SALARY INCREASE EQUIVALENT TO THE 2018-
            19 STATE FUNDED COST OF LIVING ADJUSTMENT (COLA) FOR UNREPRESENTED
            EMPLOYEES IN THE EXECUTIVE BRANCH FOR FISCAL YEAR 2018-2019

              It is recommended by the Governing Board of the Palomar Community College District to approve a
              salary increase equivalent to 2.71% or final COLA as approved in the state budget for all executive
              administrators effective fiscal year 2018-19. The following executive administrators are included:

                    Adrian Gonzales
                    Assistant Superintendent/Vice President, Student Services

                    Jack Kahn, Ph.D.
                    Assistant Superintendent/Vice President, Instruction


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                   Lisa Norman, Ed.D., J.D.
                   Assistant Superintendent/Vice President, Human Resource Services

                   Ronnie Ballesteros-Perez
                   Assistant Superintendent/Vice President, Finance & Administrative Services

         5. RECOMMENDATION: ACTION – RATIFY MEMORANDUM OF UNDERSTANDING BETWEEN THE
            DISTRICT AND THE ADMINISTRATIVE ASSOCIATION

              The Governing Board hereby ratifies the Memorandum of Understanding (MOU) between the
              District and the Administrative Association with respect to the 2018-19 state funded Cost Of Living
              Adjustment (COLA).

              EXHIBIT J-5

         6. RECOMMENDATION: ACTION – RATIFY MEMORANDUM OF UNDERSTANDING BETWEEN THE
            DISTRICT AND THE CONFIDENTIAL AND SUPERVISORY TEAM

              The Governing Board hereby ratifies the Memorandum of Understanding (MOU) between the
              District and the Confidential and Supervisory Team with respect to the 2018-19 state funded Cost
              Of Living Adjustment (COLA).

              EXHIBIT J-6

         7. RECOMMENDATION: ACTION – RATIFY A MEMORANDUM OF UNDERSTANDING BETWEEN
            THE DISTRICT AND THE COUNCIL OF CLASSIFIED EMPLOYEES/AFT LOCAL 4522

              The Governing Board hereby ratifies a Memorandum of Understanding (MOU) between the District
              and the Council of Classified Employees/AFT Local 4522:

                    •   MOU: Janus Ruling

              EXHIBIT J-7

         8. RECOMMENDATION: ACTION – RATIFY THREE (3) MEMORANDA OF UNDERSTANDING AND
            FIVE (5) TENTATIVE AGREEMENTS BETWEEN THE DISTRICT AND THE PALOMAR FACULTY
            FEDERATION/AFT LOCAL 6161

              The Governing Board hereby ratifies three (3) Memoranda of Understanding (MOUs) and five (5)
              Tentative Agreements (TAs) between the District and the Palomar Faculty Federation/AFT Local
              6161 with respect to the following sections of the PFF/District Agreement:

                    •   MOU: Part-Time and Full-Time Coaching Contract Language
                    •   MOU: Janus Ruling
                    •   MOU: Article 9
                    •   TA: Request to Use Banked Leave Form
                    •   TA: Article 17 – Evaluation Procedure
                    •   TA: Appendix L – Early Childhood Education Lab School Teachers
                    •   TA: ECELS Part-Time Employee Review Report
                    •   TA: ECELS Part-Time Employee Performance Improvement Plan

              EXHIBIT J-8




                                                                                   Exhibit B - page 279
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         9. RECOMMENDATION: ACTION – RATIFY ADMINISTRATIVE EMPLOYMENT

              The Governing Board hereby ratifies the recommendation of the Superintendent/President regarding
              the employment of the following administrative employee:

               a.   Name:                Steven Salter
                    Position:            Director, Extended Opportunity Programs and Services
                    Department:          EOP&S/CARE/CalWORKs
                    District Location:   Main campus
                    Position #:          5546
                    New?:                No
                    Remarks:             Replacement for Anne Stadler.
                    Sal Grade/Stp:       66/1
                    Salary:              $8,426.53/month
                    % of Position:       100%
                    # of Mos:            12
                    Effective:           August 6, 2018
                    Account #(s):        A-123600-473100-64300-0000000/100%

         10. RECOMMENDATION: ACTION – RATIFY CONFIDENTIAL AND SUPERVISORY TEAM
             EMPLOYMENT

              The Governing Board hereby ratifies the recommendation of the Superintendent/President regarding
              the employment of the following Confidential and Supervisory Team employees:

               a.   Name:                Maria Zapien Rangel
                    Position:            Executive Assistant (to Vice President)
                    Department:          Human Resource Services
                    District Location:   Main campus
                    Position #:          5735
                    New?:                No
                    Remarks:             Replacement for Jennie Vastola; promotion for Ms. Zapien Rangel.
                    Sal Grade/Stp:       48/1
                    Salary:              $5,404.17/month
                    % of Position:       100%
                    # of Mos:            12
                    Effective:           June 13, 2018
                    Account #(s):        A-211000-611100-66600-0000000/100%

               b.   Name:                David Negrete
                    Position:            Supervisor II, Custodial Services
                    Department:          Custodial Services
                    District Location:   Main campus
                    Position #:          6660
                    New?:                No
                    Remarks:             Replacement for Carlos Huerta.
                    Sal Grade/Stp:       41/1
                    Salary:              $4,545.87/month
                    % of Position:       100%
                    # of Mos:            12
                    Effective:           June 15, 2018
                    Account #(s):        A-212100-542200-65300-0000000/100%
                    Normal Work          Monday – Thursday, 10:00 p.m. – 6:30 a.m.; Friday, 5:00 p.m. – 1:30 a.m. A
                    Schedule:            3% differential pay will be paid for hours worked between 6:00 p.m. and
                                         10:00 p.m. A 6% differential pay will be paid for hours worked between
                                         10:00 p.m. and 6:00 a.m.




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               c.   Name:                 Timothy Cross
                    Position:             Supervisor II, Custodial Services
                    Department:           Custodial Services
                    District Location:    North Education Center
                    Position #:           6717
                    New?:                 Yes
                    Remarks:              Position approved 11/14/17.
                    Sal Grade/Stp:        41/1
                    Salary:               $4,545.87/month
                    % of Position:        100%
                    # of Mos:             12
                    Effective:            June 15, 2018
                    Account #(s):         N-212100-542200-65300-0000000/100%
                    Normal Work           Monday – Friday, 2:30 p.m. – 11:30 p.m. A 3% differential pay will be paid
                    Schedule:             for hours worked between 6:00 p.m. and 10:00 p.m. A 6% differential pay
                                          will be paid for hours worked between 10:00 p.m. and 6:00 a.m.

               d.   Name:                  Izabel M. Solis
                    Position:             Supervisor, TRIO/Student Support Services
                    Department:           Grant Funded Student Programs
                    Position #:           6615
                    New?:                 No
                    Remarks:              Replacement for Juan Reyna; transfer for Ms. Solis.
                    Sal Grade/Stp:        45/1
                    Salary:               $5,018.00/month
                    % of Position:        100%
                    # of Mos:             12
                    Effective:            June 25, 2018, pending final approval by the US Department of Education
                    Account #(s):         K-212100-471300-64300-1112300/100%

         11. RECOMMENDATION: ACTION – RATIFY CLASSIFIED EMPLOYMENT

              The Governing Board hereby ratifies the recommendation of the Superintendent/President
              regarding the employment of the following classified employees:

               a.    Name:                Amy Hinchman
                     Position:            Academic Department Assistant
                     Department:          Nursing Education
                     District Location:   Main campus
                     Position #:          5299
                     New?:                No
                     Remarks:             Replacement for Kelly Donaghy; promotion for Ms. Hinchman.
                     Sal Grade/Stp:       23/3
                     Salary:              $4,520.90/month
                     % of Position:       100%
                     # of Mos:            12
                     Effective:           June 15, 2018
                     Account #(s):        A-212200-348100-60910-0000000/100%

               b.    Name:                Aaron Sifferman
                     Position:            Assessment Specialist
                     Department:          Counseling Services
                     District Location:   North Education Center
                     Position #:          6683
                     New?:                Yes
                     Remarks:             Position approved on 11/14/17.
                     Sal Grade/Stp:       21/1


                                                                                    Exhibit B - page 281
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                     Salary:              $3,904.59/month
                     % of Position:       100%
                     # of Mos:            12
                     Effective:           June 15, 2018
                     Account #(s):        W-212200-462100-63100-0000000/100%

               c.    Name:                Arnulfo Arellano
                     Position:            Assessment Specialist
                     Department:          Counseling Services
                     District Location:   South Education Center
                     Position #:          6682
                     New?:                Yes
                     Remarks:             Position approved on 11/14/17.
                     Sal Grade/Stp:       21/1
                     Salary:              $3,904.59/month
                     % of Position:       100%
                     # of Mos:            12
                     Effective:           June 15, 2018
                     Account #(s):        N-212200-462100-63100-0000000/100%

               d.    Name:                Terhea Williams
                     Position:            Instructional Support Assistant IV
                     Department:          Biology
                     District Location:   South Education Center
                     Position #:          6699
                     New?:                Yes
                     Remarks:             Position was approved 11/14/17.
                     Sal Grade/Stp:       27/1
                     Salary:              $4,520.90/month
                     % of Position:       100%
                     # of Mos:            12
                     Effective:           June 15, 2018
                     Account #(s):        W-222000-346200-04070-0000000/100%

               e.    Name:                Andrea Salvatierra
                     Position:            Administrative Specialist I
                     Department:          Languages and Literature
                     District Location:   South Education Center
                     Position #:          6676
                     New?:                Yes
                     Remarks:             Position was approved 11/14/17.
                     Sal Grade/Stp:       18/1
                     Salary:              $3,629.69/month
                     % of Position:       100%
                     # of Mos:            12
                     Effective:           June 13, 2018
                     Account #(s):        W-212200-321110-61100-0000000/100%




                                                                               Exhibit B - page 282
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               f.    Name:                Skyler Pray
                     Position:            Custodian I
                     Department:          Custodial Services
                     District Location:   South Education Center
                     Position #:          6687
                     New?:                Yes
                     Remarks:             Position was approved 11/14/17.
                     Sal Grade/Stp:       9/1
                     Salary:              $2,913.57/month
                     % of Position:       100%
                     # of Mos:            12
                     Effective:           June 15, 2018
                     Account #(s):        W-212200-542200-65300-0000000/100%

         12. RECOMMENDATION: ACTION – RATIFY DISTRICT-INITIATED DEMOTION OF CLASSIFIED
             POSITION

              The Governing Board hereby ratifies the recommendation of the Superintendent/President
              regarding the change to the following classified position:

               a.    Position:            Administrative Specialist I
                     Department:          Instruction Office
                     District location:   Main campus
                     Name:                Barbara Llamas
                     Position #:          6571
                     New?:                No
                     Remarks:             District-intitiated involuntary transfer and demotion. Position was formerly
                                          Education Center Specialist grade 19 at the Mt. Carmel Education Center.
                     Sal Grade/Stp:       18/24
                     Salary:              $2,141.97/month
                     % of Position:       45%
                     # of Mos:            12
                     Effective:           June 4, 2018
                     Account #(s):        A-212200-311100-60910-0000000/100%
                     Normal Work          Monday – Thursday, 12:30 p.m. – 5:00 p.m.
                     Schedule:

         13. RECOMMENDATION: ACTION – RATIFY NEW CLASSIFIED POSITION

              The Governing Board hereby ratifies the recommendation of the Superintendent/President
              regarding the approval of the following new classified position

               a.    Position:             Environmental Health and Safety Specialist
                     Department:           Environmental Health and Safety
                     District Location:    Main campus
                     Position #:           6470
                     New?:                 Yes
                     Sal Grade/Step:       32/1
                     Salary:               $3,640.20/month
                     % of Position:        100%
                     # Months:             12
                     Effective:            June 13, 2018
                     Account #(s):         A-212200-545100-67740-0000000/100%




                                                                                     Exhibit B - page 283
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         14. RECOMMENDATION: ACTION – APPROVE PERSONNEL ACTIONS/HISTORY FOR MAY AND
             JUNE

              The Governing Board hereby approves the Personnel Actions/History report, including student
              employee hires for the months of May 2018 and short-term employee hires for the month of June
              2018.

              EXHIBIT J-14

         15. RECOMMENDATION: ACTION – RATIFY LEAVE(S) OF ABSENCE FOR ONE EMPLOYEE

              The Governing Board hereby ratifies the recommendation of the Superintendent/President granting
              a 26.67% Personal Leave of Absence without pay and with no effect on benefits, effective August
              20, 2018 through December 20, 2018 to Daniel Clegg, Professor, Mathematics Department.

         16. RECOMMENDATION: ACTION – RATIFY REVISION TO RETIREMENT FOR ONE EMPLOYEE

              On behalf of the Governing Board of the Palomar Community College District, the following
              retirement has been revised and accepted by the Superintendent/President, as authorized by the
              Governing Board, under Group I:

                  •   Takashi Nakajima, Professor, Physics and Engineering, effective June 1, 2018. He has
                      served Palomar College for 28 years from February 6, 1986 to May 31, 2018.

         17. RECOMMENDATION: ACTION – RATIFY RESIGNATIONS

              The Governing Board hereby ratifies the resignations, accepted by the Superintendent/President in
              accordance with Board Policy 7350, of the following employees:

                  •   Mitch Howard, Senior Programmer Analyst, Programming, effective May 16, 2018.

                  •   Katherine Kelp-Stebbins, Assistant Professor, English Department, effective August 1, 2018.

         18. INFORMATION – ACKNOWLEDGEMENT OF RETIREMENT(S) OF THREE EMPLOYEES

              The Governing Board hereby acknowledges the following retirement(s) accepted on its behalf by
              the Superintendent/President in accordance with Administrative Procedure 7380 – Retiree Health
              Benefits:

              Group I
                • Rebecca Barr, Professor, Counseling Department, effective August 14, 2018. She has
                    served Palomar College for 32 years from August 19, 1986 to August 13, 2018.

                  •   Marilyn Lunde, Administrative Specialist II, Student Affairs Department, effective June 30,
                      2018. She has served Palomar College for 32 years from August 1, 1986 to June 29, 2018.

              Group II
                • Henry P. Ordille, Director, Emergency Medical Education Department, effective August 1,
                    2018. He has served Palomar College for 13 years from August 19, 2005 to July 31, 2018.

         19. INFORMATION: FACULTY INITIATED WITHDRAW OF SABBATICAL LEAVE APPLICATIONS
             FOR THREE FACULTY

              •    Travis Ritt, Economics, History, Political Science Department, has withdrawn his application for
                   sabbatical leave for the Spring 2019 term, previously approved March 13, 2018.
              •    Cynthia Anfinson, Mathematics Department, has withdrawn her application for sabbatical leave
                   for the Fall 2018 term, previously approved March 13, 2018.


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              •        Daniel Finkenthal, Physics/Engineering Department has withdrawn his application for sabbatical
                       leave for the Spring 2018 term, previously approved March 14, 2017.

         20. INFORMATION: REVIEW OF SABBATICAL LEAVE ABSTRACTS HIGHLIGHTING WORK AND
             PROJECTS UNDERTAKEN AS WELL AS BENEFITS DERIVED

              EXHIBIT J-20

         21. RECOMMENDATION: ACTION – APPROVE MAY 2 AND 16, 2018 CURRICULUM ACTION ITEMS
             FOR INCLUSION IN THE COLLEGE CURRICULUM INVENTORY EFFECTIVE FALL 2018

              The Governing Board hereby approves Curriculum Action Items dated May 2, 2018 and May 16,
              2018 previously approved by the Curriculum Committee and the Faculty Senate.

              EXHIBIT J-21

         22. RECOMMENDATION: ACTION – APPROVE NEW COMMUNITY EDUCATION OFFERINGS AND
             AUTHORIZE WORKFORCE DEVELOPMENT & EXTENDED STUDIES TO CONTRACT WITH
             PERSONNEL AS LISTED IN THE EXHIBIT

              EXHIBIT J-22

         23. RECOMMENDATION: ACTION – APPROVE REAPPOINTMENT OF SARAH ROSENFIELD TO THE
             INDEPENDENT CITIZENS’ OVERSIGHT COMMITTEE (ICOC)

              EXHIBIT J-23                                                                RESOLUTION 17-21541

         24. RECOMMENDATION: ACTION – APPROVE REIMBURSEMENT OF CANDIDATE FOR
             INTERVIEW EXPENSES

              The Governing Board hereby approves reimbursement of travel expenses for interview for the
              following candidate:

                  a.       Name:                Daisy Pitel
                           For:                 Airfare and parking
                           To Attend:           Second-level interview for Director, Education Center
                           Location:            Tucson, AZ to San Marcos, CA
                           Date:                April 25, 2018
                           Amount:              $560.46
                           Budget Account #:    575400-11-611200-67600-XX-XXXXXXX/100%

         25. RECOMMENDATION: ACTION – APPROVE BANK SIGNATURE AUTHORIZATIONS EFFECTIVE
             JULY 1, 2018 THROUGH JUNE 30, 2019

              The Governing Board authorizes the following individuals:

                       •   Joi Blake, Ed.D., Superintendent/President, or
                       •   Ronnie E. Ballesteros-Perez, Assistant Superintendent/Vice President, Finance &
                           Administrative Services, or
                       •   Carmen Coniglio, Director, Fiscal Services

              To deposit and/or withdraw funds currently deposited to the following Palomar Community College
              District accounts:

                       •   Financial Aid Federal Account
                       •   State of California Cal Grant Account
                       •   Transfer Account and the Revolving Cash Fund



                                                                                      Exhibit B - page 285
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              The Governing Board authorizes the following individuals to deposit and/or withdraw funds currently
              deposited to the Palomar Community College District Associated Students of Palomar College.

                   •   Joi Blake, Ed.D., Superintendent/President, or
                   •   Ronnie E. Ballesteros-Perez, Assistant Superintendent/Vice President, Finance &
                       Administrative Services, or
                   •   Carmen Coniglio, Director, Fiscal Services, and
                   •   Amber Bancroft, President, Associated Student Government

              The Governing Board authorizes (and requires) any two of the following individuals to sign for
              deposits and/or withdrawals of funds currently deposited to the Palomar College Payroll Account
              (automatic payroll deposit and electronic funds transfer for state and federal taxes).

                   •   Joi Blake, Ed.D., Superintendent/President, or
                   •   Ronnie E. Ballesteros-Perez, Assistant Superintendent/Vice President, Finance and
                       Administrative Services, or
                   •   Carmen Coniglio, Director, Fiscal Services, or
                   •   Brandi Y. Taveuveu, Manager, Budget and Payroll

         26. RECOMMENDATION: ACTION – APPROVE SIGNATURES FOR COUNTY BUSINESS EFFECTIVE
             JULY 1, 2018 THROUGH JUNE 30, 2019

              The Governing Board of Palomar Community College District hereby authorizes the following
              business procedures effective July 1, 2018 through June 30, 2019. Persons authorized, pursuant to
              the provisions of the Education Code Section 85232, to sign any and all school orders in the name
              of the District, drawn on the funds of the District:

                   •   Ronnie E. Ballesteros-Perez, Assistant Superintendent/Vice President, Finance and
                       Administrative Services, or
                   •   Carmen Coniglio, Director, Fiscal Services

              Persons authorized to receive mail from the Accounting Section of the San Diego County Office of
              Education:

                   •   Ronnie E. Ballesteros-Perez, Assistant Superintendent/Vice President, Finance and
                       Administrative Services, or
                   •   Carmen Coniglio, Director, Fiscal Services

              Persons authorized to designate employees that can initiate, authorize and process wire transfers
              with the County of San Diego:

                   •   Ronnie E. Ballesteros-Perez, Assistant Superintendent/Vice President,
                   •   Finance and Administrative Services, or
                   •   Carmen Coniglio, Director, Fiscal Services

         27. RECOMMENDATION: ACTION – AUTHORIZE DESIGNATED PERSONNEL TO SIGN
             CONTRACTS

              The Governing Board of the Palomar Community College District authorizes Joi Blake, Ed.D.,
              Superintendent/President or Ronnie E. Ballesteros-Perez, Assistant Superintendent/Vice President,
              Finance and Administrative Services or Carmen M. Coniglio, Director, Fiscal Services, to sign
              contracts on behalf of the District, pursuant to California Education Code Section 81655.




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         28. RECOMMENDATION: ACTION – APPROVE QUARTERLY REPORT OF THE FISCAL SERVICES
             DIRECTOR

              The Governing Board hereby approves the Quarterly Report of Fiscal Services Director, Regarding
              Disclosure of District Investments as of March 31, 2018.

              EXHIBIT J-28

         29. RECOMMENDATION: ACTION – APPROVE CALIFORNIA COMMUNITY COLLEGES
             QUARTERLY FINANCIAL STATUS REPORT

              The Governing Board hereby approves the California Community Colleges Quarterly Financial
              Status Report (CCFS-311Q) for quarter ending March 31, 2018.

              EXHIBIT J-29

         30. RECOMMENDATION: ACTION – CONFIRM CLASSIFICATION OF THE OFFICE OF CONTRACT
             SERVICES RECORDS TO CLASS-3 DISPOSABLE AND AUTHORIZE DESTRUCTION OF
             RECORDS

              The Governing Board hereby authorizes the classification of expired agreements/contracts prior to
              May 2012 to Class 3: Disposable Records and authorizes destruction pursuant to Title 5, Sections
              16023 through 16028, California Administrative Code.

              EXHIBIT J-30

         31. RECOMMENDATION: ACTION (SECOND READING) – APPROVE PALOMAR COMMUNITY
             COLLEGE DISTRICT BOARD POLICIES

              The Governing Board hereby approves the following Board Policies, previously reviewed and
              approved by the Policies and Procedures Committee and the Strategic Planning Council. These
              items were presented to the Board for first reading on May 8, 2018.

              BP 7260 – Classified Administrators                        BP 7270 – Student Workers
                        and Supervisors

              EXHIBIT J-31

         32. RECOMMENDATION: ACTION – ACCEPT DONATIONS WITH A TOTAL ESTIMATED VALUE OF
             $1,000.00.

              The Governing Board hereby accepts the following gifts and directs that appropriate letters of
              appreciation be sent to Josie Silva, 1119 Ariana Rd., San Marcos, CA 92069 for the donation of
              luxury fabrics, lace and trims, value estimated by donor totals $1,000.00.

         33. RECOMMENDATION: ACTION – EXCUSE ABSENCE OF TRUSTEES

              In accordance with Section 72425(d) of the CA Education Code, the Governing Board hereby
              acknowledges and excuses the absences' of Chris Hopp and Nancy Ann Hensch from the
              May 22, 2018 special meeting due to personal necessity.

                                                                                       RESOLUTION 17-21542

                                                Resumption of
                                              REGULAR AGENDA



                                                                                 Exhibit B - page 287
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K.       ACTION ON ITEMS REMOVED FROM CONSENT CALENDAR

L.       REPORTS FROM COLLEGE GROUPS

         1. INFORMATION: Report of the Faculty Senate

         2. INFORMATION: Report of the Palomar Faculty Federation

         3. INFORMATION: Report of the Administrative Association

         4. INFORMATION: Report of the Confidential and Supervisory Team

         5. INFORMATION: Report of the CCE/AFT

         6. INFORMATION: Report of the Associated Student Government

M.       UNFINISHED BUSINESS

N.       NEW BUSINESS

         1. RECOMMENDATION: ACTION – REVIEW AND APPROVE PURCHASES MADE MARCH 23 –
            MAY 31, 2018 TOTALING $4,153,961.59

              The Governing Board pursuant to Resolutions 14-21157 and 14-21158 adopted November 12, 2013
              hereby reviews and approves purchase transactions and contracts entered into on behalf of the
              Palomar Community College District as listed on the attached exhibit. Purchases listed are made
              against the 2017-2018 fiscal year budgets:

                       Purchase Orders Time Period: 04/26/18–05/31/18            $3,852,294.14
                       Procurement Card Time Period: 03/23/18-04/22/18             $138,373.30
                       Procurement Card Time Period: 04/23/18-05/22/18            $163,294.15
                                                                                 $4,153,961.59
              EXHIBIT N-1

         2. RECOMMENDATION: ACTION – APPROVE NOTICE OF PUBLIC HEARING FOR THE FISCAL
            YEAR 2018-2019 ADOPTED BUDGET

              The Governing Board hereby approves that the proposed Fiscal Year 2018-2019 Adopted Budget
              for the Palomar Community College District will be on display and available for public inspection on
              Tuesday, September 4, 2018 through Monday, September 10, 2018 8:00 a.m. to 4:30 p.m. in Fiscal
              Services, Room A-4C Administrative Services Building at Palomar College.

              FURTHER, The Governing Board of the Palomar Community College District will conduct a Public
              Hearing on the Adopted Budget at a meeting of the Governing Board on Tuesday, September 11,
              2018 at 5:00 p.m., Board Conference Room, Palomar College. Said Notice of Public Hearing is to
              be published by the San Diego Union Tribune on July 30, July 31, August 6, and August 7, 2018.

         3. RECOMMENDATION: ACTION – APPROVE FISCAL YEAR 2017-2018 BUDGET ADJUSTMENTS
            AND YEAR-END TRANSFERS

              The Governing Board of Palomar Community College District hereby approves the budget transfers
              and adjustments of Fiscal Year 2017-2018 from August 31, 2017 through May 30, 2018. The
              Governing Board of Palomar Community College District also hereby authorizes the Vice President,
              Finance and Administrative Services to make any year end transfers as necessary to assist with the
              close of the books for the fiscal year. This report shows the revised budgets as of May 30, 2018.

              EXHIBIT N-3



                                                                                  Exhibit B - page 288
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         4. RECOMMENDATION: ACTION – APPROVE THE FISCAL YEAR 2018-2019 TENTATIVE BUDGET
            FOR THE PALOMAR COMMUNITY COLLEGE DISTRICT Ron Ballesteros-Perez Vice President for
            Finance & Administrative Services will present.

              The Governing Board hereby approves the Fiscal Year 2018-2019 Tentative Budget for the Palomar
              Community College District.

              EXHIBIT N-4

         5. RECOMMENDATION: ACTION – APPROVE EDUCATION PROTECTION ACT RESOLUTION AND
            2017-2018 PROP 30 EPA EXPENDITURE REPORT

              The Governing Board hereby adopts a resolution in accordance with the provisions of Article XIII,
              Section 36 of the California Constitution and accepts the 2017-2018 Prop 30 Education Protection
              Account (EPA) Expenditure Report.

              EXHIBIT N-5                                                              RESOLUTION 17-21543

         6. RECOMMENDATION: ACTION – APPROVE 2018-2019 GANN APPROPRIATION LIMIT PER
            ARTICLE XIII-B, CALIFORNIA CONSTIT (GANN LIMIT) FOR PALOMAR COMMUNITY COLLEGE
            DISTRICT

              The Governing Board hereby adopts a resolution establishing the 2018-2019 Gann Appropriation
              Limit as required by Article 13B of the California State Constitution and State Law.

              EXHIBIT N-6                                                              RESOLUTION 17-21544

         7. RECOMMENDATION: ACTION – APPROVE CHANGE ORDERS

              The Governing Board hereby approves the following Change Orders as detailed in the exhibit:

                   1. CO #1 for $9,675.00 for changes required by unforeseen conditions and modifications to
                      the construction details for the Anita & Stan Maag Food and Nutrition Center Project.

                   2. CO #8 for $302,139.00 for Owner Additions and Unforeseen Conditions for the Rancho
                      Bernardo Education Center project.

                   3. CO #3 for $390,113 for Owner Additions and Unforeseen Conditions for the M&O project.

              EXHIBIT N-7

         8. RECOMMENDATION: ACTION – APPROVE SUBSCRIPTION AGREEMENT WITH AD ASTRA
            INFORMATION SYSTEMS FOR PLATINUM ANALYTICS, A SAAS ENTERPRISE-CLASS
            SCHEDULING SOFTWARE AND ASTRA SCHEDULING

              The Governing Board hereby approves an agreement with Ad Astra Information Systems for a
              scheduling system that provides analysis and optimization of academic resources and supports
              management of resources. Platinum Analytics is a solution that provides predictive analytics for the
              creation of aligned course schedule that incorporates historical records, degree audit, student
              progress, student plan data and business intelligence. The agreement is for five (5) year term with
              five (5) additional one-year renewals. Total amount of agreement is $460,000.00.

              EXHIBIT N-8




                                                                                  Exhibit B - page 289
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         9. RECOMMENDATION: ACTION – ACCEPT MEMORANDUM OF UNDERSTANDING FROM THE
            SAN DIEGO MIRAMAR COLLEGE SUB-AWARD OF THE ADVANCED TRANPORTATION AND
            RENEWABLE ENERGY INITIATIVE TO FOSTER A PARTNERSHIP WITH PALOMAR COLLEGE’S
            DRONE CONFERENCE

              The Governing Board approves memorandum of understanding with San Diego Miramar College’s
              sub-award master of Advanced Transportation and Renewable Energy (ATRE) initiative to foster a
              partnership between San Diego Miramar College and the drone program at Palomar College in
              conjunction with the Drone Conference for Educators and Industry Professionals. Paid to District:
              $6,000.00.

              EXHIBIT N-9

         10. RECOMMENDATION: ACTION – APPROVE LICENSE AGREEMENT FOR INTERNSHIP
             PROGRAM WITH MOSTRA COFFEE, INC. TO INSTALL AND OPERATE ONE COFFEE CART AT
             THE RANCHO BERNARDO EDUCATION CENTER AND TO SELL MOSTRA COFFEE PRODUCTS
             AND PASTRIES

              The Governing Board hereby approves a license agreement with Mostra Coffee, Inc. to install one
              coffee cart at the Rancho Bernardo Education Center campus for the purpose of facilitating
              internships and job training in food services, coffee roasting and business management for District
              students to obtain academic credit for internship/work experience. Paid to District: License base fee
              $1,000.00/month plus if goal of $24,000.00 / month is achieved District to receive 15% monthly
              revenue.

              EXHIBIT N-10

         11. RECOMMENDATION: ACTION – APPROVE REQUEST TO REDUCE CONTRACTOR’S
             RETENTION

              The Governing Board hereby approves the request to reduce retention being held from 5% to 2.5%
              for Elite Earthworks & Engineering, Bid #CM-17-18-01-NEC-01-A: North Education Center.

              The Governing Board hereby approves the request to reduce retention being held from 5% to 2.5%
              for Rossin Steel, Bid #CM-17-18-01-NEC-01-A: South Education Center.

              EXHIBIT N-11

         12. RECOMMENDATION: ACTION – REVIEW AND APPROVE THE SIX FACILITY NAMING ITEMS AS
             RECOMMENDED BY THE SUPERINTENDENT/PRESIDENT

              EXHIBIT N-12

         13. REVIEW AND APPROVE INCREASING THE STUDENT PARKING PERMIT FEE FROM $40.00 TO
             $46.00 AND THE BOG WAIVER PERMIT FROM $20.00 TO $26.00.

              The Governing Board hereby approves the adoption of $46.00 student parking permit fee effective
              Fall 2018 for the San Marcos and Escondido campus locations and effective June 2019 for the
              Rancho Bernardo and Fallbrook locations.

              EXHIBIT N-13

         14. RECOMMENDATION: ACTION – CALL FOR SPECIAL MEETING OF THE GOVERNING BOARD
             ON JUNE 26, 2018.




                                                                                   Exhibit B - page 290
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O.       BOARD REQUESTS FOR REPORTS

         The Governing Board hereby requests that the District provide for it a report, agenda item, or general
         information at a later date as follows: ________________________________________________.

P.       RECESS TO CLOSED SESSION: If needed, for further discussion of items as listed in section D. The
         Board will recess to Room A-1.

Q.       RECONVENE TO OPEN SESSION: If needed. The Board will reconvene to Open Session outside
         Room A-1 in accordance with GC 54957.7(c). Actions Taken In Closed Session: (The Governing Board
         President shall report the overall action and if unanimous; otherwise, the individual votes of each
         trustee.)

R.       ADJOURNMENT




                                                                                  Exhibit B - page 291
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            Exhibit C
                                                         Exhibit C - page 292
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            Exhibit D
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                                                                                  APPROVED 711012018
                                                                         GOVERNING BOARD MINUTES


           *
PALOMAR COi.LiEGE®
                                                                   MEETING OF THE GOVERNING BOARD
                                                                               TUESDAY, JUNE 12, 2018
                                                             PALOMAR COMMUNITY COLLEGE DISTRICT
                                                                    ROOM SSC-1, SAN MARCOS CAMPUS
                                                        1140 W. MISSION RD., SAN MARCOS, CALIFORNIA


A.    CALL MEETING TO ORDER

      Board President Paul McNamara called the meeting to order at 4:00 p.m. in SSC-1.

B.    ROLL CALL

      PRESENT
      PAUL P. MCNAMARA, PRESIDENT
      JOHN HALCON, VICE PRESIDENT
      MARK R. EVILSIZER, SECRETARY
      NINA DEERFIELD, TRUSTEE
      NANCY ANN HENSCH, TRUSTEE
      AMBER BANCROFT, STUDENT TRUSTEE (arrived 5:00 pm)

      ABSENT
      NONE

C.    PUBLIC COMMENTS There were none.

D.    RECESS TO CLOSED SESSION The Board recessed to closed session in room A-1 at 4:00 p.m.

E.    RECONVENE TO OPEN SESSION The Board reconvened to open session in SSC-1 at 5:42 p.m. All
      trustees present.

      1.   Reporting of actions(s) taken in Closed Session. Board President McNamara reported there were
           three reportable actions taken in closed session as follows:

            •   By unanimous vote, the Board took action to approve the Final Settlement Agreement with
                Release of all Claims between the District and employee #007560785.

            •   By unanimous vote, the Board took action to approve the Final Settlement Agreement with
                Release of all Claims between the District and employee #004201742.

            •   The Board took final action by unanimous vote to terminate employee number# 009482406
                effective June 12, 2018.

     2.    Presentation: 2018 NAACP Salute To Women of Color Distinguished Woman Award.
           Representatives from the North San Diego County NAACP: Satia Austin, Kelley Gillespie, Inez
           Williams and Stephen Davis attended the meeting and presented an award to Dr. Blake.

     3.    Following the Pledge of Allegiance the meeting continued.

     4.    Board President McNamara Administered Oath of Office to incoming Student Trustee, Amber
           Bancroft, and to newly hired Police Officers: Daniel Lopez, Gerald Rabidou and Mark Lynch.

     5.    Call for Removal of Items from - or Changes to - the Agenda. There were none.




                                                                             Exhibit D - page 295
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            Exhibit E
                                                         Exhibit E - page 296
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                                                         Exhibit E - page 297
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     1                           CERTIFICATE OF SERVICE
     2         I, the undersigned, am employed in the County of San Diego, State of
         California. I am over the age of 18 and not a party to the within action; am
     3   employed with the law offices of Fisher & Phillips LLP and my business address
         is 4747 Executive Drive, Suite 1000, San Diego, California, 92121.
     4
                On January 10, 2019, I served the foregoing document entitled
     5   DECLARATION OF LISA NORMAN IN SUPPORT OF DEFENDANT
         PALOMAR COMMUNITY COLLEGE DISTRICT’S MOTION TO
     6   DISMISS PURSUANT TO F.R.C.P. RULES 12(B) AND 12(B)(6) on all the
         appearing and/or interested parties in this action by placing       the original  a
     7   true copy thereof enclosed in sealed envelope(s) addressed as follows:
     8    Evan Dwin                                  Telephone: (760) 536-6471
          DWIN LEGAL, APC                            Facsimile: (760) 585-4649
     9    2121 Palomar Airport Road, Suite 170 E-Mail: edwin@dwinlegal.com
          Carlsbad, CA 92011                         Attorneys for Plaintiff
    10                                               Kathryn Kailikole
    11
          [by OVERNIGHT SERVICE] - I am readily familiar with the firm’s practice
            for collection and processing of correspondence for overnight delivery. Under
    12
            that practice such correspondence will be deposited at a facility or pick-up box
            regularly maintained by the overnight service for receipt on the same day in the
    13
            ordinary course of business with delivery fees paid or provided for in accordance
            with ordinary business practices.
    14    [by ELECTRONIC SUBMISSION] - I served the above listed document(s)
    15
           described via the United States District Court’s Electronic Filing Program on
           the designated recipients via electronic transmission through the CM/ECF
    16
           system on the Court’s website. The Court’s CM/ECF system will generate a
           Notice of Electronic Filing (NEF) to the filing party, the assigned judge, and
    17
           any registered users in the case. The NEF will constitute service of the
           document(s). Registration as a CM/ECF user constitutes consent to electronic
    18
           service through the court’s transmission facilities.

    19
               I declare that I am employed in the office of a member of the bar of this
         Court at whose direction the service was made.
    20          Executed January 10, 2019, at San Diego, California.
    21     Michael Lynn Filio                  By:
    22

    23

    24

    25

    26

    27

    28


                                   CERTIFICATE OF SERVICE
         FPDOCS 34896160.1
